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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                                 CRIMINAL ACTION

VERSUS                                                                   NO. 94-381

PAUL HARDY                                                      SECTION “C”
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          This matter comes before the Court on a motion for pre-trial determination
of mental retardation filed by Paul Hardy (“Hardy”), the defendant in this capital

case. An evidentiary hearing was held on September 14–18, 2009, and September
21–23, 2009, and the matter was taken under advisement. Having thoroughly

considered the record, the evidence and testimony adduced at trial, and the law, the
Court now issues its opinion.
                                                    I. BACKGROUND

          Hardy stands convicted of two crimes for which the government seeks the

death penalty: (1) conspiracy to injure, oppress, threaten and intimidate Kim
Groves (“Groves”) and another person in the right to be free from the use of

unreasonable force by one acting under color of law and in the right to provide
information to law enforcement authorities about a federal crime, resulting in the

death of Groves, in violation of 18 U.S.C. § 241; and (2) deprivation of Groves’

civil rights in violation of 18 U.S.C. § 242 and 2. Hardy claims that he is mentally


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retarded and is therefore ineligible for the death penalty under Atkins v. Virginia,

536 U.S. 304 (2002), and the Federal Death Penalty Act, 18 U.S.C. § 3596(c).1
The propriety of determining the issue before the Court without a jury and pre-trial
is uncontested, as is Hardy’s burden of proof by a preponderance of the evidence.
      a.     The AAMR & DSM-IV-TR Definitions of Mental Retardation

      Mental retardation is a developmental disability, the definition of which the

Court derives from the two sources recognized by the Supreme Court in Atkins:

The American Association on Mental Retardation (“AAMR”), now known as the

American Association on Intellectual and Developmental Disabilities (“AAIDD”),
and the American Psychiatric Association (“APA”).
      The AAMR/AAIDD defines mental retardation in the 10th edition of its
standard reference work as follows:

      Mental retardation is a disability characterized by significant
      limitations both in intellectual functioning and in adaptive behavior as
      expressed in conceptual, social, and practical adaptive skills. This
      disability originates before age 18.
MENTAL RETARDATION DEFINITION, CLASSIFICATION, AND SYSTEMS OF SUPPORTS
1 (2002) (“AAMR 10TH EDITION”).2

      1
       Section 3596(c), added in 1994, provides in relevant part: “A sentence of
death shall not be carried out upon a person who is mentally retarded.”
      2
       The AAMR definition is accompanied by five assumptions:

      (a) Limitations in present functioning must be considered within the
      context of community environments typical of the individual’s age
      peers and culture.
      (b) Valid assessment considers cultural and linguistic diversity as well
      as differences in communication, sensory, motor and behavioral
      factors.
                                                                                       4
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      The definition and diagnostic criteria for mental retardation of the APA is

contained in its standard reference work, the DIAGNOSTIC AND STATISTICAL
MANUAL OF MENTAL DISORDERS, FOURTH EDITION TEXT REVISION (2000)

(“DSM-IV-TR”). It provides in relevant part that a diagnosis of mental retardation
requires:

      A.    Significantly subaverage intellectual functioning: an IQ of
            approximately 70 or below on an individually administered IQ
            test (for infants, a clinical judgment of significantly subaverage
            intellectual functioning).
      B.    Concurrent deficits or impairments in present adaptive
            functioning (i.e., the person’s effectiveness in meeting the
            standards expected for his or her age by his or her cultural
            group) in at least two of the following areas: communication,
            self-care, home living. social/interpersonal skills, use of
            community resources, self-direction, functional academic skills,
            work, leisure, health and safety.

      C.    The onset is before age 18 years of age.
DSM-IV-TR at 49.

      The DSM-IV-TR categorizes mental retardation as mild, moderate, severe,
and profound, with a residual category of “mental retardation, severity

unspecified.” Id. at 42–44. Mild mental retardation is associated with an IQ of




      (c ) Within an individual, limitations often coexist with strengths.
      (d) An important purpose of describing limitations is to develop a
      profile of supports.
      (e) With appropriate personalized supports over a sustained period,
      the life functioning of the person with mental retardation generally
      will improve.

AAMR 10TH EDITION at 13; USER’S GUIDE at 3; Deft. Exh. 5.
                                                                                      5
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50–55 to 70–75,3 and the DSM-IV-TR further describes it as follows:

      Mild Mental Retardation is roughly equivalent to what used to be
      referred to as the educational category of “educable.” This group
      constitutes the largest segment (about 85%) of those with the disorder.
      As a group, people with this level of Mental Retardation typically
      develop social and communication skills during the preschool years
      (ages 0–5 years), have minimal impairment in sensorimotor areas, and
      often are not distinguishable from children without Mental
      Retardation until a later age. By their late teens, they can acquire
      academic skills up to approximately the sixth-grade level. During
      their adult years, they usually achieve social and vocational skills
      adequate for minimum self-support, but may need supervision,
      guidance and assistance, especially when under unusual social or
      economic stress. With appropriate supports, individuals with Mild
      Mental Retardation can usually live successfully in the community,
      either independently or in supervised settings.
DSM-IV-TR at 43.

      The American Psychological Association’s Division of Mental Retardation
and Developmental Disabilities (“Division 33”) echoes this point and further
elaborates:

            People classified with mild MR evidence small delays in the
      preschool years but often are not identified until after school entry,
      when assessment is undertaken following academic failure or


      3
       According to the DSM-IV-TR:

      Borderline Intellectual Functioning describes an IQ range that is
      higher than that for Mental Retardation (generally 71–84). . . . [A]n IQ
      score may involve a measurement error of approximately 5 points,
      depending on the testing instrument. Thus, it is possible to diagnose
      Mental Retardation in individuals with IQ scores between 71 and 75 if
      they have significant deficits in adaptive behavior that meet the
      criteria for Mental Retardation. Differentiating Mild Mental
      Retardation from Borderline Intellectual Functioning requires careful
      consideration of all available information.
DSM-IV-TR at 48.
                                                                                       6
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      emergence of behavior problems. Modest expressive language delays
      are evident during early primary school years, with the use of 2- to 3-
      word sentences common. During the later primary school years, these
      children develop considerable expressive speaking skills, engage with
      peers in spontaneous interactive play, and can be guided into play
      with larger groups. During middle school, they develop complex
      sentence structure, and their speech is clearly intelligible. The ability
      to use simple number concepts is also present, but practical
      understanding of the use of money may be limited. By adolescence,
      normal language fluency may be evident. Reading and number skills
      will range from 1st- to 6th- grade level, and social interests,
      community activities, and self-direction will be typical of peers, albeit
      as affected by pragmatic academic skill attainment. Baroff (1986)
      ascribed a mental age range of 8 to 11 years to adults in this group.
      This designation implies variation in academic skills, and for a large
      proportion of these adults, persistent low academic skill attainment
      limits their vocational opportunities. However, these people are
      generally able to fulfill all expected adult roles. Consequently, their
      involvement in adult services and participation in therapeutic
      activities following completion of educational preparation is relatively
      uncommon, is often time-limited or periodic, and may be associated
      with issues of adjustment or disability conditions not closely related to
      MR.
AM. PSYCHOL. ASS’N, MANUAL OF DIAGNOSIS AND PROFESSIONAL PRACTICE IN

MENTAL RETARDATION 17–18 (John W. Jacobson & James A. Mulick eds., 1996).

      The Supreme Court in Atkins recognized that the two “official” definitions

of mental retardation are similar, but left to states the “task of developing
appropriate ways to enforce the constitutional restriction upon [their] execution of

sentences.” Atkins, 536 U.S. at 317. In doing so, it noted that:

      [C]linical definitions of mental retardation require not only
      subaverage intellectual functioning, but also significant
      limitations in adaptive skills such as communication, self-care,
      and self-direction that became manifest before age 18.
      Mentally retarded persons frequently know the difference
      between right and wrong and are competent to stand trial.
      Because of their impairments, however, by definition they have
      diminished capacities to understand and process information, to

                                                                                7
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      communicate, to abstract from mistakes and learn from
      experience, to engage in logical reasoning, to control impulses,
      and to understand the reactions of others. There is no evidence
      that they are more likely to engage in criminal conduct than
      others, but there is abundant evidence that they often act on
      impulse rather than pursuant to a premeditated plan, and that in
      group settings they are followers rather than leaders. Their
      deficiencies do not warrant an exemption from criminal
      sanctions, but they do diminish their personal culpability.

Atkins, 536 U.S. at 318.

      The AAIDD recognizes that, with regard to persons with mental retardation

or intellectual disabilities (“MR/ID”) in the criminal justice system,

      some criminal defendants fall at the upper end of the MR/ID severity
      continuum (i.e. people with mental retardation who have a higher IQ)
      and [they] frequently present a mixed competence profile.[4] They
      typically have a history of academic failure and marginal social and
      vocational skills. Their previous and current situations frequently
      allowed formal assessment to be avoided or led to assessment that was
      less than optimal.
ROBERT L. SCHALOCK, ET AL, USER’S GUIDE: MENTAL RETARDATION DEFINITION,
CLASSIFICATION AND SYSTEMS OF SUPPORTS—10TH EDITION 18 (AAIDD 2007)
(“USER’S GUIDE”) (citations omitted). According to the most recent manual from

the AAIDD, INTELLECTUAL DISABILITY DEFINITION, CLASSIFICATION, AND
SYSTEMS OF SUPPORT, 51–52 (2010)(“AAIDD 11TH EDITION”),5 the higher IQ

      4
        Indeed, “[m]ost individuals with mental retardation who commit criminal
acts display mild mental retardation.” J.G. Olley & A.W. Cox, Assessment of
Adaptive Behavior in Adult Forensic Cases: The Use of the Adaptive Behavior
Assessment Systems-II, in ADAPTIVE BEHAVIOR ASSESSMENT SYSTEM:
ASSESSMENT AND APPLICATIONS FOR PROFESSIONAL AND PARAPROFESSIONAL
PRACTICE 381, 383 (P.L. Harrison & T. Oakland 2008) (S-12) [hereinafter Olley &
Cox Study]
      5
       The Court relies throughout primarily on the 10th edition of the AAMR’s
standard reference work as that was the edition in effect at the time of the hearing.
                                                                                         8
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mentally retarded are also “more likely to mask their deficits and attempt to look

more able and typical than they actually are.” Moreover, “persons with ID
typically have a strong acquiescence bias or a bias to please that might lead to

erroneous patterns of responding.”6
      b.     The Expert Witnesses

      Three expert psychologists testified at the hearing. All had the necessary
education and credentials to testify as experts in psychology and all had published

extensively in their respective areas of interest. They have each received

recognition for their work as psychologists, but their professional experience with
the mentally retarded varies.
      The first psychologist, Mark D. Cunningham, Ph.D., was called by the

defendant and accepted by the Court as an expert in forensic and clinical
psychology. Dr. Cunningham received his bachelor degree with a major in
psychology from Abilene Christian College in 1973. He received his masters and

Ph.D. in clinical psychology from Oklahoma State University in 1976 and 1977,
respectively. He had an clinical internship at the National Naval Medical Center in
1977-1978, and participated in part-time post doctoral training at Yale University

School of Medicine between 1979 and 1981. He is licensed in sixteen states


However, to the extent the 11th edition offers greater explication of a concept, the
Court will occasionally cite to it. This is the approach taken by the AAMR itself,
which for example directs clinicians conducting retrospective assessments to use
currently relevant guides. USER’S GUIDE at 20. The edition the Court uses is
ultimately irrelevant since the fundamental principles relevant here are present in
both editions, so the Court will try to cite what it considers the clearer of the two.
      6
       Id. at 52.
                                                                                         9
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including Louisiana, and he is board certified in clinical psychology and forensic

psychology by the American Board of Professional Psychology.
      Dr. Cunningham testified that he has performed many mental retardation

assessments in a forensic context, including determinations of competency to stand

trial, social security eligibility and for Atkins purposes. He has co-authored a paper

on Atkins determinations and has testified extensively in federal capital cases.

      The second expert, Victoria Swanson, Ph.D., was also called by the

defendant. Dr. Swanson is a licensed psychologist who was accepted by the Court

without objection as an expert in mental retardation. She has specialized in the
field of mental retardation and developmental disabilities throughout her 35 year
career. She received her bachelors degree in psychology from the University of

Southwestern Louisiana in 1973 and then began working with the intellectually
disabled in rural Louisiana. Dr. Swanson received her masters degree from

Northwestern State University in 1991, writing her thesis on the Vineland test, a
test of adaptive behavior. She has continued her work in the area of mental
retardation and received a Ph.D. in psychology in 1999 from Louisiana State

University. She is licensed in Louisiana.
      Dr. Swanson testified that she has either performed or supervised
approximately 6,000 assessments for mental retardation, and has administered

approximately 300 IQ tests a year along with over 10,000 Vineland tests of

adaptive behavior. She estimated that less than one percent of those assessments

related to litigation in court, and less than that related to an Atkins determination.


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Numerous awards and distinctions from the AAMR and AAIDD are included on

her curriculum vitae, and she has served as the President of the National
Psychology Division of the AAMR.

      The third psychologist who testified at the hearing, Jill S. Hayes, Ph.D., was

called by the government. She received a bachelors degree in psychology from
Armstrong State College in 1990, a masters in applied psychology from Augusta

State College in 1992, a masters degree in clinical psychology from Louisiana

State University in 1995 and a doctorate in clinical psychology with a specialty in
neuropsychology and a minor in behavioral neurology from Louisiana State
University in 1998. She did a one-year internship at the Medical University of

South Carolina in 1997-1998, followed by a one-year fellowship at Louisiana State
University Health Sciences Center in 1998-1999. She is licensed in Louisiana as a
neuropsychologist and clinical psychologist, and is licensed as a clinical

psychologist in Arizona.
      Dr. Hayes testified that she has performed about 20 mental retardation

assessments and 10 Vineland tests since receiving her license in 1998. She
identified at least five articles authored by her that involved some aspect of mental
retardation, three of which concerned malingering. Over the defendant’s objection,

the Court accepted Dr. Hayes as an expert in the area of mental retardation based

on her publications, education, teaching and court experience. It considered the

defense objection as relevant to the weight to be given her testimony regarding
mental retardation, not its admissibility.


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                                   II. ANALYSIS

      The diagnostic criteria for mental retardation developed by the APA and
AAMR contain three essential factors: significantly subaverage intellectual

functioning, significant limitations in adaptive behavior, and onset prior to age 18.

The Court will discuss Hardy’s showing as to each.
      a.     Factor One: Significantly Subaverage Intellectual
             Functioning

      The first criterion for a diagnosis of mental retardation requires “significant

limitations . . . in intellectual functioning,”7 or put another way, “significantly
subaverage intellectual functioning.”8 The APA and AAMR define this to mean an

IQ score approximately two standards deviations below the mean of 100, taking

into consideration the standard error of measurement for the IQ test used.9
      1.     The Cutoff IQ Score
      Two standard deviations below the mean of the test relevant here would be a
score of 70. That is not, however, the cutoff score typically used, because the APA

and AAMR direct that the test’s measurement error must be taken into account
when interpreting its result.10 The AAMR has noted that the standard error of

measurement (“SEM”)

      7
       AAMR 10TH EDITION at 1.
      8
       DSM-IV-TR at 49.
      9
       DSM-IV-TR at 41–42, 48–49; AAMR 10TH EDITION at 57–59.
      10
        AAMR 10TH EDITION at 57 (“The assessment of intellectual functioning
through the primary reliance on intelligence tests is fraught with the potential for
misuse if consideration is not given to possible errors in measurement.”).
                                                                                       12
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      has been estimated to be three to five points for well-standardized
      measures of general intellectual functioning. This means that if an
      individual is retested with the same instrument, the second obtained
      score would be within one SEM (i.e., ± 3 to 4 IQ points) of the first
      estimate about two thirds of the time. . . . Therefore, an IQ of 70 is
      most accurately understood not as a precise score, but as a range of
      confidence with parameters of at least one SEM (i.e., scores of about
      66 to 74; 66% probability), or parameters of two SEMs (i.e., scores of
      62 to 78; 95% probability). . . . This is a critical consideration that
      must be part of any decision concerning a diagnosis of mental
      retardation.11
      As can be gathered from the above, the range typically given for IQ scores is
plus or minus four to eight points. All the experts in this case agree that a score of

75 should be used as the upper bound of the IQ range describing mild mental
retardation.12 Indeed, there is almost universal agreement on this point.13 The

Court therefore finds as a factual matter that a diagnosis of mental retardation

requires an IQ score of 75 or less on one of the standard IQ tests.
      2.     Hardy’s IQ Score

      Hardy was not given an IQ test until 1996, when—in about a one month
period—he was twice tested using the same standard measure of intelligence (the




      11
        Id. at 57 (citations omitted).
      12
         Govt. Exh. 1 at 31 (Dr. Hayes); Deft. Exh. 1 at 1 (Dr. Swanson); Deft. Exh.
19 at 5 (Dr. Cunningham); see also Rec. Doc. 2123 at 29–30, 35 & Rec. Doc. 2124
at 269, 341 (Dr. Cunningham); Rec. Doc. 2126 at 888 (Dr. Swanson); Rec. Doc.
2126 at 953 (Dr. Hayes).
      13
         DSM-IV-TR at 48; AAMR 10TH EDITION at 58–59; see, e.g., Bobby v. Bies,
129 S. Ct. 2145, 2149–50 (2009) (describing expert testimony that set the cutoff at
75); In re Hearn, 376 F.3d 447, 454 n.6 (5th Cir. 2004) (citing with approval the
AAMR’s definition).
                                                                                     13
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WAIS-R).14 Dr. L. Mulry Tetlow administered the first test in February 1996,

which yielded a Full Scale IQ score of 73. The second WAIS-R test was given by
Dr. Daniel Martell in March 1996 and yielded a Full Scale IQ score of 76. The

government and defense psychologists agree that the first February 1996 test is the

most reliable estimate of Hardy’s IQ, assuming adequate effort, because “practice

effects” could have artificially enhanced Hardy’s score on the second test.15 So,

assuming adequate effort was made, Hardy’s score on the most reliable of the two
tests of his IQ falls within the range of scores diagnostic of mild mental

retardation. “The Atkins Court recognized that IQ scores from 70 to 75 are

generally considered to be the cutoff for the intellectual functioning prong of the

test for mental retardation.” Wiley v. Epps, __ F.3d ___, 2010 WL 4227405, at *12

(5th Cir. 2010) (citing Atkins, 536 U.S. at 309). While that score would be

sufficient to satisfy the first criterion for a diagnosis of mental retardation, the

Court is not persuaded that Hardy’s score of 73 is the best estimate of his true IQ.

Rather, for the reasons that follow, the Court finds that Hardy’s score must be
corrected for a phenomenon referred to as the Flynn Effect.

      i.       The Flynn Effect in General
      When a new IQ test is developed, but before it is released for general use, it
is given to a large group of people (ideally reflective of the demographics of the

population at large) in order to create a standardized norm. Once those test results


      14
           Deft. Exh. 33-EE; Deft. Exh. 33-FF.
      15
           Deft. Exh. 34-NN at 14-15; Govt. Exh. 1 at 40.
                                                                                       14
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are collected, the average or mean score of the group is declared as 100, with a bell

shaped curve sloping off on either side reflecting higher and lower intelligence
from the average. In order to further categorize the shape of that curve, called a

normal distribution, a concept called the standard deviation is used, which here has

a numerical value of 15.16 As noted above, scores below approximately two

standard deviations, i.e., 30 points, of the mean of 100 fall into the range associated
with mental retardation.17
      After an IQ test is standardized according to this process it is released for

use in the population at large. The scores of those persons subsequently taking the
test are determined by comparing their results to the standardized norms. Hence

the continuing accuracy of those norms is crucial in assessing the validity of
individual test scores.
      In a series of studies beginning in the early 1980’s, Dr. James R. Flynn

determined that IQ test scores have steadily increased over the years. He found
this to be true across almost all developed countries and across many versions of
the test for IQ.18 The cause of this increase is largely unknown, although some

      16
        See Rec Doc. 2123 at 31; Rec. Doc. 2126 at 737-38.
      17
        Lois A. Weithorn, Conceptual Hurdles to the Application of Atkins v.
Virginia, 59 HASTINGS L.J. 1203, 1214–15 (2008); United States v. Davis, 611 F.
Supp. 2d 472, 475 (D. Md. 2009).
      18
        Dr. Flynn has published these results in numerous professional psychology
journals, and most of these publications are included in the record for reference.
James R. Flynn, IQ Gains and the Binet Decrements, 21 J. OF EDUC.
MEASUREMENT 283 (1984); James R. Flynn, The Mean IQ of Americans: Massive
Gains 1932 to 1978, 95 PSYCHOL. BULL. 29 (1984) (Study Exhibit No. 36 [“S-
36”]); James R. Flynn, Massive IQ Gains in 14 Nations: What IQ Tests Really
                                                                                      15
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speculate that improved socioeconomics, education and even better nutrition have

increased the scores, that the test themselves have become more sophisticated, or

that perhaps people are simply getting “smarter.” See, e.g., Thomas v. Allen, 614

F. Supp. 2d 1257, 1277–78 (N.D. Ala. 2009). Dr. Flynn was able to consistently

document this phenomenon through comparative studies encompassing many years

of data. The amount of the average increase in IQ is approximately three points
per decade, or 0.33 points per year.

      When a new IQ test is developed, it is standardized through a current

population sample, creating a “new” average of 100. Since this new test is normed
with a population that has steadily done better (“is smarter”) than the prior
generation, the “new” average of 100 is actually “higher” than the old 100. For

example, if the old test—normed as it was before the population “got
smarter”—were given today, the average score would not be 100, but something

closer to perhaps 103. But when the new test is standardized, that “old 103” must
be redefined as the “new 100,” because the average score of the test is defined to
be 100. What this means in practical terms is that someone who receives a score of
80 on a test that was normed a decade ago could be expected, on average, to score


Measure, 101 PSYCHOL. BULL. 171 (1987) (S-37); James R. Flynn, WAIS-III and
WISC-III: IQ Gains in the United States from 1972 to 1995, 86 PERCEPTUAL &
MOTOR SKILLS J. 1231 (1998); James R. Flynn, The Hidden History of IQ and
Special Education: Can the Problem Be Solved?, 6 PSYCHOL. PUB. POL’Y & L. 191
(2000) (S-38); James R. Flynn, Tethering the Elephant: Capital Cases, IQ and the
Flynn Effect, 12 PSYCHOL. PUB. POL’Y & L. 170 (2006) (S-26); James R. Flynn,
Capital Offenders and the Death Sentence, PSYCHOL. IN MENTAL RETARDATION &
DEV’L DISABILITIES, Vol. 32, No. 3 (2007) (S-27).

                                                                                     16
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a 77 on a newly normed test—without any actual change in his intelligence.

      Respected psychologists have reviewed and accepted Dr. Flynn’s findings.
Dr. Stephen Greenspan is a member of the Ad Hoc Committee on Mental

Retardation and the Death Penalty, created by Division 33 of the American

Psychological Association, which focuses on mental retardation and developmental

disabilities. He admits to being “initially skeptical” of the Flynn Effect, but, after
study, he has become “firmly convinced that the use of the Flynn Effect to adjust

individual IQ scores is an appropriate, indeed essential, practice.”19 Echoing Dr.
Flynn, he suggests that correction for “the Flynn Effect is a useful, and valid,

method for increasing the likelihood that a psychologist will correctly diagnose
MR in someone deserving of that label.”20 He noted that this is particularly helpful
in the case of mild mental retardation, because “mild MR is still a somewhat

inadequately defined category.”21 In a later article, Dr. Greenspan explained that
the purpose of correcting for the Flynn Effect in IQ testing

      is not to correct for possible changes in actual intelligence in an individual or
      subgroup but rather to ensure that all individuals (regardless of their
      demographics) are measured by the same yardstick when being compared to
      an arbitrary (70 or 75) general population diagnostic criterion.22

      19
       Stephen Greenspan, Issues in the Use of the “Flynn Effect” to Adjust IQ
Scores when Diagnosing MR, PSYCHOL. MENTAL RETARDATION & DEV’L
DISABILITIES, Vol. 31, No. 3, at 6 (2006) (S-28).
      20
        Id.
      21
        Id. at 7.
      22
       Stephen Greenspan, Flynn-Adjustment is a Matter of Basic Fairness:
Response to Roger B. Moore, Jr., PSYCHOL. MENTAL RETARDATION & DEV’L
DISABILITIES, Vol. 32, No. 3 at 8 (2007) (S-29).
                                                                                     17
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      Another psychologist, Dr. J. Gregory Olley, also a member of Division 33

and chairman of the Ad Hoc Committee on Mental Retardation and the Death
Penalty, has concluded that the Flynn Effect is a real phenomenon that must be

accounted for. “It is important,” he wrote, “to understand this ‘Flynn Effect’

because a person’s IQ score may be artificially raised if an out of date test is given.

A study by Kanaya, et al., indicated that persons with mental retardation may be
particularly susceptible to this effect.”23
      The Kanaya Study referenced by Dr. Olley was published in 2003 and dealt

with children being evaluated for special education services.24 It was an exhaustive
survey, spanning 36 years of data and drawing information from thousands of

scores on IQ tests across various geographical regions, neighborhoods and
socioeconomic statuses. For those children in the borderline intelligence range,
their scores dropped on average from a 78.4 on the older test to a 73.9 on the newer

test, or a drop of 4.5 points. For those in the mild mental retardation range, their
scores dropped even more—from, on average, a score of 64.2 to one of 58.9, or a
drop of 5.3 points.

      Professional organizations in the field of psychology have taken note of the


      23
        Caroline Everington & J. Gregory Olley, Implications of: Issues in Atkins
v. Virginia, Defining and Diagnosing Mental Retardation,” Vol. 8 J. Forensic
Psychol. Practice 1, 7 (2008) [hereinafter Everington & Olley Study] (S-25).
      24
        Tomoe Kanaya, Matthew H. Scullin & Stephen J. Ceci, The Flynn Effect
and U.S. Policies: The Impact of Rising IQ Scores on American Society Via Mental
Retardation Diagnoses, 58 AM. PSYCHOL. 778, 787 (2003) [hereinafter Kanaya
Study] (S-39) (discussing how school budgets may prevent acquisition of an
expensive newer test until all copies of the older tests are used).
                                                                                       18
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Flynn Effect as well. The AAIDD,25 the successor to one of the two organizations

whose definition of mental retardation the Supreme Court favorably referenced in

Atkins,26 provides this recommendation to clinicians:

      4. Recognize the “Flynn Effect.” In his study of IQ tests across
      populations, Flynn discovered that IQ scores have been increasing
      from one generation to the next in all 14 nations for which IQ data
      existed. This increase in IQ scores has been dubbed the Flynn Effect.
      . . . The main recommendation resulting from this work is that all
      intellectual assessments must use a reliable and appropriate
      individually administered intelligence test. In cases of tests with
      multiple versions, the most recent version with the most current norms
      should be used at all times. In cases where a test with aging norms is
      used, a correction for the age of the norms is warranted. For example,
      if the Wechsler Adult Intelligence Scale (WAIS-III; 1997) was used to
      assess an individual’s IQ in July 2005, the population mean on the
      WAIS-II was set at 100 when it was originally normed in 1995
      (published in 1997). However, based on Flynn’s data, the population
      mean on the Full-Scale IQ raises roughly 0.33 points per year; thus
      the population mean on the WAIS-III Full-Scale IQ corrected for the
      Flynn Effect would be 103 in 2005. Hence, using the AAMR 2002
      System, significant deficits in intellectual functioning of “at least two
      standard deviations below the mean” the approximate Full-Scale IQ
      cutoff would be approximately 73 (plus or minus the standard error of
      measurement). Thus the clinician needs to use the most current
      version of an individually administered test of intelligence and take
      into consideration the Flynn Effect as well as the standard error of
      measurement when estimating an individual’s true IQ score.27
      According to Dr. Cunningham, the WAIS-III TECHNICAL MANUAL also

notes the reality of IQ score inflation because of the Flynn Effect. It gives an

inflation rate of about 0.3 points per year after the test is normed, consistent with


      25
        As previously indicated, the AAMR has since been renamed the AAIDD.
      26
        Atkins, 536 U.S. at 309 n. 3, 317.
      27
         USER’S GUIDE at 20-21. In its most recent publication, the AAIDD again
reiterates this recommendation. AAIDD 11TH EDITION at 37.
                                                                                        19
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the rate reported by Dr. Flynn. Deft. Exh. 19 at 3-4. The Handbook of Assessment

in Persons with Intellectual Disability28 acknowledges the significance of the Flynn

Effect as well, and the substantial support for its applicability—including in the
Borderline and Mentally Retarded range. It specifically recommends that

evaluators “seriously consider the Flynn effect” in making a diagnosis.29 Finally,
and most recently, defense psychologist Dr. Cunningham conducted an extensive
literature review, which he later published in a peer-reviewed journal, that found

the Flynn Effect is “well-established” and recommends that IQ scores be “Flynn-

corrected.”30

      The Fifth Circuit has not yet ruled on the validity of the Flynn Effect. In In

re Salazar, a Texas habeas case on federal review, the Fifth Circuit “express[ed]

no opinion” on the scientific validity of the Flynn Effect or its applicability to
individual test scores, because it noted that even if the correction were applied in
that case, Salazar’s IQ score would still be above 70, the cut-off used by Texas for

Atkins purposes. 443 F.3d 430, 433 & n.1 (5th Cir. 2006). Similarly, in In re

Mathis, another Texas habeas case, the Fifth Circuit again declined to pass on the

validity of the Flynn Effect, finding that Mathis’ IQ score of 64 (without a Flynn


      28
        Johnny L. Matson, Handbook of Assessment in Persons with Intellectual
Disability, 34 INT’L REV. RES. MENTAL RETARDATION (2007)(S-4).
      29
        Id. at 87- 93.
      30
       Gilbert S. Macvaugh III & Mark D. Cunningham, “Atkins v. Virginia:
Implications and Recommendations for Forensic Practice,” 37 J. OF PSYCH. & L.
131, 148, 151 (2009) [hereinafter Macvaugh & Cunningham Study] (S-30); Rec.
Doc. 2164, Swanson 17.
                                                                                       20
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correction), along with other evidence, made out a prima facie case that he was

mentally retarded and therefore able to proceed with a successive habeas petition.

483 F.3d 395 (5th Cir. 2007). In an unpublished opinion, Thomas v. Quarterman,

the Fifth Circuit dealt with yet another Texas habeas case that involved the Flynn

Effect, but not in a context where it could independently determine the validity of

the phenomenon. 335 F. App’x 386 (5th Cir. 2009). Rather, the case presented the
complex AEDPA question of whether “reasonable jurists would not debate that the

state court decision” to reject the Flynn Effect “was reasonably based on the

evidence before it.” Id. at 392.31

      In other instances, the Fifth Circuit has granted certificates of appealability

to state habeas petitioners claiming that the state courts erred by not finding them
mentally retarded for reasons including the failure of the state’s expert to inform

the state courts of the Flynn Effect. Pierce v. Thaler, 355 F. Appx. 784, 794-795

(5th Cir. 2009) (per curiam) (unpublished); see also Maldonado v. Thaler, 2010

WL 3155236, at *4 (5th Cir. 2010) (per curiam) (unpublished).

      Several district courts within the Fifth Circuit have dealt more directly with


      31
         More specifically, the state trial court had conducted an extensive
evidentiary hearing on mental retardation, making hundreds of factual findings,
and concluding that the petitioner was not mentally retarded. At the hearing, the
defense expert argued that the Flynn Effect should be applied to all of Thomas’
scores, while the state expert opined that it was inappropriate to adjust individual
scores for the Flynn Effect. The state court found the expert testimony offered by
the state to be more persuasive. The Fifth Circuit noted that the state court
reached these conclusions based on the witnesses and evidence before it, and
considering the deference that must be accorded state court findings on federal
habeas review, found that the state court decision was “reasonably based on the
evidence before it.” 335 F. App’x at 392.
                                                                                        21
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the application of the Flynn Effect. In Butler v. Quarterman, a state capital habeas

case, the district court first acknowledged that Salazar and Matthis “neither

accepted nor rejected the validity of the Flynn Effect.” 576 F. Supp. 2d 805, 814

(S.D. Texas, 2008). It then noted that in the state court proceeding, the state and

defense experts agreed that the Flynn Effect is generally accepted in the
psychological community and disagreed only as to how much correction is

necessary to account for its effect. The defense expert argued for a correction of .3

points per year, in line with Dr. Flynn’s conclusions. The state’s expert, Dr.

George Denkowski, contended that a correction of only .13 points per year should

be applied. As in Thomas, the state court credited the state’s expert and found that

Butler was not intellectually deficient. Significantly, the federal district court
found that the state court, while correctly identifying the governing legal rule,
arguably “unreasonably” applied the rule to the facts of the case. The court

specifically found that Dr. Denkowski’s view that only a .13 point per year
correction was appropriate for the Flynn Effect was “not supported by other,

credible, evidence.” Id. at 816. While the district court did not grant habeas relief,

it did issue a certificate of appealability on the basis that the state court’s ruling on

intellectual deficiency “was based almost entirely on . . . Dr. Denkowski’s heavily

disputed opinions.”

      In Wiley v. Epps, the district court confronted a situation where the state

court had refused to hold an evidentiary hearing on mental retardation at all. 668
F. Supp. 2d 848 (N.D. Miss. 2009). The district court granted an evidentiary


                                                                                       22
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hearing, and all the experts in that case agreed that the Flynn Effect was accepted

by the relevant professional community and “must be taken into consideration in

evaluating Petitioner’s scores.” Id. at 894. The district court therefore did take it

into consideration and calculated Wiley’s scores both with and without correction

for the Flynn Effect. Without correction for the Flynn Effect, three of Wiley’s five

prior IQ scores were below the Mississippi cutoff score of 75; with the Flynn

adjustment, four of the five fell below. Id. at 895-97. The district court then

concluded that “once all of Petitioner’s IQ scores . . . are adjusted for test

obsolescence (the Flynn Effect), the confidence interval for each of those tests

results overlaps at 68 to 70.” Id. at 898. It then added that, “[e]ven if test

obsolescence is not considered,” Wiley had established by a preponderance of the

evidence that he suffers from significantly subaverage intellectual functioning. Id.

The court went on to find that Wiley was in fact mentally retarded and exempt
from the death penalty.

      The Fifth Circuit Court of Appeals recently affirmed this decision.

Wiley, __ F.3d __; 2010 WL 4227405 (5th Cir. Oct. 27, 2010). However, it once

again declined to pass on the validity of the Flynn Effect, upholding the district
court finding that, even without correction for the Flynn Effect, Wiley had

significant subaverage intellectual functioning

      While the Fifth Circuit has not definitively passed on the Flynn Effect, cases

from the Fourth and the Eleventh Circuits expressly endorse use of the Flynn




                                                                                        23
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Effect, sometimes even requiring it to be considered.32 E.g., Thomas v. Allen, 607

F.3d 749, 753 (11th Cir. 2010) (“An evaluator may also consider the ‘Flynn
effect,’ a method that recognizes the fact that IQ test scores have been increasing

over time . . . . Therefore, the IQ test scores must be recalibrated to keep all test

subjects on a level playing field.”); Holladay v. Allen, 555 F. 3d 1346, 1350 n. 4,

1358 (11th Cir. 2009) (crediting the psychologist that concluded the IQ scores

needed to be adjusted for the Flynn Effect); Walker v. True, 399 F.3d 315, 322-23

(4th Cir. 2005) (remanding for an evidentiary hearing in part because the district

court “refused to consider relevant evidence, name the Flynn Effect evidence.”);

Davis, 611 F.Supp. 2d at 488 (“In conclusion, the Court finds the defendant’s

Flynn effect evidence both relevant and persuasive, and will, as it should, consider
the Flynn-adjusted scores in its evaluation of the defendant’s intellectual

functioning.”); Thomas v. Allen, 614 F. Supp. 2d 1257, 1278 (N.D. Ala. 2009) (“It

also is undisputed that Professor Flynn’s recommendation - i.e., ‘deduct 0.3 IQ

points per year [three points per decade] to cover the period between the year the
test was normed and the year in which the subject took the test - is a generally

accepted adjustment.”); Green v. Johnson, 2006 WL 3746138, at *45 (E.D. Va.

2006) (“Considering all of the case law and evidence, this Court concludes that the

Flynn Effect should be considered when determining whether Green’s scores fall at
least two standard deviations below the mean. There is sufficient evidence in the



      32
        The Court has been unable to find a case from a circuit court that holds that
the Flynn Effect does not exist or that it may not be corrected for.
                                                                                        24
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record to show the Flynn Effect is recognized throughout the profession.”); see

also United States v. Parker, 65 M.J. 626 (N-M. Ct. Crim. App. 2007).

      As already noted, Hardy’s score of 73 places him in the range of mild mental

retardation after considering the standard error of measurement, and without
correcting for the Flynn Effect. Nevertheless, the Court’s obligation is to ascertain

the best estimate of Hardy’s IQ. In light of the substantial evidence supporting the

existence of the Flynn Effect, the Court concludes that Hardy’s score of 73 should
be corrected to take it into account.

      ii.    The Flynn Effect as Applied to Hardy

      Paul Hardy was given the WAIS-R IQ test in 1996 and obtained a Verbal IQ

score of 74, a Performance IQ score of 76, and a Full Scale IQ score of 73. The
defense expert, Dr. Cunningham, opined in his report that this score was inflated
due to the Flynn Effect. He noted that the WAIS-R was originally normed in 1978,

but Hardy took the test eighteen years later. Applying the inflation rate of .3 points
per year, Hardy’s Full Scale score should, according to Dr. Cunningham’s report,

be corrected by 5.4 points, to below 68.33 Dr. Cunningham testified to the same

effect at the hearing, reaffirming his belief in the validity of the Flynn Effect, the

appropriateness of reducing Hardy’s score to 67.5 or 68 to account for it,34 and the

      33
        Deft. Exh. 19 at 5; Rec. Doc. 2123 at 69; Rec. Doc. 2124 at 338-39.
      34
         Rec. Doc. 2123, 50-51, 65-67, 69; Rec. Doc. 2124, 272-73. Dr.
Cunningham was one of the experts who testified in Hardy’s first sentencing
hearing in 1996. He acknowledged at the 2009 hearing that, in 1996, he was
unfamiliar with the Flynn Effect, and hence did not apply it to Hardy’s score. He
testified that had he been aware of it, he would have applied it and then, because
                                                                                         25
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Flynn Effect’s wide acceptance in scientific circles based on substantial research

published in peer-reviewed journals.35

      Dr. Swanson affirmed that the Flynn Effect “is a well-established statistical

phenomenon” and testified that it should be recognized and applied in a

retrospective diagnosis, regardless of any lingering controversy in the larger
community of psychologists. Deft. Exh. 1 at 5; Rec. Doc. 2125 at 698-699.

      The government’s expert, Dr. Hayes, agreed that the Flynn Effect exists with
respect to those persons of normal intelligence. However, she was skeptical that it

applies to persons with IQ scores below 75, like Hardy. Part of her reasoning was

that almost all of the studies that have been done on the Flynn Effect dealt with
people in the normal range of intelligence.36 She did acknowledge that one “really

good study” was done with those in the borderline and mentally retarded ranges

(the Kanaya Study cited by Dr. Cunningham37 and discussed earlier in this
opinion). The authors of the study concluded that, on the basis of the means,

medians, and regression estimates:

      [T]he size of the Flynn effect in these groups is very close to Flynn’s
      (1998) estimate of a 5.3-point difference between the average scores
      of the older WISC-R and the average scores of the newer WISC-III
      norms. So, our best estimate is that the Flynn effect falls between 5


the resulting score would have been below 70, he would have likely referred Hardy
for a formal evaluation for mental retardation. Id. at 244-45.
      35
        Rec. Doc. 2123 at 52-55.
      36
        Rec. Doc. 2128 at 1070.
      37
        Id. at 1071; Kanaya Study, supra n. 24.
                                                                                     26
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      and 6 IQ points in the mild MR and borderline ranges, almost exactly
      the same magnitude that Flynn found in the middle of the IQ
      distribution.38

      Dr. Hayes was nonetheless skeptical that these results were transferable to

adults because IQ tests geared for children were used. Defense counsel probed this

objection at the hearing, first pointing out that those tests are used up to the age of
17 and then asking,”What happens when somebody turns 17 years and one day?”

Dr. Hayes denied that she was saying the Flynn Effect would then simply

disappear and suggested instead only that more research is needed.39 That is, after

declaring that the Flynn Effect is “100 percent”40 applicable to adults within the

normal range of intelligence, and is applicable to those 17 years of age and

younger who are mentally deficient, Dr. Hayes claimed that the “jury is still out”41
on whether it is applicable to mentally deficient adults.

      On rebuttal, Dr. Cunningham relayed a discussion he had with Dr. Flynn

regarding Dr. Hayes’ view. Dr. Flynn “could identify no logical reason why this
phenomenon (the Flynn Effect) would exist at age 17 and then suddenly cease to
exist simply because someone had moved out of the zone of eligibility for the

WISC and into adulthood, where they would be given some rendition of the



      38
        Id. at 784.
      39
        Rec. Doc. 2128 at 1093 (“I am not saying that the Flynn Effect won’t be
there, but I am saying that we need more data.”).
      40
        Rec. Doc. 2129 at 1290.
      41
        Id. at 1290.
                                                                                      27
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WAIS.”42 Moreover, Dr. Hayes candidly acknowledged that “the best researchers

in this area all say that, yes, the Flynn Effect holds water in people with mental
retardation.”43 When asked if she was aware that her view on the Flynn Effect is

an “outlier position in the profession,” she agreed.44 And finally, she testified that

“I think my opinion related to the Flynn Effect is not consistent with what the
research says in the field.”45

       These candid concessions would be reasons enough for the Court to

disregard Dr. Hayes’ opinion on the applicability of the Flynn Effect to Hardy’s
score. They are not, however, the only reasons the Court does. Dr. Cunningham

noted that research from the first version of the WAIS forward, which includes the
WAIS-R, indicates that the Flynn Effect is operative in adults with IQs in the 70 to

75 range.46 So, there is in fact published, peer-reviewed research supporting the

existence of the Flynn Effect for the test Hardy took and the IQ range in which his

score fell.

       For example, Dr. Cunningham referenced a study by Jean Spuill and Brett L.




       42
        Rec. Doc. 2131 at 1587. The Court notes that this conversation, which was
not objected to at the hearing, is admissible as part of the basis of Dr.
Cunningham’s expert opinion. FED. R. EVID. 703.
       43
         Rec. Doc. 2128 at 1074-75.
       44
         Rec. Doc. 2129 at 1302.
       45
         Id. at 1239.
       46
         Id. at 1587-88.
                                                                                     28
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Beck, which compared performance on the WAIS and the WAIS-R.47 They gave

both tests to 108 people applying for special education services, the average age of
whom was 25.5 years. Those in the borderline range of intelligence, which was

identified as those having a Full Scale IQ of 70–84, averaged 4.75 points lower on

the new test.48

      Dr. Cunningham also testified about a meta-analysis of 13 studies, involving

participants with an average age of 29.5, conducted by Dr. Herman Spitz. While
Spitz found that at an IQ level in the lower 60s, the Flynn Effect on the WAIS to

the WAIS-R flattened out or even reversed,49 Spitz also found a clear Flynn Effect

in the IQ range of 70 to 75.50 Hardy scored a 73, which puts him well within the
range of people who exhibit the Flynn Effect according to Dr. Spitz’s meta-

analysis.

      Dr. Cunningham also cited a 2007 study by Suzanne Fitzgerald, Nicola S.

Gray and Robert J. Snowden. It compared the scores on the WAIS-R and the




      47
        Jean Spruill & Brett L. Beck, Comparison of the WAIS and WAIS-R:
Different Results for Different IQ Groups, 19 PROF. PSYCHOL. RES. & PRAC. 31-34
(1988) (S-21).
      48
        Rec. Doc. 2123 at 58-59.
      49
        Herman H. Spitz, Variations in Wechsler Interscale IQ Disparities at
Different Levels of IQ, 13 INTELLIGENCE 157-67 (1989) [hereinafter Spitz Study]
(S-20).
      50
        Rec. Doc. 2123 at 58.
                                                                                    29
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newer WAIS-III in the lower ranges of IQ.51 This is significant as Paul Hardy was

given the WAIS-R test, the older test. The researchers gave both tests to 45
individuals with diagnosed learning difficulties. Their scores were on average 4.1

points lower on the new test, which is in line with the predicted Flynn Effect.52

      Dr. Hayes cited some of the same studies, but claimed that her literature

review revealed that “the majority of researchers have found that the Flynn Effect

is either smaller in adults with Lower IQ’s or that the Flynn Effect can ‘reverse’
itself in individuals with IQ’s in the mentally retarded range.”53 To the extent the

studies already discussed also support a “reverse” Flynn Effect, they only do so for

persons with an IQ too low to be relevant (under approximately 65), while they in

fact prove the Flynn Effect exists in the relevant IQ range—Hardy’s range.

Several other studies cited by Dr. Hayes were also performed on people more
severely mentally retarded than Hardy,54 and so are likewise not helpful since
Hardy’s score does not fall in those ranges. Of course, if it had, presumably there


      51
        Suzanne Fitzgerald, Nicola S. Gray & Robert J. Snowden, A Comparison
of WAIS-R and WAIS-III in the Lower IQ Range: Implications for Learning
Disability Diagnosis, 20 J. APPLIED RES. INTELLECTUAL DISABILITIES 323-30
(2006) (S-15).
      52
        Rec.Doc. 2123 at 59.
      53
        Govt. Exh. 1 at 40.
      54
        E.g., Morton L. Light & Williams R. Chambers, A Comparison of the
Wechsler Adult Intelligence Scale and Wechsler-Bellevue II with Mental
Defectives, 62 AM. J. MENTAL DEFICIENCY 878-81 (1958) (S-18); Cheryl L. Simon
& James R. Clopton, Comparison of WAIS and WAIS-R Scores of Mildly and
Moderately Mentally Retarded Adults, 89 AM. J. MENTAL DEFICIENCY 301-04
(1984) (S-19); Spitz Study, supra n. 49.
                                                                                       30
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would have been no dispute at all that he is mentally retarded. To the extent Dr.

Hayes claims that Hardy is not mentally retarded, she cannot claim that studies
based on people far more mentally retarded than him prove the Flynn Effect does

not apply to him.

      Dr. Hayes’ last two criticisms of the Flynn Effect will be dealt with only

briefly. In the first, she opines that some researchers believe adjusting for the

Flynn Effect is unscientific and not supported by the data, citing a 2007 article by
George C. Denkowski and Kathryn M. Denkowski.55 However, the main thrust of

that article is to criticize Dr. Flynn for claiming that the WAIS-III results should

not only be adjusted for 0.3 points per year in general, but also adjusted downward
an additional 2.34 points because the scores were already inflated as of the time the
test was normed. Fortunately, it is not necessary for the Court to enter into that

thicket as Hardy did not take the WAIS-III test, but rather the WAIS-R.

      Dr. Hayes next cited a survey showing that a majority of psychologists did

not, at the time of the study, correct IQ scores for the Flynn Effect as part of their

regular practice. The survey, by Leigh D. Hagan, Eric Y. Drogin and Thomas J.



      55
         George C. Denkowski & Kathryn M. Denkowski, WAIS-III IQs of
Criminal Defendants with a Mental Retardation Claim Should not be Reduced for
the”Flynn Effect”, 25 AM J. FORENSIC PSYCHOL. 41(2007) (S-14). It is worth
noting that this is the same Dr. Denkowski who was sharply criticized by the
district court in Butler v. Quarterman, 576 F. Supp. 2d 805 (S.D. Tex. 2008). The
court there found Dr. Denkowski’s views on the Flynn Effect was not supported by
credible evidence. It is also the same Dr. Denkowski whose methods for
evaluating mental retardation are so questionable that the AAIDD 11TH EDITION
specifically cautioned against adopting his practice. Id. at 53.
                                                                                         31
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Guilmette56 does in fact make that finding, but the Court does not find it

particularly relevant. Regardless of what most psychologists do, the evidence
before the Court indicates that correcting for the Flynn Effect is a “best practice” in

the field and therefore should be done. In any event, Dr. Swanson testified that the

profession recognizes that correction for the Flynn Effect in a retrospective

assessment is distinctly appropriate. Rec. Doc. 2124 at 698-99. In response to a

point similar to Dr. Hayes’ that was advanced by the government in Davis, that

court responded as follows:

      The goals of an IQ assessment are dramatically different in the
      clinical versus the forensic setting. In the clinical context, the
      purpose of such an assessment is typically to get an accurate
      picture of the individual’s current functioning so that
      appropriate systems of support may be devised to assist that
      individual in everyday living. In most cases, a recently-normed
      instrument will be used for the IQ assessment, rendering
      unnecessary any Flynn adjustments.
      In the forensic context, however, where an individual’s
      eligibility for a death sentence depends on a somewhat arbitrary
      numerical cutoff, precision and accuracy in determining that
      individual’s IQ score, both at present and in the past, become
      critically important. Eligibility for the death penalty is not a
      lottery, and a greater effort to achieve accurate results is both
      necessary and appropriate.
      Apart from eligibility for certain entitlement programs, in the
      clinical setting, the precise value given to an individual’s IQ has
      very little consequence, so there would be very little gained by
      adjusting the numerical score to account for changed norms
      when the clinician could simply take the phenomenon into
      account when interpreting the scores.


      56
        Leigh D. Hagan, Eric Y. Drogin & Thomas J. Guilmette, Adjusting IQ
Scores for the Flynn Effect: Consistent with the Standard of Practice?, 39 PROF.
PSYCHOL. RES. & PRAC. 619-25 (2008) (S-16).
                                                                              32
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611 F. Supp. 2d at 488.

      The Court finds that the Flynn Effect is well established scientifically and

that Dr. Hayes’ skepticism is unpersuasive. Hence, the Court will correct for the

Flynn Effect in determining Hardy’s IQ. The WAIS-R was normed in 1978 and
Hardy took the test in 1996, eighteen years later. Applying Dr. Flynn’s formula,

Hardy’s score of 73 is in fact a score of 67.06.57 Applying the same standard error

of measurement used above, Hardy’s Full Scale IQ must be said to fall somewhere
between 62.06 and 72.06.

      As already noted, even without the Flynn Effect, and assuming adequate

effort, Hardy’s performance on the 1996 IQ test by Dr. Tetlow demonstrates that
he has significantly subaverage intelligence and therefore meets the first criterion

of the definition of mental retardation. As Dr. Hayes did not administer her own
IQ test to Hardy,58 the Court must credit Dr. Tetlow’s results unless they cannot be

      57
        The calculation is .33 points per year times eighteen years, which equals
5.94 points.
      58
          The Court notes that Dr. Hayes testified that she declined to administer her
own IQ test because of the Court’s requirement that any testing be videotaped. She
stated that videotaping potentially violated the American Psychological
Association Ethics Principles by “placing confidential test procedures in the public
domain” and that it might also offend copyright laws. Rec. Doc. 2127 at 1020-21;
Rec. Doc. 2129 at 1254-55. The Court notes her view is not universal. Dr. Hayes
herself testified that other psychologists have videotaped their IQ testing and that
the government could have requested another psychologist to do the evaluation but
it did not. Rec. Doc. 2129 at 1254-1255. It is worth noting that in a case in this
district, United States v. Nelson, 419 F.Supp.2d 891 (E.D.La. 2006), the
government retained Dr. Matthew Thompson as their expert and he in fact
videotaped his IQ testing procedures with the defendant. Nonetheless, the
defendant bears the burden of proving that he is mentally retarded. Therefore, the
government has no obligation to test the defendant or present its own evidence on
                                                                                       33
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treated as reliable evidence of Hardy’s IQ. Dr. Hayes claims these results are not

in fact reliable, citing a number of alleged inconsistences in Hardy’s performance.
The Court now turns to those objections.

       3.     The Adequacy of Hardy’s Effort

       Dr. Hayes gives a number of reasons in her report for dismissing the IQ

score obtained by Dr. Tetlow. They can be grouped into three broad categories: (1)
the claim that Hardy failed to demonstrate expected practice effects on some tests,

indicating a lack of effort; (2) personality testing of Hardy suggests a tendency to

malinger; and (3) other miscellaneous discrepancies in the data. The Court
discusses each in turn.

       i.     Practice Effects

       Dr. Hayes noted that Hardy took the WAIS-R test twice within one month,

first with Dr. Tetlow and then with Dr. Martell, the government’s psychologist at
the time. She testified that Hardy should therefore have obtained a higher IQ score
with Dr. Martell because of the concept of “practice effects.” That is, having

already taken the identical test with Dr. Tetlow, Hardy should have done better

when he later took it with Dr. Martell. The Court is inclined to agree as a matter of
common sense. And, in fact, Hardy did do better with Dr. Martell than with Dr.

Tetlow—Hardy’s Full Scale IQ rose, as did his score on seven of the WAIS-R’s
subtests.



this issue.
                                                                                       34
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      Dr. Hayes contended this was not sufficient evidence of the expected

practice effect, however, as Hardy’s scores decreased on two of the WAIS-R’s sub-
tests—the Picture Arrangement and the Object Assembly subtests—that are the

most sensitive to practice effects.59 The Court first notes that, regardless of how

Hardy performed on those two subtests, he clearly demonstrated overall
improvement during the testing by the government. That improvement is

inconsistent with any malingering strategy and is indicative of adequate effort.

Furthermore, as Dr. Cunningham explained, the two subtests at issue, of Picture
Arrangement and Object Assembly, have the lowest reliability rating—or, put
another way, the highest standard error of measurement.60 So, while Hardy’s
scores may have declined on those two subtests, they are the most unreliable

ones.61 Meanwhile, his scores improved on the seven more reliable subtests.

      Moreover, Dr. Cunningham noted that Hardy’s two subtest score declines
were still “well within the standard error of measurement” for those subtests. In




      59
        Govt. Exh. 1 at 23-24; Rec. Doc. 2127 at 1025-27. At a later point in her
testimony, Dr. Hayes refers to the Picture “Completion” subtest as a test in which
Hardy’s scores declined. Rec. Doc. 2129 at 1334. In fact, he doubled his score on
the Picture Completion test with Dr. Martell, which is wholly consistent with the
expectation from practice effects. See Govt. Exh. 1, att. 4 at 6. Presumably, Dr.
Hayes misspoke and meant the Picture Arrangement subtest, in which his score
declined from a 7 to a 5. Id.
      60
       Rec. Doc. 2123 at 88-89, 91. The standard error of measurement for those
in Hardy’s age group is 1.50 for the Picture Arrangement test and 1.71 in the
Object Assembly test. Deft. Exh. 30 at 33.
      61
        Rec. Doc. 2123 at 91.
                                                                                      35
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fact, similar or greater score declines occurred within the normative sample.62 Dr.

Cunningham explained that expected variations within the normative sample are
often set at a 90 percent range, meaning that 90 percent of the standardization

sample had variations within that range.63 He reported that only one of Hardy’s

scores was outside the 90 percent variation range of the normative sample,64 and

that one was in a positive direction, consistent with the expected practice effects.65

Dr. Cunningham also noted in his report that to the extent that Hardy’s
improvement was more modest than that of many others, this is “unsurprising . . .
given that persons with deficient intelligence may profit less from learning

opportunities.”66 Hence, any reduced practice effect is supportive of a finding of
mild retardation.

      Dr. Hayes mentioned neither the 90 percent range nor the standard error of
measurement in her report or in her direct testimony, apparently considering them

irrelevant. When questioned about these two particular subtests on cross-
examination, she opined that Hardy’s two score declines were “statistically

significant” because his scores were outside one standard deviation of the norming




      62
        Id.
      63
        Rec. Doc. 2131 at 1596.
      64
        Id. at 1594.
      65
        Id. at 1594-95.
      66
        Deft. Exh. 19 at 5-6.
                                                                                     36
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group that took the test.67 But when pressed on whether one standard deviation

was in fact “statistically significant,” she could not bring herself to answer one way
or the other and instead stated that “the fact that he is doing worse when he should

be doing better is what you should be focusing on.”68 The Court finds this

reasoning perplexingly circular, because consideration of the standard error of
measurement and assessment of whether a change in score is statistically

significant is essential in determining whether Hardy did in fact do “worse” in the

first place.

       Dr. Hayes makes substantially the same kind of argument concerning

Hardy’s performance on the neuropsychological testing by Dr. Martell in late
March of 1996 and that by Dr. Kevin Bianchini in early April of that year. Dr.
Hayes pointed out that, on the Wechsler Memory Scale-Revised, Hardy received

an Attention/Concentration Index Score of 80 during Dr. Martell’s evaluation, but
scored only 70 two weeks later when assessed by Dr. Bianchini. From this she

concluded that “the reliability and validity of the psychological and
neuropsychological assessment data is questionable and is likely an underestimate
of [Hardy’s] true abilities.”69


       67
         Rec. Doc. 2129 at 1335.
       68
         Id.
       69
         Govt. Exh. 1 at 24. In her testimony at the hearing, she elaborated on
another test, the Trail Making Test (“TMT”), Part B, which is a measure of
abstracting ability. At the earlier testing, with Dr. Martell, Hardy completed this
test in 83 seconds but two weeks later, despite the presumed practice effect, it took
him 117 seconds to complete the same test. Rec. Doc. 2127 at 1029.
                                                                                    37
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      Yet, exactly as with the two IQ tests, Dr. Hayes again bypassed that test’s

standard error of measurement when drawing her conclusions. Dr. Cunningham
testified that the variation in Hardy’s score was still within the 90 percent

reliability range of the standardization sample.70 With respect to Hardy’s drop

from 80 to 70 on the Attention/Concentration Index of the Wechsler Memory
Scale, Dr. Cunningham had several additional relevant observations.

      First, the standardization sample for that test was less than 400 people and
did not include those in Hardy’s age range, with some scholars recommending the
test not be used with individuals in the excluded age ranges.71 Second, Dr.

Cunningham testified that few of the subtests meet “even minimal standards for

reliability.”72 He asserted that, moreover, all of Hardy’s scores were within the
applicable standard error measurement.73 With respect to the
Attention/Concentration Index in particular, he testified it is the most reliable of

the various tests, but still subject to a broad standard error of measurement.

      In fact, according to Dr. Cunningham, Hardy’s Attention/Concentration
score of 80 with Dr. Martell had a range of 73 to 90. His score of 70 with Dr.

Bianchini fell within a range of 64-81. As the ranges of the two scores




      70
        Rec. Doc. 2131 at 1599.
      71
        Rec. Doc. 2123 at 93-94.
      72
        Id. at 94.
      73
        Id. at 97.
                                                                                       38
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substantially overlap,74 Dr. Cunningham testified that the score of 70 is not

“meaningfully less than an 80.”75 Put more technically, the “score discrepancy of
nine to ten points is well within the 14-point discrepancy at a 95 percent
confidence interval,” ergo the difference is “not statistically significant.”76

      The rest of Dr. Hayes’ alleged inconsistencies in Hardy’s

neuropsychological testing fall prey to the same problems: There is no evidence of
inconsistency, at least using the standard quantitative methods of her field.77 Dr.
Cunningham is hardly an outlier in his use of such methods. When asked at the

first trial about Hardy’s drop in scores on the neuropsychological testing, Dr.
Bianchini answered that “there is a normal sort of variability that goes along with

these tests. There’s a range within people tend to perform. Someone could, you
know, vary within that range and it not be especially significant. So say, for
example, if the standard variability on a test is ten points, if somebody is two to




      74
        Id. at 95.
      75
        Id. at 96-97.
      76
        Id.
      77
         For example, Dr. Hayes noted that Hardy’s re-test score on the Category
Test fell by one point. Rec. Doc. 2127 at 1035-40. Dr. Cunningham noted that
this was well within the 90 percent reliability range for variation. She also noted
that Hardy’s scores on the California Verbal Learning Test (“CVLT”) and the Rey
Auditory Verbal Learning Test (“RAVLT”) declined. While she thought those
declines were “probably statistically meaningful,” she admitted that she did not
even look up the standard errors of measurements for the majority of the tests she
discussed. Rec. Doc. 2129 at 1268; see also id. at 1324, 1327-29. In light of that,
the Court finds her observations in this area to be unpersuasive.
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three points lower, that’s just statistical fluctuation.”78

       Perhaps Hardy did not benefit from as great a practice effect as others might

have. This may indicate, as suggested by Dr. Cunningham earlier, a “deficient
intelligence” in that Hardy may have a lesser capacity to benefit from learning

opportunities.79 Whatever it indicates, the Court has seen no evidence that it

indicates Hardy failed to make an adequate effort on the IQ test with Dr. Tetlow.

First, other than the two WAIS-R subtests (and Hardy did show overall

improvement the second time he took the WAIS-R) none of the tests Dr. Hayes

discusses are tests of intelligence. Moreover, Hardy’s scattershot pattern of
improvement and decline on these other tests is not consistent with a rational
malingering strategy.80 The Court sees no reason to assume Hardy failed to make
an adequate effort with Dr. Tetlow on the IQ test when no evidence indicates

malingering in the other testing data.

       Second, Dr. Bianchini himself gave Hardy high marks for effort, noting in

his report that Hardy was “reluctant to give up when he could not remember all the

correct responses,” as, for example, when Hardy “did not want to move on to the
next trial on the RAVLT until he had thought of every possible correct response to

the previous trial.” He also concluded that Hardy “appeared to put forth much


       78
         Deft. Exh. 18-4 at 244-45.
       79
         Deft. Exh. 19 at 5-6.
       80
         Recall that Hardy performed better for the government’s expert in most of
the instances of an alleged inconsistency here.
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effort in an attempt to solve each task” and that his scores were a “valid measure of

his current level of functioning.”81

      Lastly, as discussed before, each of the inconsistencies Dr. Hayes claims

exist here could, according to the standard understanding in the profession, be due

to chance. Dr. Hayes’ overall argument appears to be that test score discrepancies,
if enough are present, raise red flags, regardless of whether the differences in

scores are statistically meaningful.82 The Court frankly finds this testimony

unsettling, as it evidences a casual attitude towards the science that undergirds IQ

testing, and more specifically, the proper statistical interpretation of the various
tests at issue. Based on the evidence in the record on this point, the Court must

credit Dr. Cunningham’s succinct criticism: “eyeballing test scores” for
discrepancies, as Dr. Hayes did, is not appropriate.83

      ii.    Personality Testing

      The next indicator of malingering/response bias identified by Dr. Hayes was

Hardy’s results on the Minnesota Multiphasic Personality Inventory - 2 (“MMPI-
2”). Quoting from Dr. Martell’s report, she stated that Hardy “was inconsistent in

answering questions and over-reported his level of psychopathology in an effort to

appear more disturbed than he really is.”84

      81
        Deft. Exh. 18-5 at 4.
      82
        Rec. Doc. 2129 at 1270.
      83
        Rec. Doc. 2131 at 1598.
      84
        Govt. Exh. 1 at 24, quoting Dr. Martell’s report, Govt. Exh. 1, att. 4 at 9.
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      Unfortunately, the details of Hardy’s MMPI administered by Dr. Martell are

no longer available and Dr. Martell did not describe the specific test results that led
him to his conclusion.85 Nevertheless, Dr. Cunningham candidly noted that Dr.

Tetlow also administered the MMPI to Hardy and likewise came up with a very
elevated score on the same issue. He also agreed that one interpretation of that

elevated score is that Hardy was deliberately exaggerating his pathology. Other

explanations include test resistance, situational stress or marginal reading ability.86

      As it turns out, the Court need not delve too deeply into these issues. Dr.
Cunningham testified that the standardization group for the MMPI did not include

borderline or mentally retarded people. In fact, nearly 75 percent of the group had
some college education. For that reason, Dr. Cunningham and a co-author, Dr.



      85
        Rec. Doc. 2123 at 101-02.
      86
         Id. at 102-03, 110. With respect to reading ability, Dr. Cunningham
testified that the MMPI-2 calls for the person taking the test to have an 8th grade
reading level in order to comprehend the questions and answer appropriately.
Contemporaneously with Hardy taking the MMPI, he was also given the Wide
Range Achievement Test-Revised, which tests word recognition only, not
comprehension, and he scored at only the 5th grade level. Similarly, when Dr.
Swanson tested him more recently for reading comprehension, he tested at the level
of an in-coming 6th grader. Id. at 104. In light of that, Dr. Cunningham questioned
the validity of the elevated pathology scores, suggesting that Hardy may have
simply found the material too difficult to understand. Id. Dr. Cunningham
acknowledges that Hardy was given a reading comprehension test in prison which
indicated he read at a 13th grade level. However, as he points out, this is an
untimed test, which could have been taken back to the cell. The test taking
conditions are simply unknown and the results are wholly inconsistent with his
other reading scores. Id. at 105-07. The Court gives credence to the reading
recognition scores that show Hardy’ word comprehension level at the time he took
the MMPI to be no greater than a 5th grader, or a full three grade levels below the
minimum required for this test.
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Macvaugh, recently wrote that “[t]he MMPI is not an appropriate instrument for

any purpose in the assessment of persons who may be suspected to have mental

retardation.”87 Dr. Hayes agreed that an MMPI is not an appropriate test to give to

someone who is mentally retarded.88

       Obviously, the issue is whether in fact Paul Hardy is mentally retarded. If

he is, then both Dr. Cunningham and Dr. Hayes agree that the MMPI results are

meaningless. Consequently, the assessment of whether Hardy is or not retarded
must be made without considering his MMPI.

       Dr. Hayes next highlighted Hardy’s results on the The Millon Clinical
Multiaxial Inventory - II, administered by Dr. Tetlow in February 1996.

According to him, its results “may indicate a broad tendency to magnify the level

of experienced illness or a characterological inclination to complain and to be self-
pitying...or may convey feelings of extreme vulnerability, which are associated
with a current episode of acute turmoil.”89 Dr. Hayes included it because it

indicated Hardy possibly had a tendency to magnify his psychological problems.90

       The Court notes that, at the time he took the test, Hardy was incarcerated for
the instant capital crimes. Dr. Bianchini noted in his evaluation that Hardy’s


       87
         Id. at 109, 112. See also Macvaugh & Cunningham Study, supra n. 30 at
177.
       88
         Rec. Doc. 2128 at 1054.
       89
         Govt. Exh. 1, att. 2.5 at 60; Id. at p. 24.
       90
         Rec. Doc. 2128 at 1055.
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brother Wayne had recently been murdered, and that Hardy saw a psychiatrist in

prison and was on medication as a result.91 These circumstances might very well
qualify as an “episode of acute turmoil” that may very well have induced “feelings
of extreme vulnerability.” But whether or not they do or did, this test, like the

MMPI, also requires an 8th grade reading level to comprehend its questions.92 And,

again as with the MMPI, both Dr. Hayes and Dr. Cunningham agree that this test is
not appropriate for people who are mentally retarded.93 So, the Court finds this test
score irrelevant for the same reasons it found the MMPI score to be irrelevant.

       iii.   Other Discrepancies

       Only two of Dr. Hayes’ additional discrepancies deserve much serious
discussion. They involve Hardy’s performance on two clinical tests, the Wechsler
Adult Intelligence Scale - Revised (WAIS-R) Digit Span Subtest and the “Serial
7’s” test.

       Dr. Hayes noted that Hardy could recite a four digit number backwards
when tested by Dr. Tetlow using the Digit Span Subtest in February 1996, but
when he was asked to do the same task some weeks later for Dr. Bianchini on the

Wechsler Memory Scale-Revised, he could only successfully recite two numbers

       91
         Deft. Exh.18-5 at 3. Dr. Bianchini has both the date and the year incorrect
regarding Wayne Hardy death. He evaluated Hardy in early April 1996, and in his
report states that Wayne Hardy was killed on “June 18 of this year (1986).”
Wayne’s mother, Marie Hardy, testified in April, 1996, that Wayne Hardy had
been killed in January of that year. Deft. Exh. 34-UU at 24.
       92
         Rec. Doc. 2123 at 117.
       93
         Rec. Doc. 2123 at 116-17; Rec. Doc. 2128 at 1055-56.
                                                                                    44
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backwards.94 The Court’s initial reaction to this “discrepancy” is to regard it as de

minimis—hardly the kind of evidence needed for the Court to throw out Dr.

Tetlow’s IQ test.

      Dr. Hayes is correct that Hardy was able to correctly recite a four digit
number backwards when Dr. Tetlow tested him, however he was only able to do

that one time successfully. A second attempt failed. He was also able to recite

backwards two sets of three digits and two sets of two digits.95 When Dr.
Bianchini tested him, Hardy was only able to recite two digits backwards, failing

twice at trying to recite three.96 Worth noting, however, is that even though he

failed at reciting three digits backward for Dr. Bianchini, he actually got all the

numbers correct, but in a forward sequence instead of backwards (4-9-3 he recited
as 9-3-4 instead of 3-9-4 and 5-2-6 he recited as 2-6-5 instead of 6-2-5).

      So, for both Dr. Tetlow and Dr. Bianchini, Hardy was able to recite two

digits backwards; for Dr. Tetlow he was able to recite three and four digits

backwards, and with Dr. Bianchini, he got the three digits correct, but went

forward instead of backward. Noteworthy also is that for the forward digit span

test, Hardy’s performance was consistent between the two test sessions as the


      94
         Govt. Exh. 1 at 23; Rec. Doc. 2127 at 1024. See also Govt. Exh. 1, atts. 2
& 2.5. The Court notes that Dr. Tetlow’s psychological testing is included as an
exhibit, but was not given an exhibit number; the Court has identified it as Govt.
Exh. 1, att. 2.5 in the index to those exhibits.
      95
        Govt. Exh. 1, att. 2 at 1.
      96
        Id. at 3.
                                                                                      45
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differences are not statistically significant.97 In addition, Dr. Cunningham testified

that the digit span subtest is “remarkably sensitive to distraction or
preoccupation.”98 Considering Hardy’s overall performance on this digit span

subtest, the Court finds that Hardy’s mix-up on the three digit backward sequence

to be de minimis.

      Dr. Hayes was also concerned that Dr. Swanson stated that Hardy was

unable to count backwards from 100 by sevens, yet he was able to do so with Dr.

Hayes, using his fingers.99 When Dr. Swanson testified at the Atkins hearing, she

elaborated that Hardy first requested to use paper and pencil for the task and she

told him no. Dr. Swanson also told Hardy that he could not use his fingers; he had
to count in his head. She said that he went six backwards from one hundred,

instead of seven, and then said he could not do it.100 In her hearing testimony, Dr.
Hayes testified Hardy was able to complete the task in a minute and fifteen

seconds, and that Dr. Cunningham, in his 1996 report, likewise stated Hardy did
not have difficulty with the task.101 However, as is apparent from the video, Dr.


      97
         With Dr. Tetlow, Hardy could recite up to seven digits forward one time
successfully, failing a second attempt. With Dr. Bianchini, Hardy could recite up
to six digits forward successfully twice but failed at seven digits. Govt. Exh. 1, att.
2 at 9 & att. 2.5; see also Rec. Doc. 2123 at 98-99 (testimony of Dr. Cunningham
that the difference is not statistically significant).
      98
        Rec. Doc. 2123 at 101.
      99
        Govt. Exh. 1 at 25.
      100
           Rec. Doc. 2126 at 845.
      101
           Rec. Doc. 2128 at 1057-58.
                                                                                     46
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Hayes allowed Hardy to use his fingers in doing the counting. Dr. Cunningham

testified that the proper way to do the test is for the person to hold the numbers in
their head and subtract, without external props, like counting fingers as Hardy did.

In Dr. Cunningham’s opinion, Hardy actually performed “serial ones” for Dr.

Hayes because he counted down, one by one, on his fingers through each seven
digit sequence.102 He did point out that it had diagnostic value in that Hardy

needed to use the manual aid to help him, which illustrated his concreteness of
thought and is consistent with mental retardation.103

      With respect to his own testing of Hardy in 1996, Dr. Cunningham recorded

that Hardy completed the task without error but did so slowly and by calculating
outloud, similarly to what he did with Dr. Hayes.104 Dr. Bianchini also asked

Hardy to do the Serial 7’s test and he reported Hardy finished it in 36 seconds.

This is significantly shorter than the time that Dr. Hayes reported, when Hardy
used his fingers, and it appears likely that Dr. Bianchini did not have Hardy count
below 65,105 which would account for that discrepancy. His report is silent as to

whether Hardy used his fingers or counted aloud.106



      102
         Rec. Doc. 2123 at 123.
      103
         Id. at 123-24.
      104
         Rec. Doc. 2124 at 290.
      105
         Govt. Exh. 1, att. 2 at 51. On “Serial 7’s,” the time is indicated as 36 and
errors as none, but the checklist stops at 65.
      106
         Deft. Exh. 18-5 at 6.
                                                                                        47
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      With respect to Serial 7’s, the Court concludes that Hardy is apparently able

to complete the task, but only by either counting outloud or using his fingers, and
taking considerable time. His performance is consistent.

      The Court finds the remaining alleged discrepancies cited by Dr. Hayes to be
in essence insignificant. The Court nevertheless feels an obligation to address

them given the gravity of the issue before it. Therefore, a discussion of them is

incorporated into “Appendix A,” attached to this opinion.

      iv.    Malingering/Response Bias

      The Court has serious concerns with Dr. Hayes’ treatment of the first

substantive issue addressed in her report, “Malingering/Response Bias,”107 which

relates to the adequacy of Hardy’s effort. Dr. Hayes began by citing the DSM-IV-

TR’s criteria regarding when malingering should be suspected, which include a
medicolegal context and the presence of antisocial personality disorder.108 After
noting that Hardy was obviously being tested in a medicolegal context, Dr. Hayes

spent considerable time in her report and testimony discussing why Hardy could be

diagnosed with antisocial personality disorder, even going so far as to present a
PowerPoint presentation on the topic.109 And, Dr. Hayes affirmatively stated in her
report that “Markers indicative of malingering were evident in Mr. Hardy’s
psychological assessment measures and available records” and then lists as

      107
        Govt. Exh. 1 at 21.
      108
        Id. at 21-22.
      109
        Id. at 22; Rec. Doc. 2127 at 1013-19; Govt. Exh. 4 at 20.
                                                                                      48
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“examples” four pages of these alleged discrepancies in his assessment.110

      This particular issue caused a significant excursion down an Alice in

Wonderland rabbit hole that turned out to be largely unnecessary. Despite clearly

indicating by the above that Hardy’s IQ assessment evidenced malingering, Dr.

Hayes ultimately stated repeatedly on the witness stand, but unfortunately not until
cross-examination, that she did not believe Hardy malingered at all.111

      Dr. Hayes would have been considerably more helpful to the Court had she

been similarly forthcoming in her report, and at the outset of her direct testimony.
As it was, the defense spent a considerable amount of time eliciting repetitive

evidence, ultimately unnecessary, that the discrepancies cited by Dr. Hayes were
not indicative of “malingering” because they charted no logical course of




      110
         Govt. Exh. 1 at 23-27. Also, on page 27 of her report, in a section entitled
as an opinion regarding “the issue of malingering or response bias,” Dr. Hayes
again stressed the medicolegal context and Hardy’s Anti Social Personality
Disorder traits, and she faulted the defense psychologists for failing to administer
more recent malingering tests.
      111
         On cross-examination, Dr. Hayes was asked if she is saying Hardy
malingered, and she answered, “No, not at all.” Rec. Doc. 2129 at 1265. Shortly
thereafter, she repeated, “So in my opinion at this point as I sit here and testify, I
don’t believe he is malingering.” Id. at 1267. Still later, she reiterated, “I do not
believe that Mr. Hardy was intentionally producing false or grossly exaggerated
symptoms for secondary gain based upon the information that I have.” Id. at 1311.
She again repeats several times that she did not believe he malingered. Id. at
1311-12. She later testified that she has had cases where she believed the person
malingered but repeats that her opinion in this case is that Hardy did not malinger.
Id. at 1323.

                                                                                    49
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“malingering strategy.”112 Likewise her testimony regarding whether Hardy met

the characteristics of anti-social personality disorder was irrelevant.

      With respect to the issue of malingering, Dr. Bianchini tested Hardy for it in

1996 with the Portland Digit Recognition Test.113 He testified at the first

sentencing hearing that Hardy “did fine . . . with no indication of malingering.”114

The government’s psychologist, Dr. Martell, tested Hardy with the Dot Counting
Test and the Memory for Fifteen Items Test.115 He described Hardy as
“cooperative and friendly throughout most of two days of examination and testing”

and that on “tests specifically designed to detect efforts to malinger brain damage,
his performance was within acceptable limits.”116

      Dr. Hayes acknowledged that these malingering tests in 1996 were all within


      112
          See for example, Rec. Doc. 2123 at 90, 91-92, 97, 101, 113-14. This
allegation of “malingering” extended beyond just the language of her report.
During Dr. Hayes’ trial testimony, the government used slides, for example,
entitled “Malingering Performance.” Rec. Doc. 2127 at 1027; Govt. Exh. 4 at 21.
      113
         Govt. Exh. 1, att. 2 at 46.
      114
          Deft. Exh. 35-VV at 227, 248. In his report, Dr. Bianchini stated that “Mr
Hardy showed no attempt ‘fake bad’ on this test. Out of 72 trials, he made 63
correct responses. This is well within the normal limits for a valid response. This
lack of evidence of malingering on this validity check combined with the lack of
test results suggesting efforts to ‘fake bad’ strongly supports the validity of this
patient’s performance on this battery as a whole.” Deft. Exh. 18-5 at 11.

      115
         Govt. Exh. 1, att. 4 at 2.
      116
          Id. at 4. Dr. Martell did find an “inconsistent pattern” in Hardy’s results,
which he said “suggests that (Hardy) may not have been putting forth his best
effort...” Id. His objections are no different than those of Dr. Hayes, who
ultimately adopted his view.
                                                                                      50
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normal limits, but she then suggested that the specific tests used are either

ineffective in a mentally retarded population or have yet to be evaluated in that
population.117 This was a puzzling position for her to take, since she maintained
that Hardy is not mentally retarded. Nevertheless, she opined that the tests used by
government psychologist Dr. Martell, the Dot Counting Test and the Memory for

Fifteen Items Test, “fare poorly in distinguishing individuals with mental

retardation from those feigning this level of functioning.”118 But that is only true if

the person does poorly on the test, not well, as Hardy did. As Dr. Cunningham

testified, these tests are designed to look difficult, but are in fact easy.

Consequently, if someone who is mentally retarded scores poorly, then the

examiner might be concerned whether the low score was due to deliberate lack of
effort. But if a person scores well on it, even a mentally retarded person, then it
indicates he is making good effort despite the disability. Only poor scores create

the issue raised by Dr. Hayes, not good scores like Hardy’s, as indicated in the

testimony of Dr. Cunningham.119 So the issue raised by Dr. Hayes, aside from
being contrary to her own assessment of Hardy’s intellectual functioning, is in fact

no issue at all.

       The Court concludes, as did Dr. Hayes ultimately, that Hardy did not

malinger during any of his testing in 1996. The Court also concludes that Dr.


       117
         Rec, Doc. 2128 at 1062; Govt. Exh. 1 at 28.
       118
         Id.
       119
         Rec. Doc. 2123 at 131-33.
                                                                                      51
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Hayes alternative claim—that Hardy’s IQ test results were “inconsistent” and that

perhaps it was not his “best effort,” due to any number of reasons, such as being
hungry, or the room being at an uncomfortable temperature, or having an upset

stomach or not feeling well, or having attentional difficulties120—are not supported

by any evidence either.

        Dr. Hayes concluded based on all of the above that, “to a reasonable degree

of psychological certainty, Mr. Hardy’s amount of effort expended on the 1996 and
2008 assessment measures were inconsistent” and therefore the results indicated no
more than Hardy’s “minimum” level of functioning.121

        Yet Dr. Hayes conceded that none of the several psychologists who testified
indicated any problems with Hardy’s level of effort during the testing.122 And, as

described above, a number of the alleged inconsistencies were not, in fact,

inconsistencies at all. Others were largely insignificant, merely minor variations to
be expected within any repetitive testing procedures. And others were actually
consistent with someone who is mildly mentally retarded.

        The Court concludes that Dr. Hayes inappropriately discounted data
supportive of the accuracy of the IQ testing, and disregarded essential scientific

principles, such as the standard error of measurement in reaching her opinions.


        120
          Rec. Doc. 2129 at 1266, 1313.
        121
          Govt. Exh. 1 at 29; see also Rec. Doc. 2128 at 1093; Rec. Doc. 2129 at
1191.
        122
          Rec. Doc. 2129 at 1340, 1336-37.
                                                                                     52
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The Court finds that Dr. Hayes’ rationale for rejecting the reliability of Hardy’s

1996 IQ test results is unpersuasive.

      4.      Other Evidence of Hardy’s IQ

      Both the APA and AAMR/AAIDD indicate that a diagnosis of mental

retardation should be made based on IQ test results where it is possible to perform
such a test.123 As the Court has concluded that Hardy made an adequate effort on

the most accurate IQ test in evidence, it need not look to other sources to measure
his intelligence. But because Dr. Hayes discounted Hardy’s score as unreliable,
she sought to determine his intelligence using other methods. Her sources fall into

several categories: (1) school records; (2) data about his family; (3) the opinions of
lay persons; and (4) demographic variables.

      The Court, in keeping with the views of the APA and AAMR/AAIDD, has
and will rely on Hardy’s IQ test score to determine whether he meets the first
criterion of the definition of mental retardation. A discussion of Dr. Hayes’

testimony concerning these other sources of information is nevertheless both

instructive and necessary. It is instructive, as the relevant evidence is consistent

with the conclusion that Hardy has significantly subaverage intelligence
functioning. It is necessary, as Dr. Hayes’ testimony on these other sources
informs the Court’s assessment of her overall credibility. The Court provides a

discussion of the problems with her testimony in “Appendix B,” attached to this



      123
           AAMR 10TH EDITION at 51–52; DSM-IV-TR at 41–42.
                                                                                       53
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opinion.

      5.       The 1996 Testimony

      The Court now must now address the “elephant in the room” from the 1996

IQ testing. While the Court has been critical of segments of Dr. Hayes’ evaluation
for failing to adhere to the scientific methodology of her field, the Court is equally

concerned, and for the same reason, with the questionable conclusions of two of

the defense psychologists from 1996. Both of these psychologists opined that the

tests of Hardy’s IQ underestimated his cognitive abilities, which they claimed to be

in the normal range—despite his scores to the contrary.

      The first, Dr. Tetlow, administered the WAIS-R test to Hardy and scored his

Full Scale IQ as 73, which could have led to a diagnosis of mild mental
retardation.124 Nonetheless, Dr. Tetlow did not diagnose Hardy as mentally

retarded because he was of the opinion that, based on Hardy’s

      educational and socioeconomic background, I estimate that his actual
      functioning and cognitive functioning is not an adult in the low
      average but actually about 10 points higher, so he would just be an
      adult normal.125

At the same time Dr. Tetlow testified to this, he stated that Hardy “does give the

impression of being more intelligent than he really is.”126 He also noted that
Hardy’s lowest score was in “comprehension,” which is the “measure of how much

      124
           Govt. Exh. 1, att. 2.5 at 1; Deft. Exh. 33-EE at 1.
      125
           Deft. Exh 35-VV at 181.
      126
           Id. at 181-182.
                                                                                     54
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one has picked up from one’s environment, the do’s and don’t’s and should and

shouldn’t from the environment.”127 There Hardy “scored a three, which is very,
very low, which a very small percentage of people score any lower than that.”128
Yet Dr. Tetlow ignored the results of his scientifically based testing and surmised
that Hardy’s IQ was in fact significantly higher.

       The second defense psychologist, Dr. Cunningham, accepted Dr. Tetlow’s
findings as to Hardy’s IQ score and also thought it underestimated Hardy’s

cognitive abilities. He testified that Hardy’s scores “are probably about 15 points

lower than his true intellectual horsepower,”129 and he therefore did not diagnose

Hardy with mental retardation. Instead, Dr. Cunningham diagnosed him with

“post-traumatic personality disorder” on Axis II of the DSM-IV (Personality
Disorder Not Otherwise Specified, #301.9). When asked in 1996 to explain why,
he testified:

       There is some research, Matarozo is one of the guys that has written in
       this area, that indicates that when you give standardized intelligence
       tests like this, that blacks score about 15 points lower nationally than
       you would statistically expect, so for — you know, this number is
       only relevant as you compare it to other people, and so when you
       compare this number to a black population, it really is more like —

       127
         Deft. Exh. 35-VV at 182. This is the kind of intelligence focused on by
the AAMR in its definition of mental retardation. See, e.g., AAMR 10TH EDITION at
40 (“As reflected in this definition, intelligence is not merely book learning, a
narrow academic skill, or test-taking smarts. Rather, it reflects a broader and
deeper capacity for comprehending our surroundings — catching on, making sense
of things, or figuring out what to do.”).
       128
         Deft. Exh. 35-VV at 182.
       129
         Id. at 66.
                                                                                     55
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      when you’re looking at the distribution, it’s more like an I.Q. of 90, so
      . . . .130

Dr. Cunningham further suggested that language problems and “cultural

components . . . suppress performance on these tests.”131

      In his 2009 expert report and testimony at the Atkins hearing, Dr.

Cunningham repudiated his earlier conclusion that Hardy’s IQ test results in 1996

underestimated his cognitive skills. He did, however, maintain that his earlier

testimony was consistent with research data available in 1996, which suggested
socio-economic factors were at play and so Hardy’s score should be compared to

others of his race, rather than the population in general.132 In his own words, he

“was making a race based adjustment . . . as compared to other black Americans,”

which led him to testify that Hardy has “an IQ of 88 rather than 73.”133 Like Dr.
Tetlow, Dr. Cunningham ignored the actual, scientific test results used to diagnose

mental retardation in his field to come to this conclusion.

      At the Atkins hearing, Dr. Cunningham stated he no longer believed that

race-specific scoring was appropriate, explaining:

      It is now my view that whatever the etiologies of an observed IQ score
      (e.g. genetic, neurological insult, deprivation), this score is most
      meaningfully understood in comparison to all Americans rather than


      130
        Id. at 66-67; see also Rec. Doc. 2123 at 198-199.
      131
        Rec. Doc. 18-6 at 67.
      132
        Deft. Exh. 19 at 1–2.
      133
        Rec. Doc. 2123 at 198.
                                                                                     56
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      in comparison to a specific racial or ethnic group.134

In recognizing the validity of the use of national norms at the Atkins hearing, Dr.

Cunningham admitted his 1996 IQ enhancement was “an attempt to be more

culturally sensitive,” that it was not a “sound diagnostic procedure” and it was

“regretful.”135 It is true that Dr. Cunningham did not administer an IQ test to
Hardy in 1996, and was not engaged to provide an IQ assessment.136 That does not

excuse his use of unsound diagnostic procedures to the extent he ventured an
opinion on IQ.

      In addition to Dr. Cunningham’s disregard of the actual test results back in

1996, the Court is also disturbed by the complete reversal of Dr. Cunningham’s
position now. The Court must question whether it is a reversal of convenience

simply to accommodate a finding of mental retardation. Furthermore, even in 1996

(prior to Atkins), a federal statute prohibited the execution of the mentally retarded,

and so the possibility of mental retardation should have been explored. It was Dr.

Cunningham’s—and defense counsel’s—duty to consider this issue, which they

apparently neglected to do.137

      134
         Id.
      135
         Rec. Doc. 2123 at 199 (emphasis added).
      136
         Deft. Exh. 18-6 at 16-18, 27-64, 71-72.
      137
        The Court is mindful of the Supreme Court’s caveat that “reliance on
mental retardation as a mitigating factor can be a two-edged sword that may
enhance the likelihood that the aggravating factor of future dangerousness will be
found by the jury.” Atkins, 536 U.S. at 321. While defense counsel was entitled to
make a strategic choice whether to raise mental retardation based on all the facts,
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      Nevertheless, all the experts in this case now agree that it was error to

provide a race-based enhancement to Hardy’s IQ score in 1996. Dr. Hayes agrees
that Hardy’s scores should not be compared only to African-Americans but to all

Americans.138 She pointed out that the publishers of the WAIS-R tried to make the

normative sample as demographically similar to the American population as
possible, so that comparing any individual’s score to it would be appropriate.139

Dr. Hayes also opined that Hardy’s IQ score of 73 in 1996 should have triggered a
further inquiry into mental retardation,140 a view currently shared by Drs. Swanson
and Cunningham. Indeed, even in 1996, Dr. Cunningham concluded that Hardy

has “impaired intellectual development.”141

      For these reasons, the Court concludes that Dr. Cunningham’s reversal of

opinion on this one issue is an honest one and not result-driven. Indeed, it took
some degree of professional courage for him to re-appear in this case and admit his

own mistake, one apparently shared by at least some others at that time. The Court


Dr. Cunningham was, as a professional psychologist, obliged to provide an
objective appraisal of Hardy’s level of intellectual functioning.
      138
        Govt. Exh. 1 at 39–40.
      139
         Id. at 39-40; see also Andres Barona, Cecil R. Reynolds & Robert
Chastain, A Demographically Based Index of Premorbid Intelligence for the WAIS-
R, 52 J. CONSULTING & CLINICAL PSYCHOL. at 885 (1984) [hereinafter Barona
Study] (S-13) (noting that the new standardization sample for the WAIS-R was
selected “to reflect more precisely the population of the United States and thus
increase the accuracy and generalizability of the test.”).
      140
        Rec. Doc. 2129 at 1192.
      141
        Id. at 64, 66.
                                                                                    58
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also appreciates Dr. Cunningham’s contrition, which it will take into account going

forward.

      To recapitulate, all the experts in this case agree that Hardy’s IQ of 73 puts

him in the range where a diagnosis of mild mental retardation must be considered.
Moreover, as detailed in Appendix C, the actual findings made by Dr. Cunningham

in his earlier assessment of Hardy, including a possible diagnosis of attention

deficit disorder142 and mild brain injury from multiple head traumas during the

developmental years143 (facts confirmed by Dr. Bianchini144), along with the
diagnosis of an unspecified Personality Disorder,145 share characteristics in

common with mild mental retardation. Furthermore, the results of the Rorschach

test administered by Dr. Tetlow uncovered a similar pattern,146 as further discussed
in Appendix C.

      In effect, the various defense experts in 1996 circled around a diagnosis of
mild mental retardation, but because both Dr. Tetlow and Dr. Cunningham

believed the IQ scores were an underestimate of Hardy’s intellectual functioning,


      142
           Deft. Exh. 18-6 at 19-20; DSM-IV at 83-85.
      143
         Deft. Exh. 18-6 at 21. Dr. Cunningham recited six separate incidents
reported by Hardy or family members where Hardy was struck in the head prior to
the age of 18, including at least one with a loss of consciousness, which could be
significant if the head injuries caused Hardy’s mental retardation, as they were
sustained prior to age 18.
      144
           Deft. Exh. 18-4 at 221–22, 227–29, 243–44, 249; Deft. Exh. 18-5 at 12.
      145
           Deft. Exh. 35-CCC at 3.
      146
           Govt. Exh. 1, att. 2.5 at 25, 27–29; see also Appendix A.
                                                                                       59
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neither one drilled down into that possibility. The Court finds that,

notwithstanding the differences between the testimony at the 1996 hearing and this
one, Hardy has established by a preponderance of the evidence that his intellectual

functioning is approximately two standard deviations below the mean. He

therefore possesses significantly subaverage intellectual functioning as that term is
used to diagnose mental retardation. The Court now turns to the other criteria

relevant to this diagnosis.

        b.    Factor Two: Significant Limitations in Adaptive
              Functioning

        Hardy has established that he has significantly subaverage intellectual

functioning, which is the first prong of the mental retardation test. The Court must
now consider whether he exhibits

        [c]oncurrent deficits or impairments in present adaptive functioning
        (i.e., the person’s effectiveness in meeting the standards expected for
        his or her age by his or her cultural group) in at least two of the
        following areas: communication, self-care, home living,
        social/interpersonal skills, use of community resources, self-direction,
        functional academic skills, work, leisure, health, and safety.

DSM-IV-TR at 49. Or, in the words of the AAMR, whether he has “significant
limitations . . . in adaptive behavior as expressed in conceptual, social, and

practical adaptive skills.” AAMR 10TH EDITION at 8; see also AAIDD 11TH EDITION

at 6.

        Those two standards define what is referred to as the “adaptive behavior”
prong of the diagnosis of mental retardation developed by APA and


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AAMR/AAIDD. It concerns “‘how effectively individuals cope with common life

demands and how well they meet the standards of personal independence expected
of someone in their particular age group, sociocultural background, and community

setting.’” Wiley, 2010 WL 4227405, at *15 (quoting DSM-IV-TR at 42).

      1.     The Definition and Assessment of Adaptive Functioning/Behavior

      The definition of this prong is less settled than that for intellectual

functioning. For IQ, the APA and AAMR/AAIDD are in substantial agreement on
the standard to be used: a score of 75 or below on one of the generally accepted
tests of intelligence. For adaptive behavior, the current version of the APA’s

guidance requires concurrent deficits in at least two of eleven relatively specific

areas of adaptive functioning. See DSM-IV-TR at 49. The AAMR/AAIDD takes a

more holistic approach and treats adaptive behavior as a global characteristic that

finds expression in three relatively abstract areas of functioning—conceptual,

social, and practical—and requires deficits in just one of these three general

domains. See AAMR 10TH EDITION at 13; AAIDD 11TH EDITION at 6. That is, “the

three broad domains of adaptive behavior in [the AAMR’s] definition represent a

shift from the requirement . . . that a person have limitations in at least 2 of the 10

specific skill areas listed in [the AAMR’s] 1992 definition,” which was the model

for the approach still used by the APA. AAMR 10TH EDITION at 73; Deft. Exh. 1 at
2; Govt. Exh. 1 at 60–61. The AAIDD moved away from that model because
“[t]he three broader domains of conceptual, social, and practical skills . . . are more

consistent with the structure of existing measures and with the body of research on

                                                                                      61
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adaptive behavior.” AAMR 10TH EDITION at 73, 78.

      While these differences in definition deserve note, they are ultimately of no

consequence to the Court’s task. Just as in Wiley, where the Fifth Circuit noted

that the AAMR’s definition has diverged from that of the APA, 2010 WL

4227405, at *15 n.13, the Court need not decide which is preferable or correct,
because the differences between them are mostly theoretical. Both the APA and

the AAMR direct clinicians to the same standardized measures of adaptive
behavior, such as the Vineland Adaptive Behavior Scales–II (VABS-II) and the

AAMR’s Adaptive Behavior Scale (ABS).147 See DSM-IV-TR at 42; AAMR 10TH

EDITION at 76–78. Still, as evidenced by the DSM-IV-TR’s referral of clinicians to

the AAMR’s instruments, see DSM-IV-TR at 42, the AAMR/AAIDD has taken the

lead in developing the guidelines for interpreting the results of those tests. So the
Court finds it appropriate to rely on the AAMR/AAIDD’s procedures for

evaluating a subject’s level of adaptive functioning.148

      The AAMR uses the following criteria for determining whether someone has

significant limitations in adaptive functioning:



      147
        Referred to as the AAMR ABS, as it was published before the change in
name, and now in a second edition, the ABS-II.
      148
          This does not mean that the APA’s approach deserves less weight, but
only that the AAMMR/AAIDD’s is better developed. The APA devotes only two
paragraphs to adaptive behavior in its standard reference work and refers the reader
elsewhere for information concerning the relevant tests; the AAMR, on the other
hand, devotes chapters to the concept and has played a key role in developing the
assessment instruments used.
                                                                                    62
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      [P]erformance [must be] at least two standard deviations below the
      mean of either (a) one of the following three types of adaptive
      behavior: conceptual, social, or practical, or (b) an overall score on a
      standardized measure of conceptual, social, and practical skills.

AAMR 10TH EDITION at 14. The AAMR repeatedly emphasizes that a diagnosis of

significant limitations should be made whenever a person has performance at least

two standard deviations below the mean in any of the three domains (or in the total

score). See id. at 74, 76, 78.

      A person is assessed to determine whether he meets the AAMR’s

operational definition by using one or more of five standardized tests: the VABS-II
and ABS-II mentioned above, as well as the Scales of Independent
Behavior–Revised (SIB-R), the Comprehensive Test of Adaptive

Behavior–Revised (CTB-R), and the Adaptive Behavior Assessment System
(ABAS). AAMR 10TH EDITION at 77, 87–90. As with the tests of IQ, the scores on

these tests for each domain, as well as the overall score, must be evaluated in light

of the standard errors of measurement for the test. Id. at 79; USER’S MANUAL at

12-13. “If a person has a score that does not meet the cutoff but is within one

standard deviation of the cut-score, it is advised that the score be reevaluated for
reliability or the individual should be reassessed with another measure.” AAMR

10TH EDITION at 79.

      None of the generally accepted scales of adaptive behavior rely on direct

observation or self report of typical behaviors by the individual being evaluated.

Id. at 85. Instead, they direct clinicians to gather information about the person’s

                                                                                       63
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level of adaptive functioning from third parties. In selecting the informant, it is

“essential that people interviewed about someone’s adaptive behavior be well-
acquainted with the typical behavior of the person over an extended period of time,

preferably in multiple settings.” Id. “Observations made outside of the context of

community environments typical of the individual’s age peers and culture warrant

severely reduced weight.” Id. The informants should also be asked to provide

information about the person’s day-to-day level of functioning, as well as data on

the amount of support the person needs in order to carry out any of the relevant

functions. Id. at 74–75; AAIDD 11TH EDITION at 45, 47; Deft. Exh. 1 at 7.

      2.     Retrospective Diagnosis

      Unlike in a medical, educational, or social services context, the law is

concerned with what was rather than what is. The point of an Atkins hearing is to

determine whether a person was mentally retarded at the time of the crime and
therefore ineligible for the death penalty, not whether a person is currently

mentally retarded and therefore in need of special services. Because of this, the

diagnosis of mental retardation in the Atkins context will always be complicated by

the problems associated with retrospective diagnosis.

      These problems are only compounded by the fact that both the APA and

AAMR define mental retardation as a developmental disability and limit the

diagnosis to those persons who exhibited the required characteristics prior to age

18. As those under the age of 18 are already constitutionally ineligible for the

death penalty, Roper v. Simmons, 543 U.S. 551 (2005), no clinician evaluating a

                                                                                      64
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person for purposes of an Atkins hearing will ever be evaluating the person prior to

age 18. Mental retardation in the Atkins context must therefore be diagnosed, if it

is to be diagnosed at all, retrospectively in every sense of the word.

      So, while the APA speaks of “concurrent deficits or limitations in present
adaptive functioning,”149 and while some courts appear to have interpreted this
language as directing consideration of how a person functions today rather than
how he did at the time of the crime,150 it is clear that the assessment of mental

retardation for purposes of Atkins looks backwards—past even the time of the

crime and back into the developmental period.151 Certainly a person’s level of
adaptive functioning in the present might provide some information about his

abilities during the developmental period as, all things being equal, a person
without limitations in the present is less likely to have had limitations before, and a
person with limitations today is more likely to have had them during the



      149
            DSM-IV-TR at 49.
      150
         United States v. Shields, No. 04-20254, at slip op. 3 (W.D. Tenn. 2009).
      151
         The concurrence of deficits in intellectual functioning and adaptive
behavior referred to in the DSM-IV-TR is best understood as meaning that, during
the developmental period, a person must exhibit deficits in both categories at the
same time. Understood that way, the language excludes from the diagnosis those
who, despite a low IQ, did not develop deficits in adaptive functioning until later
(or vice versa, for example if an injury causes a low IQ after the developmental
period). Even if a person’s level of adaptive functioning outside of the
developmental period were relevant, it is clear from Atkins that it would be the
level of adaptive functioning at the time of the crime, not the time of hearing, that
is relevant. See Atkins, 536 U.S. at 315–21; see also Pizzuto v. State, 202 P.3d 642,
648 (Idaho 2008) (“[Atkins prohibited] the imposition of a death sentence upon
offenders who are mentally retarded at the time of their crime.”).
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developmental period. But particularly with the mildly mentally retarded, who

tellingly used to be labeled the “educable,” DSM-IV-TR at 43, the AAMR/AAIDD
has been clear that a person’s current strengths and weaknesses are not the best

evidence of the relevant facts in an Atkins hearing. See, e.g., AAIDD 11TH EDITION

at 95–96 (relegating contemporary assessment to a possible additional tool); id. at

46 (noting retrospective diagnosis requires evaluation of subject’s “previous
functioning”).

      With IQ, which is a relatively stable, immutable trait,152 the problems

associated with retrospective diagnosis mostly disappear. A person’s IQ tested

after the developmental period is, absent intervening trauma or injury, likely to be
quite close to the IQ that would have been obtained had the person been tested
prior to age 18.153 The closest that retrospectivity comes to influencing the IQ

prong of the test is the Flynn Effect. But that phenomenon is an artifact of the

instruments used to assess intelligence, not a consequence of retrospective
diagnosis per se.154 Evaluating someone’s adaptive behavior, on the other hand, is
less stable even in theory, and difficult to assess in practice, and all the more so

when done retrospectively.


      152
         E.g., AAMR 10TH EDITION at 51–59.
      153
         See Macvaugh & Cunningham Study, supra n. 30, at 156 (citing
Everington & Olley, supra n. 23). This is not to say that assessments of IQ, such
as performance on an IQ test, may not vary. See id.
      154
         With the Flynn Effect, the comparison group is improving over time.
With adaptive behavior, there is the possibility that the test subject has improved
over time.
                                                                                       66
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      The committee of the APA responsible for mental retardation, Division 33,

as well as the AAMR/AAIDD have developed guidelines to help clinicians
navigate the difficulties associated with retrospective diagnosis. The guidelines in

the AAIDD’s USER’S GUIDE are the most detailed. Relevant to adaptive behavior,

they direct clinicians to:

      (1) Conduct a thorough social history;

      (2) Conduct a thorough review of school records;

      ....

      (6) Recognize that self-ratings have a high risk of error with regard to
      adaptive behavior;

      (7) Conduct a longitudinal evaluation of adaptive behavior; and

      (8) Not use past criminal or verbal behavior in assessing adaptive behavior.

USER’S GUIDE at 18-22; Deft. Exh. 7. The third recommendation states in full that

the assessment of adaptive behavior should:

      (a) use multiple informants and multiple contexts; (b) recognize that
      limitations in present functioning must be considered within the
      context of community environments typical of the individual’s peers
      and culture; (c) be aware that many important social behaviors, such
      as gullibility and naivete, are not measured on current adaptive
      behavior scales; (d) use an adaptive behavior scale that assesses
      behaviors that are currently viewed as developmentally and socially
      relevant; (e) understand that adaptive behavior and problem behavior
      are independent constructs and not opposite poles of a continuum; (f)
      realize that adaptive behavior refers to typical and actual functioning
      and not to capacity or maximum functioning.

USER’S GUIDE at 20.

                                                                                   67
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      Dr. Swanson opined that the literature also recommends having the

informants focus on adaptive behavior closest to the developmental period that the
informant is confident about discussing.155 When the informant has a clear
memory of that period, whatever age it is, the examiner should log that age as the
date of the defendant’s functioning for purposes of scoring and comparison with

age-normed tables.156 Dr. Hayes cited this portion of Dr. Swanson’s report and

noted her agreement.157

      3.          Hardy’s Level of Adaptive Functioning

      Turning to the experts’ evaluations of Hardy’s level of adaptive functioning,
the Court was struck at how different the assessments were, as compared to the

intellectual functioning prong. The Court’s earlier task was, at bottom, a question
of whether Hardy achieved a particular score on one of the standard measures of

intelligence. Moreover, the examples of acceptable IQ tests given by the
AAMR/AAIDD and APA, and tests actually administered to Hardy, are themselves
objective. Their questions have right or wrong answers, their task-based

challenges can either be completed or not within specified periods of time, et
cetera. The APA and AAMR/AAIDD elected to make the first prong of their

definitions of mental retardation an essentially objective exercise in comparing two

numbers—a score and a cutoff—and replaced individual clinicians’ judgment with

      155
            Deft. Exh. 1 at 6 (citing Olley & Cox Study, supra n. 4 at 389–390).
      156
            Id.
      157
            Govt. Exh. 1 at 61–62.
                                                                                     68
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the consensus judgment of the profession.158

      The evaluation of a person’s adaptive functioning involves significantly

more subjective clinical judgment. That judgment is still constrained to some

extent by the criteria spelled out by the APA and AAMR/AAIDD, as well as the
use of standardized tests. Yet the selection of the tests used to assess adaptive

behavior, the persons selected as informants, the conduct of the interviews, and the

ultimate interpretation of the tests’ results are a good deal more dependent on
subjective clinical judgment than the assessment of IQ. The AAMR/AAIDD
implicitly acknowledges this subjectivity in the very structure of its reference

work. In addition to the chapter devoted entirely to the topic of clinical judgment,
the chapter on adaptive behavior has a lengthy section on the role and importance

of it in assessment, AAMR 10TH EDITION at 85–87, one noticeably lacking from the

chapter on intelligence. See also Wiley, 2010 WL 4227405, at *16 (“The

assessment of adaptive functioning deficits is no easy task. Because its
conceptualization ‘has proven elusive,’ adaptive functioning ‘historically has been

assessed on the inherently subjective bases of interviews, observations, and
professional judgment.’” (internal quotation marks omitted)).

      This greater degree of subjectivity has two consequences. First, as the

      158
          The only serious disputes on the first prong are over whether the standard
error of measurement and the Flynn effect should be taken into account when
determining the score. While those two issues are arguably subject to clinical
judgment, the first prong of the test remains largely objective. They affect only the
value at which the score is set. Put another way, the decision whether to apply the
Flynn effect or to adjust for the standard error of measurement may be subjective,
but the effect of applying them is not.
                                                                                    69
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degree to which a matter is left to an individual clinician’s judgment increases, so

does the degree to which the Court must rely on its assessment of the relative
competence and credibility of the individual experts before it to resolve disputes

between them.

      Second, as the need for clinical judgment increases, so does the opportunity

for disputes between clinicians. This case is a perfect example. On the objective

prong of the test—significant limitations in intellectual functioning—it is worth
repeating that the government and defense experts, despite the reams of paper that
seemed to separate them, were not all that far apart. The government’s expert, Dr.

Hayes, agreed that Hardy’s IQ score of 73 was within the zone of possible mild
mental retardation and should have provoked further inquiry.159 It was only her

skepticism about the reliability of the 1996 test results that caused her to conclude

that Hardy had not established to her satisfaction that he has a sufficiently low IQ
to be diagnosed as mentally retarded.160

      On the other hand, with regard to adaptive behavior, the defense and
government experts are diametrically opposed. Dr. Swanson found that Hardy’s

level of adaptive functioning during the developmental period fell at least two

standard deviations below the mean in seven of the DSM-IV-TR’s eleven sub-

domains of adaptive functioning (only two are required for a diagnosis of mental
retardation). Dr. Hayes found no deficiencies at all, in any of the sub-domains,

      159
        Rec. Doc. 2129 at 1192.
      160
        Govt. Exh. 1 at 43–44.
                                                                                     70
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based on her analysis.

      This dramatic discrepancy may reflect the difficulty of diagnosing mild

mental retardation in persons with higher IQs, as pointed out in the IQ section of

this opinion, or the looseness and subjectivity of the adaptive behavior prong as
compared to the relative preciseness of an IQ score range. A layperson, for

example, might not even notice the deficiencies of a mildly mentally retarded

person, unless required to work with that person on a close basis.161 Many, if not

most, mildly retarded people fit into their communities fairly well.162 Finally, the
differing assessment of the experts in this case regarding adaptive behavior may

also result from their varying experience and competence. The Court concludes
that all three factors were at play, as will be seen below.

      The experts in this case each prepared a report on Hardy’s level of adaptive
functioning. The first, by Dr. Swanson, was prepared based on her review of
Hardy’s academic, medical, psychiatric, work, and prison records, along with

interviews of: (1) Toni Van Buren, the mother of three of Hardy’s children; (2)

Theresa Minor, the first cousin of Hardy’s mother and the mother of Tony Minor;

(3) Tony Minor, one of Hardy’s close childhood friends; (4) Vance Ceaser, another
of Hardy’s childhood friends; and (5) Greg Williams, one of Hardy’s friends from

young adulthood. Dr. Swanson also interviewed Hardy on several occasions from
April through November of 2008, when she performed academic assessments and

      161
         Rec. Doc. 2125 at 614.
      162
         Id. at 615.
                                                                                       71
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adaptive and academic probes in addition to her diagnostic interview.

      The second report, by Dr. Hayes, was prepared based on a similar data set.

In addition to the people interviewed by Dr. Swanson (excepting Tony Minor), Dr.

Hayes also interviewed: (1) Lieutenant Shannon Desroche, Corporal Ryan Laylle,
and Deputy Gary Adams, law enforcement officers familiar with Hardy from his

incarceration at the St. Bernard Parish Jail; (2) Terry Hardy, Hardy’s brother; (3)

Faith Price, the mother of one of Hardy’s sons; (4) Javetta Cooper, the mother of
one of Hardy’s daughters; (5) Sammie Williams, who met Hardy a few times
through Len Davis, Williams’ former partner at the New Orleans Police

Department; and (6) various New Orleans Parish School Board employees.

      Both Dr. Swanson and Dr. Hayes noted that their evaluations had to be made
retrospectively. In a part of Dr. Swanson’s report with which Dr. Hayes was in

agreement,163 she provided an overview of the problems associated with

retrospective diagnosis and the ways that clinicians grapple with them. “To

overcome this obstacle, experts in the field of mental retardation recommend that
the examiner seek adaptive behavior information from several sources and to look

for the convergence of findings.”164 Those sources typically include school,
medical, psychiatric, work, military, Social Security, and prison records, as well as

interviews with “[i]ndividuals who have had the opportunity to observe the
offender as he interacted in his home, neighborhood, and community during the

      163
        Govt. Exh. 1 at 60–61.
      164
        Deft. Exh. 1 at 6.
                                                                                      72
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developmental period (i.e., prior to or as near the age of 18 as possible).”165

      In another section of Dr. Swanson’s report with which Dr. Hayes agreed,166

she reviewed several of the tests used to search for convergence in these sources of

data, namely the VABS-II, the SIB-R, and the second edition of the Adaptive
Behavior Assessment System (ABAS-II). These instruments, which Dr. Swanson

wrote are the “three preferred standardized instruments currently used in assessing

adaptive behavior[,] with the VABS-II and ABAS-II being the ‘gold standard’ in
these types of assessments,” provide the structure for a clinician’s evaluation of a
person’s level of adaptive functioning.167 They also provide a method of
standardizing the evaluation of a person’s level of adaptive functioning relative to

the general population, and that allows clinicians to apply the recommendation of
the AAMR/AAIDD that a finding of significant limitations in a person’s adaptive
behavior should be made only when the level of adaptation falls below

approximately two standard deviations from the mean level of adaptive functioning
in the population.168

      An evaluation using the VABS-II, which is the instrument both Dr. Swanson

and Dr. Hayes elected to use, provides standardized scores in four areas or domains
of adaptive functioning—communication, daily living, socialization, and motor

      165
         Id.
      166
         Govt. Exh. 1 at 61.
      167
         Id. at 6–7.
      168
         Id. (citing Olley & Cox Study, supra n. 4 at 384-403).
                                                                                   73
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skills—as well as an overall standardized score, called the Adaptive Behavior

Composite (ABC).169 Dr. Swanson used Toni Van Buren as the informant for her
VABS-II assessment, while Dr. Hayes used Javetta Cooper. The Court will discuss
each expert’s assessment in turn.

      i.       Dr. Swanson’s Assessment

      As mentioned above, the relative experience and competence of the
competing experts is an important factor to consider in evaluating their opinions.

Dr. Swanson has essentially devoted her entire professional career to the

assessment and treatment of the mentally retarded. She testified that in her 35-

year career, she has conducted over 10,000 assessments using the VABS-II and its
forerunner.170 At APA and AAMR/AAIDD conferences, she seeks out the

programs on the VABS-II to attend. As newer versions of the test were

promulgated, she regularly participates in the workshops presented by the
publishers to explain any change in the procedures.171 Prior to her administration
of the VABS-II to Toni Van Buren, the most current manual was not yet published.

Nevertheless, Dr. Swanson attended an in-service program on the new manual, and
discussed it with one of the authors, prior to meeting with Toni Van Buren. Once

the expanded version came out, she compared her administration of the VABS-II



      169
           Id. at 6–7, 17–19.
      170
           Rec. Doc. 2125 at 587, 724.
      171
           Id. at 724.
                                                                                     74
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to Toni Van Buren and was satisfied it was in compliance.172

      Dr. Swanson also elaborated on what the clinician should be looking for in

assessing an individual in their community. As a person grew up, when did the

person learn a certain skill, what did it take to teach him that skill, how many
supports were necessary, did others step in to do the task for him, and finally, even

within that community, did people recognize he was slower than others?173

      A.     Dr. Swanson’s VABS-II Assessment Based on Toni Van Buren

      Dr. Swanson used the results of a semi-structured interview with Toni Van
Buren to complete a VABS-II assessment of Hardy’s level of adaptive functioning.

As is recommended, her interview of Van Buren was limited to Van Buren’s
recollection of Hardy’s “habitual or typical performance” in “day-to-day activities”
during only the developmental period, i.e., prior to age 18.174 Based on that
interview, Dr. Swanson calculated Hardy’s VABS-II scores for his level of

adaptive functioning at age 18 as follows:

                          Standardized Score      %tile Rank          Level
   Communication                  66                  1%tile          MILD
   Daily Living                   68                  2%tile          MILD
   Socialization                  67                  1%tile          MILD
   *Motor Skills                 100                 50%tile          ADEQUATE


      172
         Id. at 721-24.
      173
         Id. at 623, 644, 660, 676.
      174
         Id. at 6–7, 17–18.
                                                                                   75
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   ABC                          65                 1%tile          MILD
* Motor skill scores are not included in Hardy’s ABC score because of his age.

      On the various sub-domains of those four main domains, Dr. Swanson

reported that Hardy scored:

   Domains/              Standardized      Standard         Age-Equivalent
   Subdomains            Score             Deviation <      Score
                                           Mean
   Communication               66              -2.27
       Receptive                9              -2.00                6:6
       Language
       Expressive               9              -2.00                6:7
       Language
   Written Language             8              -2.33                8:1
   Daily Living                68              -2.13
        Personal                9              -2.00                 8:6
        Domestic                9              -2.00                10:0
      Community                10              -1.67                11:9
   Socialization               67              -2.20
      Interpersonal             9              -2.00                6:7
        Relations
     Play & Leisure             9              -2.00                7:7
          Time
      Coping Skills             9              -2.00                7:1
   Motor Skills                100            at Mean
   Gross Motor Skills          16              +0.33                22+
   Fine Motor Skills           14              -.033                6:6
   ABC                         65              -2.33


      Based on these scores, Dr. Swanson concluded that, during the

                                                                                 76
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developmental period, Hardy’s level of adaptive functioning fell at least two

standard deviations below the mean in seven of the eleven sub-domains of adaptive
functioning listed in the DSM-IV-TR definition of mental retardation.175 That is,
Hardy exhibited significant limitations in communication, functional academic
skills, self-care, home living, social/interpersonal skills, leisure, and self-

direction.176 As noted in Part 1, a DSM-IV-TR diagnosis of mental retardation

requires significant limitations in only two of the eleven areas.

      Moreover, Hardy’s scores on three of the four major domains of adaptive
functioning fell at least two standard deviations below the mean, and did so in the

three domains that correspond to the areas of adaptive functioning listed by the
AAMR/AAIDD in its definition of mental retardation.177 His composite or overall

score, the ABC score, was also at least two standard deviations below the mean

level of adaptive functioning in the population. Based on these results, Dr.
Swanson concluded that Hardy exhibited significant limitations in his level of
adaptive functioning during the developmental period.178

      Dr. Swanson’s report did not, however, rely solely on Hardy’s scores on the

VABS-II to reach the conclusion that he satisfies the second criterion for a

      175
          Although Hardy scored -2.00 standard deviations or below on eight of the
subdomains of the VABS-II, the first two communication subdomains correspond
to a single DSM-IV-TR area of adaptive functioning.
      176
            Id. at 19.
      177
         See supra pp. 61-62.
      178
         Deft. Exh. 1 at 18–19.
                                                                                     77
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diagnosis of mental retardation. Dr. Swanson also discussed at length Van Buren’s

specific responses to the VABS-II questions. For example, Van Buren reported
that, when Hardy was 17.5 years old, he could not listen to a 30-minute story or a

15- to 30-minute informational talk because of his poor attention span.179 While

Hardy could carry on a conversation, he had difficulty giving directions to others,
such as directions to a street address. While his money and math skills were better

than his reading skills, he still relied on Van Buren to make all of his personal

purchases. She also had to manage his medications as well as his choices of
clothing. Van Buren reported that Hardy lacked basic domestic skills, so she had
to assume a number of those responsibilities for him. Thus, while Hardy had

strengths, such as a basic ability to interact with others, the portrait painted by Van
Buren was of a person with significant limitations.

      B.      Dr. Hayes’ Interview with Toni Van Buren180

      Dr. Hayes also interviewed Toni Van Buren. The interview lasted for two
hours and 45 minutes and was videotaped.181 This was particularly helpful to the

      179
        The following is a summary of the material appearing in Dr. Swanson’s
report. Deft. Exh. 1 at 19-21.
      180
         Dr. Hayes’ actual conclusions about Hardy’s adaptive behavior will be
discussed later in this opinion. Her videotaped interviews are being included here
because they allowed the Court to directly evaluate the credibility of the persons
being interviewed. Both the videotaped interviews and transcripts thereof are
included as exhibits; the Court’s references to the substance therein is to the
transcripts. See Govt. Exh. 1, atts. A-E, CDs 2-5; Deft. Exhs. 8-11; 13-16.
      181
        The government did not request that Dr. Swanson’s interviews be
videotaped prior to their completion, while the defense did timely request
videotaping of Dr. Hayes’ interviews. The Court notes the usefulness of
                                                                                     78
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Court because it allowed the Court to directly observe Van Buren, hear her

narrative directly and make an independent assessment of her credibility, rather
than having it filtered through Dr. Swanson’s evaluation. It also provided

additional substantive information.

      Hardy was Van Buren’s first boyfriend,182 and while she had a long term

relationship with him, and they had three children together, Van Buren is still
apparently bitter about his rampant infidelity. In the 16 years since his

incarceration, she has had only minimal conversation with him when he calls to

speak to his children.183 This largely offsets any favoritism towards him she might
have otherwise been suspected of having. Nevertheless, she clearly has love for

him as the father of their children184 and this potential bias has been considered by
this Court. All in all, the Court found Van Buren to be remarkably forthcoming

with Dr. Hayes185 and credible.186

videotaping, which allows the Court to make its own credibility determinations,
and recommends to future judges that interviews such as these on both sides be
required to be videotaped.
      182
            Govt. Exh. 1, att. A at 11.
      183
            Id. at 25.
      184
            Id. at 17, 25.
      185
            For example, she candidly described Hardy as “very whore-ish.” Id. at
23.
      186
           Dr. Hayes included in her report a narrative of arrests of Toni Van Buren,
presumably to cast doubt on her credibility. Govt. Exh. 1 at 62. Van Buren
testified at the Atkins hearing to a criminal conviction for possession of heroin.
Rec. Doc. 2125 at 474. Regardless, the Court has viewed the lengthy interview
and found that Van Buren was candid with regard to Paul Hardy, any criminal
                                                                                    79
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      While Van Buren did not know Hardy well prior to the age of 18, she did

know him very well in the immediate years that followed. They dated for three
years prior to the birth of their first child, Paula,187 in 1989, and lived together
through the birth of two more children over the next five years until his arrest.188

       She described how, from when she first met him, Hardy had a difficult time
getting his point across and how he would get frustrated when people did not

understand him.189 Even now, when she tries to talk to him, “he just really just
don’t understand” and the more she explains, the more he does not understand, and

“then he gets frustrated and then he get me frustrated.”190 She pointed out in
particular that Hardy’s interpretation of Bible passages, which he conveys to their

children, is contrary to what she believes the passages mean.191

      Van Buren related how in every facet of his life, Hardy relied on others to do
things for him. Hardy’s mother, Marie, did all the cooking, cleaning and washing
of clothes in the Hardy household as Paul was growing up.192 When she first




history notwithstanding. Her testimony at the Atkins hearing was likewise
consistent with her interview with Dr. Hayes.
      187
            Govt. Exh. 1, att. A at 13.
      188
            Id. at 4; see also Rec. Doc. 2125 at 454-55, 458-59, 462.
      189
            Govt. Exh. 1, att. A at 41, 78-79.
      190
            Id. at 62.
      191
            Id. at 79-80; Rec. Doc. 2125 at 468-69.
      192
         Govt. Exh. 1, att. A at 14.
                                                                                       80
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began dating Hardy, he “always had someone to drive him over.”193 Once they

were involved, Hardy would ask her to buy his clothes.194 She never knew him to
do any shopping by himself.195 He gave her money to buy things for their
children.196 He would join the children in parties, but did not do any of the

planning.197 He never went to the store for her, nor helped around the house with
cooking or washing clothes or dishes or mopping the floor.198 He could make a

sandwich or fix cereal, but nothing more elaborate.199 She recalled one time when
he attempted to change their daughter’s diaper, he spread newspaper over the floor,

“had wipes everywhere” and a shirt tied around his face, before he abandoned the
effort.200

       Hardy would give Van Buren the money to pay their bills. She never knew

him to make any payments himself.201 If something broke in the house, he would




       193
             Id. at 9.
       194
             Id. at 28, 41.
       195
             Id. at 72. Rec. Doc. 2125 at 462.
       196
             Govt. Exh. 1, att. A at 33.
       197
             Id. at 34, 89-90.
       198
             Id. at 28-29, 85.
       199
             Id. at 29, 63.
       200
             Id. at 30; Rec. Doc. 2125 at 467.
       201
             Govt. Exh. 1, att. A at 54.
                                                                                    81
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call someone to fix it, “[h]e is not a handy guy at all.”202 He had no concept of time

and as a result was chronically late.203 They sometimes took the bus together but
she did not recall him ever taking a bus on his own.204 When they were first dating,
he encouraged her to stay in school but he would not try to help her with any of her
studies, nor did she ask him to.205 He did not know how to use a thermometer.206

When they eventually decided to get an apartment of their own, Hardy asked his
sister, Linda, to find a place for them, which she did.207 After that, Hardy’s
brother, Terry, bought a house and Hardy and Van Buren stayed there.208

      Hardy learned to drive after he and Van Buren had dated awhile, and would

drive very very slowly at first and did not improve for a long time.209 He never

fixed his own car.210 He also would not drive anywhere he was not familiar with211




      202
            Id. at 63.
      203
            Id. at 55.
      204
         Id. at 72; Rec. Doc. 2125 at 457.
      205
         Id. at 75.
      206
            Id. at 83.
      207
            Id. at 16.
      208
            Id. at 18.
      209
         Id. at 35-36. Even though Van Buren was three and a half years younger
than Hardy, she learned to drive before he did. Rec. Doc. 2125 at 457.
      210
            Govt. Exh. 1, att. A at 35.
      211
            Id. at 42, 66.
                                                                                    82
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and if he traveled outside the state, someone else would always go with him.212 At

one point, he learned of a job with Meals on Wheels, delivering meals. Van Buren
went with him for the interview and filled out the paperwork for him.213 When he
got the job, she rode with him to tell him which streets to go to.214 In terms of

leisure activities, she described his only hobby as “females” and that he did not like
fishing, playing sports, reading the newspaper or magazines, nor games, nor did

they talk about current events.215

      Van Buren also described Hardy as too kindhearted, always trying to please

the next person, and that many people “used him, took a lot of his kindness and . . .
just walked over him.”216 When asked if Hardy’s brother, Wayne, was “slower”

than Paul, she said “Paul was slower because Wayne knew a lot of ways to

manipulate Paul. He knew what to say to Paul to get Paul moving and doing
whatever it was he wanted Paul to do.”217 She also described how a friend of
Hardy’s told him he could get a credit card to rent cars if he opened a bank

account, so he did. As she put it, “a lot of stuff Paul did, it was because people told



      212
            Id. at 43-44.
      213
          Id. at 38. She stated later that she had never seen him fill out an
application for anything. Id. at 39.
      214
            Id. at 37.
      215
            Id. at 26, 57, 70-71, 92.
      216
            Id. at 21.
      217
            Id. at 49-50.
                                                                                     83
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him to.”218 He sought advice from people he thought knew more than him.219

Hardy was generous with money, and “a lot of people clung to him a lot because
they could get him to give and to do whatever they asked him to do.”220 She felt he
was taken advantage of by people he considered to be friends and that he was too
trusting.221

       In retrospect, Van Buren thinks Hardy might have been slow. “[A] lot of

things . . . he just didn’t do on his own. Always had somebody to do things for
him . . . He just didn’t do . . . things on his own.”222

       C.        Dr. Swanson’s Other Interviews223

       This portrait was corroborated by others who knew Hardy at a much
younger age, such as Theresa Minor.224 She recalled that Hardy was slow

academically and a quiet child who had a speech impediment when he was

younger. Despite the fact that her son, Tony, and Hardy were about the same age,
she thought that Hardy performed at a much lower level. At ages four or five,
Hardy’s inability to express himself was so frustrating to him that he would give

       218
             Id. at 39.
       219
             Id. at 79.
       220
             Id. at 64-65.
       221
             Id. at 65.
       222
             Id. at 61.
       223
             Deft. Exh. 1 at 10–12.
       224
             See id. at 10.
                                                                                        84
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up or cry. She recalled that Hardy was often teased by other children for being the

slowest among them, and she thought that Hardy was the slowest of all his siblings.

      Tony Minor reported many of the same observations as his mother, based on

his longstanding friendship with Hardy during childhood.225 Hardy struggled in

school, to the point that reading was difficult for him well into middle school, and
he functioned at a much lower level than his siblings, relying on them to cover for

his deficits. Vance Ceaser, another childhood friend of Hardy’s, corroborated the

reports from the Minors.226 For example, when Hardy and Ceaser were in high
school, Ceaser attempted to tutor Hardy to help him pass. He reported that it was

impossible to do so. That was hardly the first of Hardy’s academic troubles
however. Ceaser recalled that, when they were in the 9th grade together, Hardy’s
reading, writing, and math skills were at an elementary school level.

      Greg Williams, who met Hardy when he was about 20 years old, provided
additional support for Dr. Swanson’s conclusion that Hardy did not develop the

usual adaptive behaviors.227 For example, Hardy relied on Williams to drive him

when he needed to leave town. Williams noted that Hardy relied on him during

these trips, and at other times, for basic skills such as interpreting his bank and

credit card statements. Hardy was unable to care for possessions such as his car

and made irrational choices, like continuing to make expensive repairs to his car

      225
            See id. at 10–11.
      226
            See id. at 12.
      227
            See id. at 11–12.
                                                                                      85
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long after it was economically sensible to do so.

      The Court has had the benefit of reviewing videotaped interviews conducted

by Dr. Hayes with Toni Van Buren, Theresa Minor, Vance Ceaser, and Greg

Williams.228 The Court finds that, based on its review of these videotapes, each

informant is credible and the information they provided is consistent with that in
Dr. Swanson’s report. A full review of each tape appears in Appendix D, along

with the Court’s review of several other video and audiotapes submitted by the

government as evidence about Hardy’s level of adaptive functioning.

      D.       Dr. Swanson’s Interviews and Testing of Hardy

      In addition to the descriptive and narrative evidence discussed above, which
supports the conclusion Dr. Swanson reached after applying the VABS-II, she also

reviewed Hardy’s medical and school records. They were inconclusive on the
issues of mental retardation but tended to demonstrate that Hardy had limited
functional academic skills.229 So, Dr. Swanson conducted academic and adaptive
probes on Hardy.230 She discovered that his reading fluency, assessed at 88 easy
words (“sight” and “Dolch words”) per minute, and accuracy, determined to be

97%, were average for a third-grader, but significantly below that of an average

adult. His reading comprehension was only 50%. While his comprehension score



      228
        Govt. Exh. 1, atts. CDs 2-5; Deft. Exhs. 13-16.
      229
            Deft. Exh. 1 at 12–13.
      230
            Id. at 21–23.
                                                                                     86
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increased to 60% when Hardy was asked to read slightly more complicated

materials such as a newspaper, his fluency and accuracy scores declined.

      Hardy’s math skills were slightly better than his reading skills, but still

limited. His measurement and time-telling skills were limited in word problems,
although he was able to use a calendar better. He exhibited significant deficits in

domestic skills, such as reading oven and stove-top dials and using a washing

machine, dryer, measuring cups, and a thermometer. His money skills were basic.
For example, he could count money and make change with some effort, but he
could not budget or manage money.

      In a number of other areas, such as phone skills, health and safety matters,
transportation, the use of reference materials and the like, Hardy performed at only
a basic level, if that. He acknowledged that he has difficulty learning new tasks,

including vocational ones, which likely accounts for his being employed only once
(and briefly).231 The assessments of his level of academic attainment, discussed

above in the IQ section, put him between the 6th and 7th grade in reading skills, in
the 6th grade in math skills, and the 3rd grade in writing skills.

      Based on this substantial additional corroboration of Hardy’s scores on the

VABS-II found during her interviews, observations, and direct assessments of
Hardy, Dr. Swanson concluded that he should be diagnosed with mild mental



      231
        Id. at 14, 23. As it turns out, Hardy held two legitimate jobs, one with
Meals on Wheels for some months and then as a porter/bus boy at Ernst Café.
Govt. Exh. 1 at 157.
                                                                                       87
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retardation.

       ii.       Dr. Hayes’ Assessment

       Dr. Hayes has considerably less experience with the assessment of mental
retardation as compared to Dr. Swanson. In her entire career, she has done about

80 supervised and unsupervised assessments relating to mental retardation.232 Of

those, she has performed approximately 20 mental retardation assessments and
only ten VABS-II assessments since receiving her license in 1998233 as compared
to Dr. Swanson’s over 10,000. She also has had no training in administering the

VABS-II since receiving her license.234 Unlike Dr. Swanson, Dr. Hayes did not
attempt to obtain any formal training or advice from the authors of the latest

manual, which was used in connection with this case.235 She testified that she felt
it was unnecessary, given her experience in administering ten VABS-II in the

past.236

       A.        Dr. Hayes’ VABS-II Assessment of Hardy Based on
                 Javetta Cooper

       Dr. Hayes used the results of an interview with Javetta Cooper to complete a


       232
             Rec. Doc. 2126 at 955.
       233
             Rec. Doc. 2129 at 1208-09, 1223, 1226-27.
       234
             Id. at 1223.
       235
             Id. at 1224-1226.
       236
         Id. at 1225-26. Dr. Hayes also stated that she met one time with a group
of colleagues to informally talk over the changes, but does not recall who was
present. Id. at 1231-32.
                                                                                    88
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VABS-II assessment of Hardy’s level of adaptive functioning, using Cooper’s

cumulative knowledge of Hardy.237 Based on that interview, Dr. Hayes calculated
Hardy’s VABS-II scores for his level of adaptive functioning as follows:

   Domains/               Standardized      Percentile       Age-Equivalent
   Subdomains             Score             Rank             Score

   *Communication               --                --
        Receptive               15               50th                18
        Language
       Expressive               11               10th                8:7
       Language
   Written Language             --                --                  --
   **Daily Living               --                --
        Personal                12               16th               17:3
        Domestic                11               10th               13:9
       Community                --                --                  --
   *Socialization               --                --
      Interpersonal             14               36th               16:0
        Relations
     Play & Leisure             12               16th               14:0
          Time
      Coping Skills             --                --                  --
   Motor Skills                N/A               N/A
   Gross Motor Skills          N/A               N/A                N/A
   Fine Motor Skills           N/A               N/A                N/A
   ABC                          --                --                  --



      237
         Govt. Exh. 1 at 86 n. 64 (“[T]he age ranges used to compare Mr. Hardy’s
adaptive functioning were either 17:6 to 17:11 or 22:0 to 29:11 since this reflects
Ms. Cooper’s cumulative knowledge of the defendant.”).
                                                                                 89
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* 17:6 to 17:11 age norms used; ** 22:0 to 29:11 age norms used.

      As can be see from the above, Dr. Hayes did not score Hardy on any of the

three general domains of adaptive functioning, she did not administer the motor
skills domain portion of the test, and she did not compute an overall score. She

explained that she was unable to tabulate the scores marked in the table as “– ”

because Cooper was unable to provide sufficient information. In fact, she
indicated that one of the scores she did report, that listed for the “Personal” sub-

domain under “Daily Living,” could not be relied on as “Ms. Cooper did not have

enough information to rate Mr. Hardy on three items,” so the score could be used
only “for informational purposes.”238

      Dr. Hayes nevertheless conducted a comparison of the scores she obtained
for Hardy against the scores Dr. Swanson obtained through her application of the
VABS-II to her interview with Van Buren. Her comparison reveals that, for

questions that both Cooper and Van Buren answered, Cooper scored Hardy higher
than Van Buren 38 times, lower than Van Buren twice, and gave the same score 6
times.239 No comparison was possible for the remaining 28 questions that Dr.

Hayes selected for comparison. Of note, many of the discrepancies were of only
one response level, such as between a score from Van Buren that Hardy was

“sometimes” able to perform the task without help or reminders and a score from



      238
            Id. at 86–87 n. 66.
      239
            Id. at 88–105.
                                                                                       90
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Cooper indicating that he “usually” did.

      The remainder of this portion of Dr. Hayes’ report on adaptive behavior

briefly discusses the shortcomings of the VABS-II.240 It does not reflect that Dr.

Hayes reached a definitive conclusion concerning Hardy’s level of adaptive
functioning based on the VABS-II or any other test. Instead, the rest of her report

indicates that she turned to other sources of information, some of which Dr.

Swanson used as well.

      After consulting these other sources, Dr. Hayes concluded that “[t]here is

little evidence to suggest that Mr. Hardy had any substantial limitations or
problems performing the activities of daily living required for personal and social
sufficiency.”241 She also noted several ways in which she believes Dr. Swanson

erred, making the point that, in her opinion, Dr. Swanson did not have

“comprehensive information about Mr. Hardy’s adaptive strengths and weaknesses
during the developmental period” and therefore she should have “rule[d] out a
diagnosis of mental retardation.”242 Put another way, Dr. Hayes was of the opinion
that Dr. Swanson lacked sufficient evidence for her conclusion and, in any event,

her conclusion was wrong after considering the proper evidence. The Court will

summarize Dr. Hayes’ reasons on each point.

      B.       Criticisms of Dr. Swanson’s Evaluation

      240
            Id. at 105–06.
      241
            Id. at 176.
      242
            Id. at 175.
                                                                                     91
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      Dr. Hayes’ chief criticism of Dr. Swanson was for her reliance on Van

Buren as a VABS-II informant.243 She first noted that, based on the record
evidence available, it was doubtful that Van Buren knew Hardy prior to age 18 as
she reported to Dr. Swanson and, moreover, Van Buren’s knowledge of Hardy

around the developmental period was limited. Dr. Hayes also indicated that Van

Buren’s recollections were “inherently unreliable” because she was interviewed at
age 37 concerning her impressions of Hardy that she formed in early teens.244 She

noted that better informants, such as Hardy’s siblings, should have been used. And

she considered many of Van Buren’s answers to the questions on the VABS-II
inconsistent with the “collateral interviews and/or that of other informants or

records,”245 principally highlighting her conflict with Cooper’s account.

      The remainder of Dr. Hayes’ concerns about the quality of the data on which
Dr. Swanson based her conclusion concern minor discrepancies between what
sources told her and what they told Dr. Swanson. For example, she noted that

there were apparent discrepancies between the account of Greg Williams

concerning “[w]hat documents [he] read to Mr. Hardy and Mr. Hardy’s

      243
            Id. at 62-63.
      244
         Retrospective diagnosis will always interpose this challenge to some
degree or another. The Court notes that Van Buren was no more remote from
experience with Hardy’s adaptive behavior than any of the other potential VABS-II
candidates, such as the one selected by Dr. Hayes. Informants with more recent
experience lack knowledge of Hardy during or close to the developmental period
and none of them knew him as well as Van Buren.
      245
            Id. at 66.
                                                                                  92
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understanding of documents” and the specific type of encouragement Theresa

Minor gave Hardy’s mother concerning his poor performance in school.246

      C.        Other Evidence of Hardy’s Level of Adaptive
                Functioning

      The evidence Dr. Hayes used to support her conclusion that Hardy in fact

does not have significant limitations in his adaptive functioning came from a
number of interviews as well as her direct observations of Hardy and a review of

records.

      a.        Additional Interviews247

      Dr. Hayes’ interviews with various prison officials, such as Lieutenant
Desroche and Corporal Laylle, indicated that they found Hardy “manipulative,

calculating, and methodical.”248 He did not strike them as gullible, was pleasant in
his interactions with them, exercised authority over other prisoners, had good

penmanship and spelling, completed sick-call requests, helped other inmates with
“legal stuff,” was diligent about his prison commissary accounts, and otherwise

      246
            Id. at 70–71, 76.
      247
         Dr. Hayes lists one of Hardy’s siblings, his older brother Terry Hardy, as
an additional source of information at the beginning of her report. Id. at 4.
However, her discussion of her interview with him makes clear that they did not
discuss Hardy’s adaptive functioning. Id. at 65-66. Her interviews with the
informants Dr. Swanson spoke to—Theresa Minor, Vance Ceaser, and Toni Van
Buren—support the conclusion that Hardy has deficits in adaptive behavior, as
discussed above in the section on Dr. Swanson’s report. Dr. Hayes challenges the
accuracy of only Van Buren’s account, and simply discounts that of Ceaser and the
Minors as based on limited experience. Id. at 66.
      248
            Id. at 77.
                                                                                   93
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seemed to function normally.249 Another prison official, Deputy Gary Adams,

reported that Hardy offered him a bribe to “turn his head for a few minutes.”250
The last law enforcement officer Dr. Hayes interviewed was Len Davis’ ex-partner
Sammie Williams, who has been convicted of a drug felony. He met Hardy on

only a few occasions and did not seem to have much experience with Hardy’s

performance of the relevant behaviors, but “[h]e did not perceive [Hardy] as slow

or mentally retarded.”251

      In addition to Javetta Cooper, whose narrative account accords with her

ratings of Hardy as somewhat slow, but not significantly limited in his adaptive
functioning,252 Dr. Hayes also interviewed Faith Price, the mother of one of

Hardy’s children.253 Price had not had any substantive communication with Hardy
in years and “could not recall many details of their relationship and/or many

specific facts,” which precluded Dr. Hayes from administering an adaptive
functioning questionnaire to her.254 She corroborated the accounts from others that

Hardy was “a sweet person” and that they mostly “watched movies and hung


      249
            Id. at 77–80.
      250
            Id. at 80.
      251
            Id. at 107.
      252
         For reasons that will shortly become apparent, the Court finds no need to
summarize her account in greater detail and directs the interested reader to pages
83–86 of Dr. Hayes’ report. Govt. Exh. 1 at 83-86.
      253
            Id. at 81-82.
      254
            Id. at 81.
                                                                                   94
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around with each other.”255 She also corroborated the fact that Hardy’s mother was

“not the smartest person,” although she noted that she was “a good mom.”256 She
did not report that Hardy’s adaptive behavior seemed limited, at least in the
behaviors she observed. However, she was not familiar with his work history, did

not have experience living with him or doing schoolwork with him, and otherwise

appeared to lack experience with Hardy in a number of the activities assessed as

part of an adaptive behavior evaluation.257

      b.          Direct Observation

      Dr. Hayes observed Hardy at his prison and also inspected his cell. She

noted that he was able to play basketball well and that he had several books, such

as The Bible, a dictionary, and Soul Harvest: The World Takes Sides, written by

Tim LaHaye and Jerry B. Jenkins.258 Underneath his bed, she found multiple

letters and cards, including notes Hardy had written. She observed that he

appeared to be well-integrated with the other prisoners and played cards with them,
even dealing.259

      Dr. Hayes’ clinical interview with Hardy, which lasted approximately seven
hours and is videotaped and part of the record, revealed to her no abnormalities

      255
            Id.
      256
            Id. at 82.
      257
            Id. at 81-82.
      258
            Id. at 107-08.
      259
            Id. at 109–10.
                                                                                     95
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other than poor enunciation and concrete answers to questions, with particular

trouble answering those in a “what if” style.260 While the Court is aware that
caution is called for when assessing someone’s own self report, the Court did find
segments of Hardy’s interview to be helpful to the overall decision to be made. As

Dr. Hayes herself noted, Hardy “appeared to try to answer all questions honestly

and openly”261 and the Court agrees.

      Hardy acknowledged repeatedly with Dr. Hayes his inability to “catch on” in

school to what was being taught.262 He described his attempt to go to adult

education classes, where the teachers “just throw the book right there” and he

could not “catch on.”263 He even tried to go to school on Death Row but
condemned inmates were not permitted.264 He told her that he watches TV with
other inmates, who tell him what a word means and he also looks words up.265

      Hardy’s observations about his drug trafficking are also worth noting. He
acknowledged he was unable to learn to convert powder cocaine to crack, so he



      260
          Id. at 110-11; Govt. Exh. 1, att. CD-1; Deft. Exh. 17. An inability to
think abstractly is consistent with mild mental retardation and Dr. Hayes repeatedly
had difficulty in eliciting other than concrete answers from Hardy to abstract
hypotheticals. See, e.g., Govt. Exh. 1, att. E at 74-75, 167-68, 279-80, 351-52.
      261
        Govt. Exh. 1 at 110.
      262
        Govt. Exh. 1, att. E at 101, 106, 107, 108, 111, 112.
      263
        Id. at 111. See also id. at 127, 390, 391.
      264
        Id. at 111.
      265
        Id. at 112.
                                                                                   96
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hired someone to do that for him.266 When asked if he ever got drugs from out of

state, he immediately answered, “No indeed no . . . I ain’t getting on no highway.
No indeed.”267 He explained that he had about three people selling drugs for him
from the project, who would come up to him to offer to sell. Within the project,
different blocks were known for which drug was being sold - coke, weed, heroin.268

When Dr. Hayes asked him what he told his sellers to do, Hardy seemed puzzled
and answered, “Just sell the drugs.” She then asked if he ever told them to locate

at a certain place, and he answered, “No. It would just be on the corner. They

ain’t had to go nowhere. The people will come to them.”269

      While the Court is aware of the possibility that Hardy was deliberately
downplaying his drug involvement, his answers appear on the video to be

spontaneous and candid.

      c.       Records and Other Sources

      The bulk of Dr. Hayes’ report on adaptive behavior consists of her
categorization of the above facts and the rest of the evidence that she assembled on
the topic of adaptive behavior, which she presented under headings that correspond

to the domains of adaptive behavior listed in the DSM-IV-TR.270 The evidence

      266
           Id. at 199-200.
      267
           Id. at 201-202.
      268
           Id. at 203.
      269
           Id. at 305-306.
      270
            Id. at 111–75.
                                                                                     97
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from this part of her report that is even arguably relevant and is not covered

elsewhere in this opinion is summarized in Appendix F, using the same order as
appears in Dr. Hayes’ report. Controverted and uncontroverted statements are

included.

      iii.   The Court’s Findings of Fact

      As should be clear at this point, the Court is confronted with diametrically
opposed narratives on the issue of Hardy’s adaptive functioning. In deciding

which to credit, the Court has the benefit of the reports prepared by Drs. Swanson

and Hayes in addition to their testimony at the hearing and a more limited report
from Dr. Cunningham on this issue. It has also had the benefit of being able to
view the videotapes of Dr. Hayes’ interviews, along with a number of other
records. Finally, the Court heard testimony at the hearing from Lionel Hardy,

Theresa Minor, Toni Van Buren, Javetta Cooper, Lieutenant Desroche, Corporal
Laylle, and Deputy Adams. Each class of sources informed the Court’s approach

to this issue, and each led to the following findings on which the Court bases its
ultimate conclusion.

      The Court finds that Dr. Swanson’s assessment of Hardy’s level of adaptive

functioning is the far more persuasive one that was presented, and it credits her

conclusion that Hardy has significant impairments in adaptive functioning

sufficient to diagnose him as mildly mentally retarded. While there may be room
for clinicians to debate particular items and how they were scored, Dr. Hayes’

criticisms and alternative conclusions are simply not persuasive enough to

                                                                                     98
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overcome the compelling showing made by Dr. Swanson.

      First, Dr. Hayes’ main criticism of Dr. Swanson’s assessment—that Van

Buren was an inappropriate informant on which to administer the VABS-II—is not

entitled to great weight. On the question of the age at which Van Buren met
Hardy, Dr. Swanson acknowledged at the hearing that it is possible she first met

him after age 18.271 The matter is not entirely clear, but even if the Court assumes

that Van Buren first met Hardy at age 18:6, as contended by the government, rather
than at 17:6, as Dr. Swanson initially believed, the VABS-II scores Dr. Swanson

reported are then inflated and in fact overestimate Hardy’s level of adaptive

functioning. Dr. Swanson explained that comparing Hardy against age-normed
scores of those younger than he in fact was would make him appear to be higher
functioning: “[I]f you run [a score] it — it goes down at 18:6, not up.”272 That is
because the normative group “should have learned something in a year,”273 yet
Hardy would not have been held accountable for that growth because he would

have been compared to those without that additional year of maturation. As Hardy
was already two standard deviations below the mean of those aged 17:6, there is no

question that, if he were scored against 18:6 norms, he would still satisfy the

AAMR/AAIDD’s cutoff on each of the seven sub-domains where Dr. Swanson
found him deficient.


      271
            Rec. Doc. 2126 at 739–40.
      272
            Id. at 743.
      273
            Id.
                                                                                      99
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      At the same time, Dr. Hayes is correct in that Van Buren did not know

Hardy very well during the developmental period. But, as Dr. Swanson explained,

Van Buren was the best informant available, even though she might not have been

the ideal one. The ideal informant would be one who had Van Buren’s extensive

experience with Hardy in all relevant domains, and knew him prior to the age of

18. Unfortunately, neither party has been able to identify such a person, although
Van Buren knew him the most intimately in the years immediately after he turned

18.

      Second, while Dr. Hayes suggested that Hardy’s siblings would have made
more appropriate informants, neither she nor Dr. Swanson was able to perform the
kind of interview the VABS-II requires with any of them. That said, after Dr.
Hayes highlighted this issue in her report, Dr. Swanson responded by redoubling

her efforts to interview Hardy’s siblings and was ultimately able to speak with
Linda, Terry, and Lionel Hardy,274 the last of whom also testified at the hearing.
So, Dr. Swanson’s final opinion—which was rendered at the hearing—did benefit

from interviews with Hardy’s siblings. The recollections of each only offered
more evidence that Hardy had limited adaptive functioning.275

      Dr. Swanson’s interviews of Hardy’s siblings revealed that, contrary to what

might have been expected, they would not have been the best informants after


      274
            Rec. Doc. 2125 at 609.
      275
        E.g., Rec. Doc. 2124 at 372–91 (Lionel Hardy); Rec. Doc. 2125 at 640
(Linda Hardy, Terry Hardy, Lionel Hardy); Id. at 649 (Terry Hardy).
                                                                                     100
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all.276 Linda Hardy was six years older than Hardy and their mother kept her inside

most of the time because their area of the projects was so dangerous.277 Linda
Hardy responded by keeping to herself and mostly staying in her bedroom.278
Based on her interview, Dr. Swanson concluded “she didn’t know very much about
what was going on with Paul.”279 At the hearing, Lionel Hardy confirmed Dr.

Swanson’s impression, testifying that Linda Hardy was not close to Hardy while
they were growing up.280 Even were that not the case, Linda Hardy left home
when Hardy was 12 years old and rarely visited after moving out.281

      Terry Hardy left home when Hardy was 14 and also rarely visited.282 Even
before that, he was not close to Hardy.283 Some evidence of that must be inferred
from the fact that, despite trying several times before she prepared her report, Dr.

Swanson—the defense expert for his brother facing the death penalty—was unable




      276
            Id. 609.
      277
            Id. at 608–10.
      278
            Id.
      279
            Id. at 610.
      280
         Rec. Doc. 2124 at 365; see also, id. at 365–66 (“Q: Do you feel like
Linda and Paul really knew each other very well? A: No.”); id. at 366 (“Q: And
was that because Linda pretty much kept to herself? A: Yes.”).
      281
            Id. at 367.
      282
            Id.
      283
            Id. at 366.
                                                                                   101
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to arrange a meeting with Terry Hardy.284 She attributed this to the fact that, like

Linda Hardy and all of the Hardy children, the experience of growing up in the
projects was extremely negative and so Terry Hardy had tried to put it behind

him.285 However, once Dr. Swanson was able to establish a rapport with Terry

Hardy, he was able to provide useful information about Hardy’s poor academic
performance as Terry Hardy was only three years older.286

      With Hardy’s siblings unable to take Van Buren’s place, the only other
potential informant with experience approaching Van Buren’s familiarity with

Hardy is Javetta Franklin, nee Cooper.287 Cooper knew Hardy well for only a brief
period of time—four months288—and has a limited recollection of that time, as
evidenced by the number of questions on the VABS-II she was unable to answer

(totaling over one third of the set of questions Dr. Hayes selected for
comparison).289 Based on this, as well as her two interviews with Cooper,290 Dr.

      284
            Rec. Doc. 2125 at 608.
      285
          Id. at 608–09. Dr. Swanson also noted that this distance from one another
is not unusual in large families and that it has been her experience in Atkins cases
that siblings do not necessarily make the best informants. Id. at 605-607.
      286
            Id. at 610.
      287
         Price’s recollection is too limited, while Theresa and Tony Minor did not
have substantial experience with Hardy post-childhood. Vance Ceaser did not
have experience with Hardy in multiple contexts, just as Greg Williams and the
other persons interviewed did not have sufficient experience with Hardy either (to
say nothing of experience with him close to the developmental period).
      288
         Rec. Doc. 2126 at 734.
      289
        In addition, Cooper was interviewed by Dr. Hayes under highly stressful
circumstances. Dr. Hayes made no prior attempt to contact her but showed up at
                                                                                   102
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Swanson concluded that she was an inappropriate informant for the VABS-II.291

That kind of dispute would not ordinarily be enough to discredit another expert’s
decision to rely on a source, but the problems with relying on Cooper go deeper.

After speaking with Dr. Hayes and providing the best, if still weak, evidence

against Hardy on the adaptive behavior issue, Cooper substantially revised her
testimony. In fact, she revised it to such a degree that she ended up testifying for

the defense.292 This led Dr. Hayes to back away from reliance on Cooper, calling
her “an unreliable informant.”293

      The Court agrees with Dr. Hayes that Cooper proved herself to be unreliable,

and it therefore has difficulty crediting anything based on Cooper’s word. This
applies equally to her hearing testimony in Hardy’s favor as well as the account

that she initially gave Dr. Hayes. In fact, even without her flip-flop, the Court
would have had difficulty crediting Cooper’s account. Except for the opinions of

the prison officials discussed below, she provided the outlier testimony in this case.

her door, with an FBI agent, who announced to Cooper that Dr. Hayes wanted to
speak to her. Even Dr. Hayes reported that Cooper was initially crying she was so
upset over the encounter and refused to allow Dr. Hayes into the house for the
interview. Rec. Doc. 2128 at 1101-04.
      290
        Rec. Doc. 2125 at 600.
      291
         Rec. Doc. 2126 at 810. Dr. Swanson also noted that, based on Cooper’s
account of how she was questioned, Dr. Hayes did not properly administer the
VABS-II to her. Id. at 756, 760–61. The Court observes, but need not pass on the
appropriateness of, the disputed method by which Dr. Hayes interpreted the test
scores against multiple age groups. Id. at 865.
      292
        Rec. Doc. 2125 at 514–73.
      293
        Rec. Doc. 2129 at 1198.
                                                                                    103
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That she ended up doing so in both directions renders her opinion worthless.

      The foregoing explains why the Court is unable to credit Dr. Hayes’

criticisms of Dr. Swanson’s assessment. Van Buren was the best informant

available. If, despite being the best available, she truly lacked sufficient
knowledge of Hardy’s level of adaptive behavior during the relevant time, perhaps

“best” would not be good enough. But that can hardly be argued here. Unlike, for

example, Sammie Williams, who had only occasional contact with Hardy, in a
narrow category of circumstances, and long after he turned 18, Van Buren is the
mother of three of Hardy’s children,294 she lived with Hardy for six or seven

years,295 and she met him at least very close to the developmental period.296

      The Court finds that, based on Van Buren’s interview and hearing testimony,

as well as Dr. Swanson’s opinion, Van Buren had sufficient experience with
Hardy’s level of adaptive functioning during the relevant period to permit a finding

whether or not Hardy satisfies the APA and AAMR/AAIDD’s criteria for this
prong. Her testimony establishes that he does. Dr. Swanson paired Van Buren’s

account with multiple independent sources of information pointing to the same

conclusion, and she conducted her evaluation in a manner consistent with the
assessment guidelines developed by the AAMR/AAIDD, including those for

retrospective determinations of mental retardation. The Court finds Dr. Swanson’s

      294
         Rec. Doc. 2125 at 453.
      295
         Id. at 462.
      296
         Id. at 482; Rec. Doc. 2126 at 739–40.
                                                                                   104
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account to be credible. The Court finds that Hardy satisfies the adaptive behavior

prong of the test for mental retardation as set out by both the AAMR/AAIDD and
the APA.

      The Court finds Dr. Hayes’ alternative theory—that Hardy has no deficits in
any domain of adaptive behavior—to be completely unpersuasive. Even ignoring

the problems with Cooper’s testimony, who was the only informant to provide

much support for the conclusion that Hardy functioned normally, Dr. Hayes’
ultimate opinion was tainted by the use of evidence that the AAMR/AAIDD has
cautioned against allowing into the assessment of adaptive behavior. For example,

many of the facts Dr. Hayes cites concern Hardy’s level of functioning while in
prison—a highly structured environment and one in which Hardy lives long after

exiting the developmental period. Yet one of the AAIDD’s “key factors” in the
assessment of adaptive behavior requires that “the person’s strengths and
limitations in adaptive skills should be documented within the context of

community and cultural environmental typical of the person’s age peers.” AAIDD
11TH EDITION at 45. An institutional environment of any kind necessarily provides

“hidden supports” whereby the inmates or residents are told when to get up, when
to eat, when to bathe, and their movements are highly restricted.297 As Dr.

Swanson noted, “When you live in the community, it suddenly becomes your

responsibility to make these decisions for yourself, to put them in the appropriate



      297
        Rec. Doc. 2125 at 635.
                                                                                  105
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order, to make sure they are done in a timely way.”298 Moreover, the AAMR notes

that specialized instruments, appropriately normed, are available for at best limited
use if behavior is not to be evaluated relative to age peers, but to others similarly

situated in an institution. AAMR 10TH EDITION at 83; AAIDD 11TH EDITION at 51;

USER’S GUIDE at 23. Dr. Hayes did not mention or make use of such instruments or

assessment approaches.

      Neither are the prison officials Dr. Hayes interviewed likely to be
particularly good informants.299 For example, in this case they painted a portrait of

Hardy as among the most sophisticated inmates they have ever met. The Court

finds this difficult to believe given that, whatever dispute there may be about
whether Hardy has an IQ low enough to qualify as mentally retarded, it is clear he
is at best in the range of borderline intellectual functioning. In addition, prison

officers’ observations are limited to an extremely unusual set of circumstances, and
are likely to be filtered through their experience with other prisoners, many of
whom may also suffer from intellectual limitations. Their intuitive “control group”

is therefore not representative of the general population, while the diagnosis of

mental retardation must be made with reference to average levels of functioning in
the general population.

      Additionally, prison custodians are law enforcement officers responsible for
the criminals they oversee, and the potential for friction is ever present. For

      298
         Id.
      299
         E.g., Olley & Cox Study, supra n. 4 at 386.
                                                                                      106
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instance, in this case, Lt. Shannon Desroche, the medical supervisor at the St.

Bernard Parish jail, was called as a government witness. She had told Dr. Hayes
that of all the inmates she had encountered, Hardy was “the most dangerous and

manipulative.”300 She testified at the hearing that Hardy was intelligent,

communicated well, was not gullible, was a leader on the cellblock and in
control.301 But when asked if she had “anything against Hardy” or “any beef with

him or anything,” she answered, “Not at all, not at all.”302 However, the records
from the St. Bernard Parish jail indicate a dispute several years in duration between

then Sergeant Desroche and Hardy over his complaints of a toe injury. Desroche
recorded in the jail records that Hardy and his attorney complained about the jail’s

handling of the alleged injury, which Desroche consistently maintained was not
serious. Desroche even went so far as to then regularly document Hardy’s physical
activities at the jail because she “felt it necessary . . . as detainee Hardy has made

threatening statements to Sgt. Desroche about what he will do if he doesn’t get the
treatment he wants.”303 For Lt. Desroche to assert she had no dispute with Hardy
was disingenuous.304


      300
         Govt. Exh. 1 at 77.
      301
         Rec. Doc. 2131 at 1536, 1539, 1542.
      302
         Id. at 1538.
      303
         Govt. Exh. 1, att. 7.
      304
         Dr. Hayes did not note in her lengthy report or her testimony this potential
bias on the part of Lt. Desroche, although she listed the St. Bernard Parish Jail
records as among the documents she reviewed. Govt. Exh. 1 at 9.
                                                                                     107
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      Furthermore, Dr. Hayes in her comparative charts indiscriminately mixed

Hardy’s capabilities in much later years, with other witness’ assessments when he
was much younger, apparently seeking to discredit the earlier accounts. This

ignored the significant issue of when a skill is learned. As Dr. Swanson pointed

out, “Not seeing a deficit at 26 doesn’t mean maybe there wasn’t a deficit earlier
developmentally.”305 For example, that Hardy was able to master the basic game of
basketball in his 30’s or 40’s in jail306 does not mean he had that skill level in his
20’s or younger. Hardy tries to learn and when he does not know or is not sure of

the answer to a question, he seeks it out from the examiner,307 if not later. That
Dr. Hayes saw a dictionary in Hardy’s cell at the St. Bernard Parish jail is not

surprising.308

      Finally, while Dr. Hayes concluded she was unable to tabulate the relevant

scores for Hardy using the VABS-II with Cooper, she did not select another
informant or attempt to employ another test. The AAMR/AAIDD has been quite

clear that the use of standardized instruments is preferable when assessing a

person’s level of adaptive behavior. E.g., AAMR 10TH EDITION at 76–78, 81–91;

see also AAIDD 11TH EDITION. at 47–5; USER’S MANUAL at 13. Dr. Hayes offers



      305
         Rec. Doc. 2125 at 623-24.
      306
         Govt. Exh. 1 at 107-08.
      307
        Rec. Doc. 2126 at 839-40. Dr. Hayes noted in her report that Hardy made
good effort when she interviewed and tested him. Govt. Exh. 1 at 110-11.
      308
         Govt. Exh. 1 at 108.
                                                                                     108
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no explanation for failing to try additional methods of obtaining a standardized

score for Hardy.

      Even if the Court were to ignore all of these concerns, it notes that the

account Cooper gave Dr. Hayes initially, as well as the additional evidence cited in
Dr. Hayes’ report, does not refute Dr. Swanson’s conclusion that Hardy suffers

from mild mental retardation. Virtually all of Hardy’s acts, cited by Dr. Hayes in

her own detailed assessment of Hardy’s adaptive behavior, are capable of being
performed by someone with mild mental retardation, particularly one with a higher

IQ in that range.309 In Wiley, the state tried to argue that the defendant could not be

deemed mentally retarded based on the credible testimony of an expert because he

“often provided money to help pay household bills, possessed skill repairing
vehicles and frequently helped friends and neighbors with auto repairs, provided

transportation for others, volunteered for military service, and was a reliable
worker who quit school to go to work to provide for his family.” 2010 WL
4227405, at *15. The Fifth Circuit rejected the argument, noting that the expert

testimony in the case indicated that such abilities were still consistent with mild

mental retardation. Id.

      Hardy can, at best, be said to try to be a good father. No evidence was

presented that he could do things like volunteer for military service, repair cars on

his own, or work reliably. In fact, all the evidence was to the contrary. The Wiley

court could have just as well been describing this case when it noted that, despite

      309
         Govt. Exh. 1 at 111-75.
                                                                                      109
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many strengths,

      [t]he record shows that Wiley consistently relied on others for
      virtually all direction of his life and daily living, including finances,
      healthcare, and employment. Wiley relied on his grandmother and
      then his wife to handle his money. Although he was a hard worker,
      Wiley primarily worked manual labor jobs and relied on his in-laws to
      find him work. Wiley’s grandmother stated that when Wiley’s
      grandfather died, Wiley was unable to make basic decisions about the
      farm, and he instead sought advice from his grandfather’s friends. He
      later sought help from his in-laws even after he and his wife separated.
      As a child, Wiley was slow to master hygiene, dressing, and toileting
      skills, and his older sister had to help teach him how to dress and
      groom. Wiley’s grandmother bought his clothes and made selections
      for him when he was as old as fifteen, and then his wife took over that
      task when he moved in with her family. Although Wiley helped
      around the house with the trash and yard work, his grandmother and
      then his wife did all the cooking, cleaning, and laundering.

2010 WL 4227405, at *19.

      The expert testimony in this case is no less clear than it was in Wiley on a

point that mental health professionals all recognize: the mildly mentally retarded
have strengths as well as weaknesses. As Dr. Cunningham explained, quoting

from the MANUAL OF DIAGNOSIS AND PROFESSIONAL PRACTICE IN MENTAL

RETARDATION:

      People classified with mild MR evidence small delays in the
      preschool years but often are not identified until after school entry . . .
      This designation implies variation in academic skills, and for a large
      proportion of these adults, persistent low academic skill attainment
      limits their vocational opportunities. However, these people are
      generally able to fulfill all expected adult roles.310

The mildly mentally retarded “usually live independently or semi-independently in


      310
        Deft. Exh. 19 at 7 (emphasis added).
                                                                                     110
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the community and . . . . [o]ften the mildly mentally retarded persons ‘pass’ in the

community. In other words, neither their appearance nor demeanor, particularly on
brief interaction, reveals the severity of their intellectual deficiency.”311

      Hardy’s life history and presentation do not mark him as among the severely

or profoundly mentally retarded, the image of whom the phrase “mentally

retarded” probably conjures in the mind of a lay person. His impairments are
subtler, his strengths more pronounced. Clinical judgment is the key to

segregating those in this category who should be diagnosed with mental retardation

from those who should not be. The Court finds that Dr. Swanson’s 35 years
experience assessing and training mentally retarded individuals, as well as her
extraordinarily vast experience with administering the Vineland adaptive behavior

assessment itself, renders her clinical judgment far more persuasive and reliable
than that of Dr. Hayes. Dr. Swanson’s evaluation is also the most consistent with

all the other evidence before the Court.

      Finally, while the AAIDD recommends against using past criminal behavior

as a measure of adaptive behavior or as relevant to mental retardation, the Court
finds consideration of criminal conduct to be useful as one of many factors to

consider.

      Prior to his conviction on the current charges, Hardy had not been convicted
of a felony, misdemeanor, municipal violation or a traffic violation. He had been



      311
            Id.
                                                                                     111
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arrested six times on felony charges and twice on municipal misdemeanors.312 One

such arrest was for first degree murder, for which he was tried and found not
guilty.313 Other arrests were for mostly drug related violations, and several were
for being a felon in possession of a firearm, which were refused, presumably for
the obvious reason that he had no prior felony convictions.314

      Despite his lack of any prior convictions, Hardy was a reasonably successful

street level crack cocaine distributor within the projects. The Court concludes,
however, as did Dr. Swanson, that a person with mild mental retardation is capable

of running such an operation.315 Unfortunately, also, the Court concludes that a

person with mild mental retardation can take a gun and shoot someone.316 In fact,
even assuming Hardy’s guilt on all the charges for which he has been arrested,

none of them appear to require skills beyond the capacity of a person with mild
mental retardation, particularly one functioning at a higher IQ level within that

range.317 Atkins itself contemplated that those capable of committing capital


      312
        Deft. Exh. 33-BB.
      313
         Id. While it is not entirely clear, he may have been arrested on another
separate first degree murder charge which was refused.
      314
        Id.
      315
        Rec. Doc. 2125 at 708-09.
      316
        Rec. Doc. 2125 at 708.
      317
         The Court likewise finds that the various offenses alleged in the FBI
records, none of which resulted in a conviction, are within the capabilities of
someone with mild mental retardation to commit. Deft. Exh. 34-KK. See also Rec.
Doc. 2126 at 849-50.
                                                                                    112
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crimes, which as a practical matter are only those crimes involving intentional

homicide, may be mentally retarded.

      The Court finds Hardy’s willingness to do the bidding of Len Davis, even

though Hardy had no personal animosity towards Kim Groves, probative as well.
According to the most recent manual from the AAIDD, “persons with ID typically

have a strong acquiescence bias or a bias to please that might lead to erroneous

patterns of responding.”318 Len Davis did have a strong and overbearing

personality. Greg Williams tried to warn Hardy that Davis was not a good choice

for friendship,319 but Hardy apparently could not discern that himself, insisting that
Davis was “cool.”320

      c.       Factor Three: Onset Before Age 18

      The final prong of the definition of mental retardation concerns its age of
onset. The APA and AAMR require that the significant limitations in intellectual
and adaptive functioning, assessed on prongs one and two, arose during the

developmental period, that is, before the person turned 18 years old. See AAMR

10TH EDITION at 1; DSM-IV-TR at 49.

      The foundation for this finding has largely been already presented through
the Court’s analysis of the IQ and adaptive behavior prong, and needs relatively



      318
           AAIDD 11TH EDITION at 51-52.
      319
           Govt. Exh. 1, att. B at 40.
      320
           Id. at 41.
                                                                                    113
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brief treatment here. Based on the evidence presented there, the Court is satisfied

that Hardy’s intellectual and adaptive deficits originated during the developmental
period, that is prior to the age of 18.

      The Court first turns to the records of Hardy’s academic performance before

age 18, which is the kind of information on which Wiley relied when discussing the

age of onset. 2010 WL 4227405, at *20. Hardy’s school records, discussed in

detail in part i of Appendix B, clearly demonstrate that his functional academic

skills were significantly limited during the developmental period. They also

support the conclusion that Hardy’s intelligence was at least as low during his
school years as it was when Dr. Tetlow tested him. Additionally, as IQ is a
relatively stable characteristic of a person, there is no reason to suspect that an IQ
test of Hardy after 18 fails to reflect the IQ he had before 18.

      Second, the testimony from the informants who unquestionably knew Hardy

during the developmental period establishes that he had significantly limited
functioning long before age 18. Theresa and Tony Minor testified that Hardy

seemed slow even as a four- to five-year-old child.321 They also offered specific

evidence concerning his deficits in communication, functional academic skills,

social/interpersonal skills, leisure, and self direction.322 Vance Ceaser, who has

known Hardy since kindergarten, provided testimony that bookended the

developmental period when he recounted Hardy’s grade school troubles and then

      321
         See Deft. Exh. 1 at 10–11; see also Rec. Doc. 2124 at 434–35.
      322
         Id.
                                                                                     114
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described Hardy’s extreme difficulties with high school.323 This again

demonstrates that Hardy’s low intellect and limited functional academic skills
arose prior to age 18, along with Hardy’s several other deficits to which Ceaser

testified.324 Whether or not Van Buren met Hardy slightly before his eighteenth

birthday or slightly afterwards, no evidence was presented to indicate his level of
functioning has dramatically increased or decreased at any point in his life. There

is therefore no reason to think that her impression of Hardy as significantly limited

at age 18:6 does not accurately represent his level of functioning a mere six months
before. Indeed, her impression of Hardy is consistent with the credible witnesses
who knew him from the toddler age all the way through high school.325

      Dr. Swanson, the findings of whom the Court has already credited,

determined that Hardy satisfied the age of onset criterion.326 So did Dr.

Cunningham.327 Dr. Hayes does not challenge this point in itself, but rather
whether Hardy made the requisite showing on the first two prongs.328


      323
        See id. at 12.
      324
        Id.
      325
          As noted above, see supra pp. 103–04, the Court does not credit Cooper’s
testimony on Hardy’s level of adaptive functioning and therefore need not consider
it on this final prong.
      326
        Deft. Exh. 1 at 24.
      327
        Deft. Exh. 19 at 10.
      328
         See Govt. Exh. 1 at 177 (“Mr. Hardy did not (prior to age 18 and on
October 13, 1994) and does not (currently) have significant limitations in
intellectual functioning and/or adaptive behavior.”).
                                                                                   115
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      The Court finds the lack of controversy on this point consistent with the

remainder of the evidence of the record. For example, while the etiology of
Hardy’s mental retardation is unknown, something that the AAMR notes is not

unusual, see AAMR 10TH EDITION AT 125, he did suffer at least six head injuries

prior to turning 18.329 Those caused a mild brain injury,330 which seems as likely to
have caused Hardy’s deficits as other factors, such as the possible genetic source
suggested by his mother’s apparent limitations. But whatever has caused Hardy’s

mental retardation, all of the evidence points to it having done its work before

Hardy was 18 years old. That is all that matters.331

      The Court has already noted that the diagnosis of mental retardation in the

Atkins context will always involve some level of uncertainty because, at least as a

practical matter, it will always have to be made retrospectively. Neither the Court
nor the experts were present during Hardy’s developmental period. Each of us

must therefore rely on the recollections of those credible informants who were
present to determine whether Hardy should have been diagnosed as mentally
retarded when he was younger. Their testimony clearly indicates that he should

have been.

                                 III. CONCLUSION

      As part of this assessment, the Court has once again listened to the series of

      329
        Deft. Exh. 18-6 at 21.
      330
        Id.
      331
        E.g., Olley & Cox Study, supra n. 4 at 385.
                                                                                    116
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chilling telephone conversations between Len Davis, Sammy Williams, and Paul

Hardy the night of Kim Groves’ murder.332 The tapes disclose Davis’ utter
contempt for Kim Groves, his insistence that she be killed, and his growing
impatience and berating of Paul Hardy for not moving quickly enough to do his

bidding.

      All Kim Groves did was be a good citizen. Instead of ignoring police

abuses, she made the concerted effort to report it to the internal affairs division of

the police department.333 For that good deed, she paid with her life. The tapes

once again reveal the outrageous arrogance of this crime, the appalling abuse of

police authority and its senseless cruelty. It was a crime that deserves universal
condemnation and severe punishment. Nevertheless, the evidence establishes by
more than a preponderance of the evidence that Paul Hardy is mentally retarded

and therefore cannot be sentenced to death. Len Davis is currently on death row.
Paul Hardy will be sentenced to the only penalty available, life imprisonment, at
the appropriate time.

      Accordingly,




      332
           Govt. Exh. 1, att CD-16.
      333
        The Court has listened to the taped interview of Kim Groves, which
appears as Track 26 on the same CD. Id.
                                                                                     117
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      IT IS ORDERED that a sentence of death as to Paul Hardy is prohibited. A

sentencing date shall be set.

      New Orleans, Louisiana, this 24th day of November, 2010.



                                    ______________________________
                                    HELEN G. BERRIGAN
                                    UNITED STATES DISTRICT JUDGE




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                                   APPENDIX A

   Remaining Reasons Cited by Dr. Hayes for Discrediting Dr. Tetlow’s IQ Test

      As noted in the opinion, Dr. Hayes gave additional reasons for her belief that
Hardy’s score on the IQ test administered by Dr. Tetlow could not be treated as

credible. The Court now addresses each in turn.

      First, Dr. Hayes noted that when Hardy was arrested and booked in 1994, he

purportedly gave a history of having lost consciousness once when he was 16 years
old. When he was evaluated by both Dr. Martell and Dr. Bianchini, he apparently
told them he had lost consciousness twice.334 In Dr. Hayes’ testimony, she

characterized this as a discrepancy between what Hardy told different

“evaluators.”335

      The Court does not find this discrepancy meaningful. Its review of the one
page “History & Physical Examination” from the booking records indicates a
cursory checklist of a range of possible ailments, apparently based on the self-

report of the prisoner as he is checked into custody.336 Dr. Cunningham testified

that based on his experience, such examinations are “likely rapid and superficial,337



      334
         Govt. Exh. 1 at 25.
      335
         Rec. Doc. 2128 at 1056-57.
      336
        Deft. Exh. 35-YY. Alongside the typed query of “Head injury” was a “y”
and “loc 16 yrs of age.” Presumably this means “yes” and “loss of consciousness
16 years old age.”
      337
         Rec. Doc. 2123 at 121.
                                                                                   119
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as is in fact borne out by the form.338 This “evaluation” contrasts dramatically

with the studied and lengthy formal examinations conducted by Dr. Martell and Dr.

Bianchini, and their detailed reports. What is significant is not what Hardy may or

may not have said at booking but that he gave both Dr. Martell and Dr. Bianchini a

consistent history regarding loss of consciousness.339 Furthermore, as Dr.

Cunningham appropriately pointed out, people with normal intelligence reporting
their histories will give inconsistent details;340 this being particularly likely in a
distracting circumstances such as being booked into jail. Noteworthy, also, is Dr.

Cunningham’s comment that if a person is mentally deficient, the ability to
remember and to bring up such details is even more problematic.341 However, this

Court finds the discrepancy, if it existed, to signify nothing of significance, one

way or the other.

      Similarly, Dr. Hayes’ next claimed discrepancy—that Hardy told Dr.
Bianchini that he did not miss school much when in fact he was often truant342—is

also de minimis. Moreover, it is hardly evidence of a malingering strategy as, if

true, such a fact would tend to detract from a diagnosis of mental retardation, not
enhance it. As Dr. Cunningham pointed out, Hardy’s school attendance may well

      338
         Deft. Exh. 35-YY. The remaining 27 items have a “n” at the top and a
line drawn down through the rest of the column.
      339
         Govt. Exh. 1, att. 4 at 3; Deft. Exh. 18-5 at 2.
      340
         Rec. Doc. 2123 at 119.
      341
         Id. at 119-20.
      342
         Govt. Exh. 1 at 25; Rec. Doc. 2128 at 1057.
                                                                                         120
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have been good throughout elementary school although it was not so in high

school.343 Regardless, as already noted, people with normal intelligence give
inconsistent histories, not to mention the natural tendency to want to appear in a
favorable light. Furthermore, Dr. Cunningham observed that people who are in

fact intellectually deficient do not have the same full memory recall or the capacity

to bring it up on demand as those with normal intelligence. However, as with the

discrepancy regarding loss of consciousness, this Court finds it too insignificant to
support any position.

      The next discrepancy noted by Dr. Hayes was that Hardy was unable to
name the governor of Louisiana during Dr. Swanson’s evaluation, but that he was

able to do so for Dr. Hayes. This was during the “adaptive behavior” examination
by both doctors, the second prong of a diagnosis of mental retardation. He also

was able to name the mayor, a senator and the problems the particular senator had
had.344 At the outset, the Court is perplexed as to how Hardy answered questions

in adaptive behavior evaluations done in 2008 and 2009 undermines his

performance on IQ testing a dozen years earlier. Even if relevant, which the Court
doubts, Dr. Hayes’ evaluation came after Dr. Swanson’s, and as Dr. Cunningham

suggested, Hardy may have made a point of finding out who the governor was
since he could not answer the question.345 Hardy has a history of doing exactly


      343
        Rec. Doc. 2123 at 120.
      344
        Govt. Exh. 1 at 25; Rec. Doc. 2128 at 1058-59.
      345
        Rec. Doc. 2123 at 125.
                                                                                     121
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that. When Dr. Martell examined him in 1996, Hardy had already been given the

WAIS-R by Dr. Tetlow. Dr. Martell noted in his report that when Hardy was re-
tested on the same test, “he (Hardy) commented that he was concerned about not

giving answers that would be different from those he gave previously, so as not to

significantly change his test performance. He stated he had looked up some

answers after Dr. Cunningham’s testing and he knew answers that he had not
given previously.” Govt. Exh. 1, att. 4 at 4 (emphasis added).346       In short, the

Court finds Hardy’s unawareness of who the governor was when asked by Dr.

Swanson, and his correct response when asked by Dr. Hayes at a later date is
insignificant and completely irrelevant to whether his 1996 testing was reliable.

      Dr. Hayes’ next concern is likewise comparing the adaptive behavior
evaluation done by her and Dr. Swanson, in 2008 and 2009, specifically that Hardy

was unable to interpret proverbs correctly with Dr. Swanson but could do so with
Dr. Hayes. One example was to ask Hardy what “blood is thicker than water”

means and he said, “That we stick together. Brothers gonna stick together.” She
also asked him what “kick the bucket” meant and he said “Somebody died..”347

The Court observes first that it agrees with Dr. Cunningham that “kicking the
bucket” is not a proverb in that it does not require any philosophical understanding



      346
        Obviously, the statement by Dr. Martell erroneously identified Dr.
Cunningham as administering the first 1996 test when, in fact, it was adminstered
by Dr. Tetlow. The Court finds this minor error does not detract from its
substance for present purposes.
      347
        Govt. Exh. 1 at 25.
                                                                                    122
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or abstract reasoning to understand its meaning.348 It is simply a popular

expression and very well known. With regard to blood being thicker than water,
the Court concurs with Dr. Cunningham that Hardy got part of the expression

correct - that relatives stick together - but he did not articulate the more abstract

meaning of the expression, namely that in a showdown between someone who is
related and someone who is not, the nonrelative will lose.349

      More importantly, it appears that Hardy’s haphazard performance on idioms

and proverbs is actually fairly consistent over time. When asked during testing
with Dr. Tetlow in 1996 what “strike while the iron is hot” meant, Hardy

answered, “Strike while you are mad,” which Dr. Tetlow scored as a zero.350 Dr.

Hayes likewise agreed that was not a correct answer.351 When asked by Dr. Tetlow
what is meant by “shallow brooks are noisy” and “one swallow doesn’t make a

summer,” Hardy did not know.352 Dr. Bianchini likewise quizzed Hardy on idioms
and proverbs, with the possible scores being “General”, “Concrete” and

“Incorrect.” When asked what “Don’t cry over spilt milk” meant, he answered, “If
you lose something, don’t worry about it” which Dr. Bianchini scored as

“General”, meaning correct. When asked what was meant by “a drowning man


      348
         Rec. Doc. 2123 at 126-27.
      349
         Id. at 127.
      350
         Govt. Exh. 1, att. 2.5 at 14.
      351
         Rec. Doc. 2129 at 1264.
      352
         Govt. Exh. 1, att. 2.5 at 14.
                                                                                        123
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will clutch at a straw,” Hardy answered, “He will grab for help” which Dr.

Bianchini scored as “concrete,” but not general, so partially correct. Hardy was
unable to offer an interpretation of either “Rome wasn’t built in a day” or “a

golden hammer breaks an iron door” or “still waters run deep.”353 In summary,

with Dr. Bianchini, out of five proverbs, Hardy offered no interpretation of three of
them, a concrete interpretation of one of them and a correct general interpretation

of only one.

      Consequently, contrary to Dr. Hayes’ limited comparison of her evaluation
with Dr. Swanson, this Court concludes that Hardy’s ability to interpret idioms and

proverbs has been consistent over time, and also consistent with mild mental
retardation in that Hardy’s ability to abstract the principle underlying a proverb is
very limited.

      Dr. Hayes’ next discrepancy was Hardy’s performance on various memory
measures tested by Dr. Bianchini. Specifically, she noted that his verbal and visual
memory on the Wechsler Memory Scale was in the average range, but was mildly

impaired on the Neurobehavioral Cognitive Status Examination. His “attention” as

measured by the Memory Scale was in the mild to moderately impaired range, but

on the Neurobehavioral Cognitive Status Exam, his attention was in the average
range.354 First of all, the Court notes that these scores are not widely disparate -


      353
         Id.; Govt. Exh. 1, att. 2 at 20.
      354
         Govt. 1 at 25-26; Rec. Doc. 2128 at 1059-60. See also Govt. Exh. 1, att.2
at 2-3, 28-30; Deft. Exh. 18-5.
                                                                                       124
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average is the next higher score to mildly impaired. Secondly, as has already been

discussed, the Wechsler Memory Scale has reliability issues and a rather broad
standard error of measurement. Likewise, as Dr. Cunningham testified, the

Neurobehavioral Cognitive Status Examination is simply a screening measure for

cognitive functioning, that assesses different areas in a simplified way. It is a
“very gross screen.”355 Its reliability problems are even more problematic than

that of the Wechsler.356 Dr. Cunningham noted that half the people who take it,
even without anything wrong with their brain, fail some portion.357 Dr. Hayes

acknowledged it is a brief measure.358 As it turned out, her specific concern was
that on the CVLT, another test given by Dr. Bianchini, Hardy was able to recall ten

words out of sixteen, but on the Neurobehavioral Cognitive Status Examination
(“NCSE”), he could remember just two of four. To her that “just does not make
sense.”359 It may however make sense as an indication that Hardy is cognitively

impaired. In fact, Dr. Bianchini noted with respect to another of his tests that

evaluated speed of information processing and mental flexibility that Hardy’s
“scores were unreliable due to variation between trials which is common with




      355
         Rec. Doc. 2123 at 128-29.
      356
         Id. at 130.
      357
         Id. at 129.
      358
         Rec. Doc. 2128 at 1059.
      359
         Id. at 1059–60.
                                                                                    125
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individuals whose intellectual functioning is below average.”360 Dr. Bianchini did

in fact offer a suggested diagnosis of “Nonpsychotic Mental Disorder following
Organic Brain Damage,” which he assumed resulted from multiple head injuries.361
As is noted in Appendix C, Dr. Bianchini uncovered other deficits that are
consistent with mild mental retardation.

      Dr. Hayes’s next concern was an alleged discrepancy in Hardy’s academic
test scores.362 In the 9th grade, on the California Test of Basic Skills (“CTBS”),

Hardy’s math achievement was in the 87th percentile rank when compared to large
city peers, and in the 10th grade he was at the 60th percentile rank.363 However

when tested by Dr. Tetlow in 1996, his math skills were measured at the 9th
percentile rank compared to a nationally standardized sample, indicating he was
functioning at the 6th grade level.364 Dr. Swanson tested him in 2008 and he came

out at the 16th percentile rank which likewise indicated 6th grade level.365 Dr.
Hayes acknowledged that the school tests were based on large city norms as

opposed to national norms, and his scores would be expected to go down when
compared to national norms, but she still estimated he would have scored in the


      360
        Deft. Exh. 18-5 at 7.
      361
        Id. at 12.
      362
        Govt. Exh. 1 at 26; Rec. Doc. 2128 at 1060-61.
      363
        Govt. Exh.1, att. 5; Deft. Exh. 18a-2 at 5, 6, 8, 9; Deft. Exh. 33-GG.
      364
        Govt. Exh. 1, att. 2.5 at 3.
      365
        Deft. Exh. 34-NN at 24.
                                                                                     126
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average range.366 This, of course, is speculative since comparing national and big

city norms is akin to comparing apples and oranges.

      While Dr. Hayes highlighted Hardy’s arithmetic scores on the CTBS, his

reading scores on the same test were significantly lower. In 1980, when he was 12
years old, Hardy’s CTBS score in reading put him in the lower 25 percentile even

compared to large city norms. Two years later, in 1982, at age 14, Hardy had

dropped to the bottom 10 percentile compared to other large city test takers. A
year later, at age 15, he improved up to 20 percent.

      Dr. Cunningham testified regarding data collected in 1997 which showed
dramatic swings in CTBS scores at various Orleans Parish elementary schools

from year to year, including the one Hardy attended years earlier. In his opinion,
these dramatic scoring swings were a statistical impossibility and questioned the
validity of the testing procedures.367 While these apparent irregularities occurred

well after Hardy attended the school in question, they do indicate that what

purports to be a uniform national test can in fact be undermined.

      On the other hand, no allegation has been made that any improprieties

occurred in either Dr. Tetlow’s testing or Dr. Swanson’s. Dr. Tetlow’s testing in

1996 and Dr. Swanson’s testing in 2008, even though twelve years apart are


      366
        Rec. Doc. 2128 at 1061; Rec. Doc. 2129 at 1293-94.
      367
         Rec. Doc. 2123 at 173-78. For example, at Chester Elementary where
Hardy attended years earlier, scores one year for 3rd graders were at the 13th
percentile and then a year later, at the 62nd percentile, a 49 percent improvement in
achievement testing in one year. Id. at 176-77.
                                                                                  127
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essentially the same - Hardy’s arithmetic skills are at the 6th grade level.

Noteworthy also is that with respect to reading, Dr. Tetlow’s testing in 1996
showed Hardy at the 5th grade level and Dr. Swanson’s testing, a dozen years later,
showed a one grade improvement, to 6th grade. The consistency is compelling and

the Court accepts these assessments as a true gauge of Hardy’s level of
achievement.

       Finally, the last “discrepancy” highlighted by Dr. Hayes was in comparing
Hardy’s scores on the Adult Basic Learning Examination (“ABLE”), taken when he
was in prison in Terre Haute, Indiana, and the Kaufman Test of Educational

Achievment, Brief Form (“KTEA-Brief Form”), which Dr. Swanson gave him. Dr.
Hayes acknowledges that the ABLE is not equivalent to the KTEA but maintained
that “score comparisons are informative nonetheless.”368 The comparison graft

shows that on the ABLE, Hardy consistently scored at a higher grade level than he

did on the KTEA. For example, on the ABLE in reading comprehension, he
scored at the 13th grade level, which is post high school graduate, while on Dr.
Swanson’s test, he was the equivalent of a 6th grader, an obviously huge difference.

A significantly lesser discrepancy occurred on language/writing where he scored at
the 4th grade, 9th month on the ABLE and 3rd grade, 7th month on the KTEA. Again,

Dr. Hayes found these inconsistent findings in 2000 and 2007/2008 to cast doubt on

the reliability of his IQ testing in 1996.369


       368
         Govt. Exh. 1 at 26-27, Rec. Doc. 2128 at 1061-62.
       369
         Rec. Doc. 2128 at 1062.
                                                                                   128
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        Unfortunately, the circumstances under which Hardy took the test at Terre

 Haute are unknown.370 It is an untimed test, and it may have been administered as
 a group or individually or proctored by supervisors or the inmates may have been
 able to simply take it back to their cells.371 In the latter instance, someone else

 could have assisted. Hardy’s grade in reading comprehension, equivalent to a
 college freshman, is obviously inconsistent with his 4th grade 9th month score in

 language/writing on the same test, and it is also grossly inconsistent with Dr.
 Tetlow’s individualized testing in 1996, Dr. Swanson’s individualized testing in

 2008, and Hardy’s poor grades throughout high school.

      The Terre Haute score is also inconsistent with Hardy’s scores on the CTBS
when in the 9th grade, for example, Hardy scored in the 10th percentile in reading,

compared to large city norms, meaning 90 percent of students read better than him,

and that score would have gone even lower when compared to national norms.372
Under the circumstances, it is apparent that the reading comprehension grade on the

ABLE is the unreliable score since it is inconsistent with every other indicator of
Hardy’s performance level. For Dr. Hayes to cite it as an example to cast doubt on

the far more exhaustive examinations conducted in 1996 and 2008 is the tail wagging
the dog.




        370
           Rec. Doc. 2123 at 107; Rec. Doc. 2128 at 1089.
        371
           Rec. Doc. 2123 at 105-06.
        372
           Govt. Exh. 1 at 51.
                                                                                       129
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                                     APPENDIX B

               Dr. Hayes’ Alternative Sources for Estimating Hardy’s IQ

      Having rejected Hardy’s 1996 IQ scores as unreliable, Dr. Hayes then turned
to other sources to inform her opinion as to Hardy’s intellectual functioning. The

Court now turns to those considerations.

      a.       School Records

      Dr. Hayes first consulted Hardy’s public school records.373 She concluded

that, from kindergarten through 6th grade, Hardy regularly attended school and

earned grades of “Good” and “Satisfactory.”374 While not mentioned by Dr. Hayes,
the DSM-IV-TR states that persons with mild mental retardation can acquire

academic skills up to the 6th grade level.375 Once Hardy reached high school,

however, both his attendance and grades plummeted.376 He finally quit school
while officially in the 11th grade. According to records from Booker T. Washington
High School, Hardy’s class rank was 160 out of 353 students in 9th grade, 269 out of
500 in 10th grade and 254 out of 412 in 11th grade.377 While those ranks might not
immediately suggest Hardy is mentally retarded, their accuracy is highly suspect.



      373
           Govt. Exh. 1 at 44-48.
      374
           Govt. Exh.1 at 45; Deft. Exh. 18a-2.
      375
           DSM-IV-TR at 43.
      376
           Deft. Exh. 33-GG.
      377
           Govt Exh. 1 at 47; Rec. Doc. 2128 at 1084-85.
                                                                                    130
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      For example, Hardy dropped out of Booker T. Washington in November

1983, yet the school recorded him as completing the semester and even assigned
him final grades.378 Anecdotal evidence in the record indicates that, during the
relevant period, students at New Orleans schools like Hardy’s were passed onto the
next grade whether they completed the course work successfully or not. Linda

Hardy, Paul Hardy’s oldest sister, testified in 1996 that Booker T. Washington “had

a lot of teachers that didn’t really care. They would like promote students and even
if they failed, you know, they probably wouldn’t put that they failed on their report

cards, but they promote them knowing that they probably shouldn’t graduate. They

didn’t care about - they didn’t care about that.” She left Booker T. Washington
High School “because I wanted to graduate” and transferred to another school and
did in fact graduate.379 Linda Hardy is one of two successful Hardy siblings, out of

seven. She not only graduated high school, but attended some college and at the

time of the 1996 trial worked as an accountant for Tulane Medical School.380 Vince
Ceaser, who was the same age as Hardy and attended the public schools with him,

described the school system “as a joke . . . it was terrible.”381 Greg Williams
likewise was surprised when Dr. Hayes told him that Hardy had reached the 11th or




      378
        Govt. Exh. 1 at 48.
      379
        Deft. Exh. 34-UU at 66.
      380
        Id. at 61.
      381
        Govt. Exh. 1, att. D at 17-18.
                                                                                   131
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12th grade and suggested he was socially promoted.382

      Additionally, the Court has already found the academic testing by Dr. Tetlow

and Dr. Swanson to be reliable, and they both scored Hardy in 1996 and 2008
respectively at no better than the 6th grade level. These findings further support the

suspicion that Hardy, and others, were simply passed along academically even
though they had not in fact passed the required courses.383 Achievement to the 6th

grade level is consistent with mild mental retardation, and only very questionable
evidence suggests that Hardy progressed beyond that level. The credible evidence

indicates that in fact Hardy never did achieve beyond 6th-grade-level academic
skills, and the Court finds his pattern of academic achievement to be consistent with

a diagnosis of mild mental retardation.

      Dr. Hayes also noted that special education classes were available at Booker

T. Washington, based on a form which indicated “no” with respect to Hardy.384

This observation is of marginal significance however. Dr. Olley has noted that, “in

communities where there is widespread poverty, it is possible for a child to go

through school without a placement in Special Education.”385 In Davis,386 the court

did not consider it particularly important that the defendant had not been classified


      382
        Govt. Exh. 1, att. B at 52.
      383
        See also Deft. Exh. 18-6 at 65-66.
      384
        Rec. Doc. 2128 at 1080; Deft. Exh. 18a-2 at 13.
      385
        Everington & Olley Study, supra n. 23 at 12.
      386
        611 F. Supp. 2d at 483.
                                                                                   132
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as mentally retarded during his school years, because schools have a strong bias

against classifying a student as retarded and parents do not want the label or the
stigma associated with it. Finally, Vince Ceaser indicated that students were, in

fact, informally separated into different classes, based on achievement, and that

Hardy was in a track for slower students.387 The Court finds that Hardy’s academic

record at the very least does not detract from the conclusion that he is mildly
mentally retarded.

      b.       Family Data

      Dr. Hayes also compared Hardy to his older brother, Terry Hardy, on the
basis that “intelligence is substantially heritable” and they shared the same home
environment.388 She then noted that Terry Hardy scored better than his brother on

several standardized achievement tests.389 Even if the Court were inclined to accept

a family member’s achievements as some evidence of Hardy’s intelligence, Dr.

Hayes painted a seriously misleading picture by focusing only on Terry Hardy. Out
of seven children, Terry and Linda Hardy did succeed, graduating high school and
attending some college, but Hardy’s four other siblings did not fare well. Both


      387
           Govt. Exh 1, att. D at 23-24, 25, 28-29.
      388
           Govt. Exh. 1 at 49.
      389
          Rec. Doc. 2128 at 1087-89. Dr. Hayes devised her own formula to
convert Paul Hardy’s scores to national norms, even though his scores were
actually recorded only as to large city norms. Before doing so, she contacted two
statisticians about whether that was appropriate - one told her no, that it was “not
okay in the statistical realm” and the other thought it would be “okay.” She went
forward with her calculations. Rec. Doc. 2129 at 1290-93.
                                                                                     133
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Curtis and Wayne Hardy were involved in crime and were ultimately murdered,

Lionel Hardy served time in prison and James Hardy was an alcoholic and drug
user.390 Marie Hardy, the mother, was apparently mentally slow as well.391 So,
while the Court is skeptical of comparing family members to determine IQ at all, if
such a comparison is to be made, Dr. Hayes should have also included the academic

records and achievement scores of Curtis, James, Wayne, Lionel and possibly even

Marie Hardy. Comparing Hardy to only one of his six brothers and sisters—and
one of only two siblings to prosper—is indicative of selection bias.

      c.       Lay Opinions

      Dr. Hayes also looked to the opinions of persons who were familiar with

Hardy to make an assessment of Hardy’s intellectual abilities. Specifically, she
interviewed several correctional officers at the St. Bernard Parish Jail, and also
several of Hardy’s former girlfriends.392 It remains unclear to the Court how,

precisely, correctional officers and Hardy’s ex-girlfriends were able to provide

accurate enough estimates of his intelligence for purposes of a diagnosis of mental
retardation. In any event, discussion of Dr. Hayes’ interviews of people who knew

Hardy was more appropriately dealt with in the adaptive behavior section of this
opinion, and this discussion was deferred until then.

       d.       Demographic Imputation

      390
           Deft. Exh. 18-6 at 73.
      391
           Govt. Exh. 1, att. B at 51.
      392
           Govt. Exh. 1 at 55-56.
                                                                                     134
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       The Court turns last to Dr. Hayes’ suggestion that a meaningful estimate of

Hardy’s IQ could be obtained using his demographic characteristics.393 As Dr.
Cunningham explained, and Dr. Hayes agreed, this is typically used in civil
litigation when a person has had a head injury, but has had no pre-injury IQ test

to assess his pre-injury cognitive level. The estimate is based on comparing the

individual to those of similar race, occupation, education, and other factors,

whose IQ is known.394

       Dr. Hayes used the following characteristics to assess Hardy: his age at the

time of the crime, educational level of 9-11years, classification as a semi-skilled
laborer, being an African-American from the South, and coming from an urban

environment.395 She stated that when these demographics are input into a

regression equation, Hardy is revealed to have an IQ in the Low Average

range.396

       Yet Dr. Hayes did not disclose several features of this demographic
method, ones that had she disclosed would have rendered the results essentially

meaningless. First, she failed to disclose that the absolute lowest score that a


      393
        Id.at 54.
      394
        Rec. Doc. 2123 at 163, 164; Rec. Doc. 2128 at 1092.
      395
         The Court is skeptical of Dr. Hayes’ crediting Hardy with an education
level of 9-ll years and also of her classification of him as “semi-skilled.”
      396
        Govt. Exh. 1 at 54, citing Barona Study, supra n. 139 at 885-87.
                                                                                 135
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27-year-old African-American male could achieve using the particular

regression equation she employed is a 72.47, even assuming the lowest
possible scores in every other category, such as education and occupation.397 If

the question is whether Hardy has an IQ of approximately 70 or lower, then

using a test that can never return a score of lower than 72.47398 for a person of

his age, race, and sex is not only meaningless in an Atkins context, but highly

misleading.

      Second, the standard error of measurement for this demographic method is

very large, slightly over 12 points.399 Therefore, the 95 percent confidence interval
for this method’s estimate of Hardy’s IQ ranges from the high 40s up to the upper

90s.400 When Dr. Hayes declared Hardy to be in the Low Average Range

according to this method, she said nothing about this being, at best, a very gross

      397
         Rec. Doc. 2123 at 165; under the Barona Study calculations, the IQ begins
with a starting point of almost 55, which already assumes the person is at least no
more than Mildly Mentally Retarded. Rec. Doc. 2123 at 166. Again, this may
well be realistic in the typical civil context when someone has suffered a brain
injury and an attempt is being made to estimate their post-injury IQ.
      398
         See Barona Study, supra n. 139 at 886-87. Dr. Cunningham performed a
sample calculation using his estimates of Hardy’s education and occupational
skills. Rec. Doc. 2123 at 166-67.
      399
        Barona Study, supra n. 139 at 886.
      400
          Rec. Doc. 2123 at 165. In order to determine the 95 percent confidence
interval for the hypothetical 27 year old African-American male, whose lowest
possible score is a 72.57, the standard error of 12.14 is multiplied by 1.96 which is
23.79. That figure is then subtracted from72.57 to give the bottom cut off for the
confidence interval, and then added to 72.57 to give the upper cut off for the
confidence interval.
                                                                                     136
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estimate with a huge margin of possible error.

      The Court does not know if Dr. Hayes was simply unaware of the limitations

attendant to this method and its obvious inapplicability, or whether she knew and

testified as she did anyway. In either case, her use of and testimony concerning
this method further case doubts on her credibility in the eyes of the Court.




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                                  APPENDIX C

  Defense Diagnoses in 1996 and Their Similarities to Mild Mental Retardation

      Having accepted Hardy’s IQ score as an under-representation of his
cognitive strength, Dr. Cunningham naturally did not consider mental retardation

as a possible diagnosis in 1996. Nevertheless, after interviewing Hardy and

various family members over an extensive period of time, Dr. Cunningham
diagnosed Hardy with possible disorders that parallel many of the characteristics of

mental retardation. One was an Axis II, Personality Disorder Not Otherwise

Specified under the DIAGNOSTIC AND STATISTICAL MANUAL OF MENTAL

DISORDERS, FOURTH EDITION (1994) (“DSM-IV”). The diagnostic criteria for a
Personality Disorder is as follows:

      A.     An enduring pattern of inner experience and behavior that
             deviates markedly from the expectations of the individual’s
             culture. This pattern is manifested in two (or more) of the
             following areas:
             (1) Cognition (i.e., ways of perceiving and interpreting self,
             other people, and events)
             (2) Affectivity (i.e., the range, intensity, lability, and
             appropriateness of emotional response)
             (3) interpersonal functioning
             (4) impulse control
      B.     The enduring pattern is inflexible and pervasive across a broad
             range of personal and social situations.
      C.     The enduring pattern leads to clinically significant distress or
             impairment in social, occupational, or other important areas of
             functioning.
      D.     The pattern is stable and of long duration and its onset can be
             traced back at least to adolescence or early adulthood.
      E.     The enduring pattern is not better accounted for as a manifestation or
                                                                                 138
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               consequence of another mental disorder.

      F.       The enduring pattern is not due to the direct physiological effects of a
               substance (e.g., a drug of abuse, a medication) or a general medical
               condition (e.g., head trauma).401

      In Atkins, the Supreme Court noted that mentally retarded persons “have

diminished capacities to understand and process information, to communicate, to
abstract from mistakes and learn from experience, to engage in logical reasoning,

to control impulses, and to understand the reactions of others,”402 and “their
demeanor may create an unwarranted impression of lack of remorse for their

crimes.”403

      As already noted, the DSM-IV-TR diagnostic criteria for Mental Retardation

includes:

      B.       . . . deficits or impairments in present adaptive functioning (i.e.
               the person’s effectiveness in meeting the standards expected for
               his or her age by his or her cultural group) in at least two of the
               following areas: communication, self-care, home living,
               social/interpersonal skills, use of community resources, self-
               direction, functional academic skills, work, leisure, health, and
               safety.
      C.       The onset is before age 18 years.

      Dr. Cunningham also gave serious consideration to diagnosing Hardy with




      401
           DSM-IV at 633, 673.
      402
           536 U.S. at 318.
      403
           Id. at 321.
                                                                                     139
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Attention Deficit Disorder.404 Hardy reported to him that he had difficulty paying

attention in school, he disliked reading and puzzles and “things that took sustained
and kind of low-stimulation concentration,” and he was easily bored and

distracted.405 In assessing Hardy, Dr. Cunningham found evidence of restlessness,

under-achievement, insecurity, low frustration tolerance, employment relationship
instability and, of course, criminal activity,406 all of which are consistent with

Attention Deficit Disorder. At the same time, the first diagnostic definition of that
disorder likewise shares characteristics with mental retardation:

      (1) inattention: six (or more) of the following symptoms of inattention
      have persisted for at least 6 months to a degree that is maladaptive and
      inconsistent with developmental level:

      (a) often fails to give close attention to details or makes careless
      mistakes in schoolwork, work, or other activities

      (b) often has difficulty sustaining attention in tasks or play activities

      (c) often does not seem to listen when spoken to directly

      (d) often does not follow through on instructions and fails to finish
      school work, chores, or duties in the workplace (not due to
      oppositional behavior or failure to understand instructions)

      (e) often has difficulty organizing tasks and activities



      404
         Deft. Exh. 18-6 at 19-20.
      405
         Id. at 19-20.
      406
         Id. at 20.
                                                                                     140
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      (f) often avoids, dislikes, or is reluctant to engage in tasks that require
      sustained mental effort (such as schoolwork or homework)

      (g) often loses things necessary for tasks or activities (e.g., toys,
      school assignments, pencils, books, or tools)

      (h) is often easily distracted by extraneous stimuli

      (i) is often forgetful in daily activities
      Dr. Swanson likewise testified at the Atkins hearing that frequently mild

mental retardation is associated with hyperactivity and inattentiveness similar to
Attention Deficit Disorder.407

      Finally, a third consideration for Dr. Cunningham in 1996 was that Hardy

suffered from a mild brain injury from multiple head trauma.408 He then recited

six separate incidents reported by Hardy or family members where Hardy was

struck in the head prior to the age of 18, including at least one with a loss of
consciousness. This is significant because if Hardy is mentally retarded and it is

as a result of head injuries, a substantial number occurred prior to the age of 18, the
third criteria for a diagnosis of mental retardation.

      Dr. Bianchini was retained in 1996 to assess Hardy for possible brain

damage.409 He concluded that Hardy suffered from “significant neurocognitive




      407
         Rec. Doc. 2125 at 679.
      408
         Deft. Exh. 18-6 at 21.
      409
         Deft. Exh. 18-4 at 221-22, 229.
                                                                                     141
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residual” brain damage which he assumed was caused by multiple head injuries.410

He did not give him an IQ test, but did review the test results of Dr. Tetlow. He
detected problems with Hardy that also parallel some of the characteristics of mild

mental retardation. He noted that Hardy’s “common sense reasoning and social

judgment” scored at the lst percentile, indicating that 99 percent of the population
exceeded him.411 He also observed that Hardy’s Wechsler Memory Scale-Revised

Attention and Concentration Index score was below expected levels, “given his
obtained IQ scores.”412 Of course, Hardy’s 1996 IQ score had not been adjusted
for the Flynn Effect, and consequently was inflated. The Wechsler Memory Scale

results may well have been consistent with Hardy’s true IQ of below 70. Dr.
Bianchini also commented that on another of the tests he gave Hardy that his

scores were unreliable “due to variation between trials which is common with
individuals whose intellectual functioning is below average.”413 Later in his report,
he noted Hardy was below average in word knowledge, language comprehension,

reading and spelling, some of which he attributed to his lesser education,414 but he
also found deficits that “wouldn’t be explained by his impoverished educational




      410
        Deft. Exh. 18-5 at 12; Deft. Exh. 18-4 at 227, 229.
      411
        Deft. Exh. 18-5 at 5.
      412
        Id. at 7.
      413
        Id.
      414
        Id. at 9; Deft. Exh. 18-4 at 239.
                                                                                    142
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background alone.”415 His best score was in the Wisconsin Sort Test, but that was

a test he had done with Dr. Martell two weeks earlier, and Dr. Bianchini attributed
some of that success to practice effects.416 Like Dr. Cunningham, Dr. Bianchini
also saw signs of Attention Deficit Disorder, but likewise could not make that a
definitive diagnosis.417

      The Court finds that, once attention is focused on the issue, it is easy to see

other indicators of mild mental retardation in the results of Hardy’s 1996
evaluations. A Rorschach test administered by Dr. Tetlow, for which Hardy’s

“cooperation” was noted as “excellent,”418 was scored using a computer-based

interpretation. Much of Hardy’s assessment was consistent with mild mental

retardation.

       The subject is in considerable stimulus overload and, as such, is
       highly vulnerable to loss of control and becoming disorganized under
       stress. People in this psychological situation usually have histories
       that include numerous events marked by faulty judgment, emotional
       disruption, and/or ineffective behavior. They are chronically
       vulnerable to ideational and/or affective impulsiveness and typically
       function adequately for extended periods only in environments that
       are highly structured and routine and over which they have some
       sense of control.419
                                         ***


      415
         Deft. Exh. 18-4 at 230.
      416
         Deft. Exh. 18-5 at 11; Deft. Exh. 18-8 at. 2; Deft. Exh. 18-4 at 240-41.
      417
         Deft. Exh. 18-5 at 12; Deft. Exh. 18-4 at 243-244, 249.
      418
         Govt. Exh. 1, att. 2.5 at 31.
      419
         Id. at 25.
                                                                                    143
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     He does not seem to be very introspective. In other words, he is less
     involved with self awareness than is usually the case... His self image
     and/or self value tend to be based largely on imaginary rather than real
     experience. People such as this are often less mature and frequently
     have very distorted notions about themselves.420

                                        ***
     He apparently is less socially mature than might be expected.... As a
     result, his relationships tend to be more superficial and less easily
     sustained.421
                                         ***
     It is likely that he will manifest many more dependency
     behaviors than usually is expected. He is prone to rely on
     others for direction and support and his expectations concerning
     relationships tend to be somewhat naive. People such as this
     usually expect others to be more tolerant of their needs and
     demands and also expect them to act in accord with those needs
     and demands.422
                                        ***

      His (information) processing activity is marked by
      underincorporation, that is, he tends to scan stimulus fields
      hastily and haphazardly, often neglecting critical bits or cues in
      a stimulus field. Underincorporation creates a potential for
      faulty mediation that can lead to less effective behavior
      patterns.423
                                      ***
      The quality of his processing is not very complex or
      sophisticated. Instead, it tends to be simplistic and quite
      conservative. In fact, the quality of his processing activity
      often falters significantly to an unsophisticated, less mature


     420
       Id. at 27.
     421
       Id.
     422
       Id. at 28.
     423
       Id.
                                                                           144
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      level. This is common only among very young children or
      older subjects who have notable cognitive deficits. Such
      processing difficulties often lead to mistranslations of inputs
      and can produce adjustment problems. A careful evaluation of
      his cognitive functioning is warranted.424
                                      ***

      His approach to processing, especially during problem solving
      and/or decision making activities, tends to be irregular. This is
      more common among young children and its presence here
      suggests a failure to develop economical or efficient
      processing habits.425




     424
       Id. at 29.
     425
       Id.
                                                                                145
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                                      APPENDIX D

            Interviews and Other Information Relevant to Adaptive Behavior

      With the exception of Tony Minor, Dr. Hayes also interviewed the other

informants that Dr. Swanson relied upon. These interviews were videotaped,
which provided the Court the advantage of direct assessment of credibility as well

as additional helpful information, unfiltered by Dr. Swanson.

      a.        Dr. Hayes’ Interview with Theresa Minor

      The Court viewed Theresa Minor’s video tape and found her recollections of
Hardy’s abilities to be credible.426 She recalled that Hardy, as a child and

compared to her son, did not understand how to play various children’s games,

including checkers, let alone a more complex game like chess.427 She said that
Hardy would become “flustered” and then “would get disgusted and leave, or go in

another room.”428 She thought at the time he perhaps was just being defiant, but in
retrospect, she now believes he felt ashamed and was unable to open up and admit

he did not know how to play the particular game.429 She also stated several times



      426
           Govt. Exh. 1, att. CD-3; Deft. Exh. 15.
      427
        Govt. Exh. 1, att. C at 5-6. At the hearing, Theresa Minor also related
bringing home a pre-school toy shoe to teach a child how to tie a shoe. Her son,
Tony, was able do it but Hardy could not figure out how to do it. Rec. Doc. 2124
at 430-432.
      428
            Govt. Exh. 1, att. C at 6-7.
      429
            Id. at 6.
                                                                                  146
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that Hardy could not communicate effectively.430 If she asked him something, he

would just stare at her or could not answer.431 When asked what Hardy liked
doing, she answered, “I guess watching TV.”432

       Minor felt something “was wrong” with Hardy, and she tried talking to

Hardy’s mother, Marie, perhaps to have Hardy tested, but since Marie herself
dropped out of school, Minor realized she was wasting her energy and effort.433

At the hearing, Minor elaborated that Hardy was “slower” than the other children
his age.434

       Minor reported to Dr. Hayes that Hardy was passive and easily influenced
by others. When asked to elaborate, she said that if someone else wanted to get

into trouble, Hardy would go along with it.435 She stated repeatedly her regret that
she was unable to “reach him.”436

       b.          Dr. Hayes’ Interview with Vance Ceaser


       430
             Id. at 18, 20.
       431
             Id. at 20.
       432
             Id.
       433
          Id. at 16, 17. Greg Williams said that Hardy’s mother was “a few cans
short of a six-pack herself” and that the “elevator got stuck in between floors,”
which the Court understands to indicated she had limited intellectual abilities.
Govt. Exh. 1, att. B at 51.
       434
            Rec. Doc. 2124 at 434, 435.
       435
            Govt. Exh. 1, att. C at 19.
       436
             Id. at 16, 21.
                                                                                    147
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       Dr. Hayes’ also conducted a videotaped interview with Hardy’s childhood

friend Vance Ceaser, who was the same age as Hardy and attended the same
elementary schools and high school.437 Notably, Ceaser has not spoken to Hardy
since the early 1980’s,438 and therefore has no ongoing current friendship with him.

The Court viewed the videotape of Ceaser’s interview and found him very
credible.

       Ceaser reported that while he and Hardy started in the same elementary
school classes, they were subsequently separated based on standardized test
results.439 Hardy was placed in the “lower level classes,” not special education, but

classes for “slower” students.440 Ceaser himself was not in gifted classes, but
above average classes, while Hardy was in “below average” classes.441 Ceaser also
noted that Hardy tried out for the band in junior high school, playing the trumpet,

but he “just couldn’t . . . he didn’t really do well at all.”442

       Around 1983-84, when Ceaser was a junior in high school and after Hardy
had dropped out, Hardy approached him about tutoring him in math to help him get




       437
            Govt. Exh. 1, att. D at 5-6; id at CD-D; Deft. Exh. 16.
       438
            Govt. Exh. 1, att. D at 7–8.
       439
             Id. at 17, 24.
       440
             Id. at 28.
       441
             Id. at 29.
       442
             Id. at 38.
                                                                                     148
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back into school.443 Hardy has been placed in an algebra class that Ceaser said

was “ridiculous” because Hardy did not have the ability to understand algebra.444
One night, Ceaser tried to tutor Hardy in algebra, but “the more I tried to explain it
to him, the more he didn’t get it, the more he sort of joked around and goofed

around.”445 Since Hardy did not seem to be “catching on,” Ceaser gave up on

tutoring him after that one attempt.446

      Ceaser also reported that Hardy never played football or basketball, and that
Hardy “basically sat around the neighborhood . . . chatting with other guys.”447 He
said Hardy did not really participate, but mostly joked around, sat back and

watched.448 When asked if Hardy ever played Monopoly with Ceaser (a relatively
complex game), Ceaser responded with an adamant “No, no, no. No.”449

      c.        Dr. Hayes’ Interview with Greg Williams

      Dr. Hayes’ videotaped interview of Greg Williams provided substantial



      443
            Id. at 8.
      444
            Id. at 27-28.
      445
         Id. at 29-30. Dr. Swanson noted that one of Hardy’s arguable strengths
was that he turned into “the class clown” which allowed him to mask what he did
not know or understand. Rec. Doc. 2125 at 649.
      446
            Govt. Exh. 1, att. D at 30.
      447
           Id. at 9–10.
      448
            Id. at 22.
      449
            Id. at 12.
                                                                                   149
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additional information.450 The Court notes that Williams was relaxed, forthcoming,

and credible. Williams took Hardy to Atlanta for several New Orleans Saints
games. Williams was the one to rent the car, do all the driving and arrange for the

hotel.451 When asked why Hardy never drove, Williams laughed and said, “He

didn’t know where he was going.”452 As far as going out of town in general,
Williams insisted that Hardy “never went nowhere by his self.”453

      With regard to checking into a hotel, “he couldn’t do that. He didn’t do

it.”454 On one occasion when they did not have a prior reservation, Williams told

Hardy to check in. But Hardy demurred, asking Williams to go ahead and take

care of the check-in for them both.455

      Williams was genuinely surprised when Dr. Hayes told him that Hardy

continued into the 11th or 12th grade.456 He told her that Hardy “wasn’t that bright”

and suggested he got caught in “that cycle where they just pass you on.”457 As has

      450
        Govt. Exh. 1, att. CD-5; Deft. Exh. 14.
      451
         Govt. Exh. 1, att. B at 22. As with Toni Van Buren, Dr. Hayes included
in her report, a criminal history of arrests for Greg Williams. Criminal history
notwithstanding, the Court found Williams to be credible in his recollections of
Paul Hardy. Govt. Exh. 1 at 73, n. 57.
      452
            Govt. Exh. 1, att. B at 28.
      453
            Id. at 34.
      454
            Id. at 32.
      455
            Id. at 33.
      456
            Id. at 51.
      457
            Id. at 52.
                                                                                  150
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already been discussed, Hardy’s actual academic abilities peaked around the 5th or

6th grade level, and the evidence in the record suggests that he was otherwise
socially promoted without completing the work. Williams also said that Hardy
occasionally would bring something written to him and ask him to explain what it

meant.458

      Williams said he did not think Hardy knew how to play any sports, nor did

they play cards.459 While Williams took Hardy to several Saints’ games in Atlanta,

he said that Hardy did not really follow the game — “He just wanted to be

there.”460 Williams did not know Hardy to have any hobbies except women, and
said that he had four or five girlfriends, and always kept one with him.461

      Williams reported that Hardy could not fill out an application form, such as
a job application. He would bring it home for Van Buren to fill it out.462 Hardy

also owned a 1985 Cutlass which he continued to take to the dealer to fix, even

into the 1990’s. Williams told him how that was not necessary, but Hardy “had in
his mind that nobody was going to fix the car right but the dealer”, and whoever
told Hardy that had misled him.463


      458
            Id. at 41-42.
      459
            Id. at 25.
      460
            Id. at 9, 33.
      461
            Id. at 9, 35, 46 .
      462
            Id. at 39.
      463
            Id. at 45.
                                                                                   151
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      Finally, Williams described Hardy as having “a good heart. If you ask him

for something, there’s nothing he wouldn’t do for ya.”464 He also said that if he
called Hardy, needing something, “he wouldn’t question it, he’d do whatever I ask
him to do for me.”465 He indicated that Hardy was gullible with his friends, saying

that “he was a believer in whatever you told him”; “if he called you his friend . . .
he would believe everything you’d tell him.”466

      Williams’ also told Dr. Hayes that Hardy had a “lil’ prepaid (credit) card”

and he was so excited to have it, he would show it to everyone. Williams was also
asked if Hardy was gregarious and talkative, and Williams said no - “Paul was

more like to his self”; he did not like “hanging out” or going to clubs.467 When

asked why, Williams surmised that Hardy could not “relate to you on a certain

level” and so stayed to himself.468

      Interestingly, Williams knew Len Davis, considered him very arrogant and
bossy.469 Williams told Hardy that he did not like Davis, and he did not want

Hardy bringing him around. Hardy however insisted that Davis was “cool.”470


      464
            Id. at 5.
      465
            Id. at 38.
      466
            Id. at 49.
      467
            Id. at 20-21, 46, 49.
      468
            Id. at 49.
      469
            Id. at 40.
      470
            Id. at 41.
                                                                                    152
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      d.       Dawn Dedeaux Videos

      Several videos were introduced into evidence. One is entitled “Drive By

Shooting.”471 The Court has viewed this video. In it, Hardy is driving a vehicle

with his younger brother, Wayne Hardy, in the back seat. Hardy is driving rather
slowly, but competently. Noteworthy to the Court is that Wayne Hardy does the

vast majority of the voice over for the video. Noteworthy also is that two rap

songs are played during the video, with Wayne singing not only the chorus, but
individual verses as well. Hardy, on the other hand, is silent except for an
occasional chime in to snippets of the chorus of the songs.

      A second video is entitled “City Park.”472 The Court has also viewed this

video. It features Wayne Hardy initially driving the vehicle,473 then Wayne Hardy,

Paul Hardy and another man leaving the car to sit at a table in City Park to

continue the filming. What is noteworthy to the Court about this video is that
Wayne Hardy again completely dominates the conversation. After about sixteen
minutes of a Wayne Hardy monologue, the videographer specifically asks some

questions of Paul Hardy. Paul Hardy responds but then within a minute or two,
Wayne Hardy interrupts and once against monopolizes the conversation. This is

consistent with an observation by Dr. Swanson - that Wayne Hardy, even though


      471
           Govt. Exh. 1, att. CD-6.
      472
           Govt. 1, att. CD-7.
      473
       The prosecution identified Wayne Hardy as the person in the New York
Yankees shirt and Hardy wearing the cap. Rec. Doc. 2129 at 1189.
                                                                                   153
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younger than Hardy, learned to “stand up and answer for him and do for him,” as

did others in the family when they anticipated it was something Hardy could not
do.474

         The videos portray Paul Hardy as passive, barely communicative, and

content to have his younger brother speak for him. This is consistent with his

tendency to depend on others and is not inconsistent with mild mental retardation.

         e.       Hardy’s Telephone Calls from Jail

         The government presented as evidence two discs of telephone calls made by

Hardy from jail to various friends and family members over the past several years.

One disc contained twenty-eight calls from St. Bernard Parish Jail made in a little
over a month in 2009.475 The other disc contained sixty telephone calls from

Orleans Parish Prison, the dates unspecified, of which approximately half were not

actually completed calls.476 The Court has listened to all the calls, several of them
more than once.477

         With an IQ of approximately 68, adjusted for the Flynn Effect, or an
unadjusted IQ of 73, Hardy falls within the category identified by the AAIDD as


         474
              Rec. Doc. 2125 at 639.
         475
              Govt. Exh. 1, att. CD-14.
         476
         Govt. Exh. 1, att. CD-15. In most of those instances, Hardy was able to
give a brief message before the phone call was terminated.
         477
         Unfortunately, transcripts do not exist for the calls nor are they identified
other than by the phone number called, virtually all of which are repeat numbers.
Consequently, it is not feasible to identify each call cited.
                                                                                    154
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“Individuals with Mental Retardation with a Higher IQ.”

         These individuals...manifest subtle limitations that are frequently difficult to
         detect, especially in academic skills, planning, problem solving and decision
         making, and social understanding and judgment.478
         As already noted, Hardy’s academic skills were clearly deficient and

consistent with mental retardation. These phone calls are relevant to his planning,
problem solving, decision making, social understanding and judgment. The phone

calls evidence similar deficiencies in those areas that are consistent with mild

mental retardation.

         Hardy’s telephone conversations are simplistic, inarticulate and frequently

rambling and repetitive. His vocabulary is limited, his thinking concrete. He asks
simple open ended questions about what various people are doing day to day and
give very basic advice. For example, in one conversation, he advises one of his

daughters, several times, to talk to her big sister and, on another occasion, to obey
her mother. He advises one daughter that “money isn’t everything.” and tells his

son that “Don’t get in trouble as it’s hard as hell to get out of it.” On several
occasions he tells several of his children “Don’t do stupid ass shit” or “crazy ass

shit.”

         Some of his advice is sexual in nature, essentially telling his daughters to not

let men take advantage of them (“Don’t give your power to no man.”).

Considering Hardy’s early life of maintaining sexual relationships with several

women at one time, this advice presumably comes from his own experience, rather


         478
           USER’S GUIDE at 16.
                                                                                      155
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than any abstract notions of appropriate sexual relations. In fact, Hardy’s most

detailed advice regarding sexuality is startlingly explicit. It occurs when he is
advising a young man, perhaps his son, on what he should do to sexually satisfy his

partner. Hardy even jokes with the young man’s girlfriend to find out if in fact the

young man has followed his advice.

       Hardy does evidence genuine affection and concern for his children, often

asking how they are doing in school, encouraging them to study, and also to go to
church, and telling them frequently that he loves them. On a few occasions, when

one of his children is monosyllabic, he asks if something is wrong. However, on

at least one occasion, he seemed to unreasonably lose his temper with one of his
daughters, misreading her reserve as an affront to him personally. On the other

hand, at times he appears to have forgotten relevant details about his children, such
as whether one of his children has a job.

      One of the few in depth conversations appears to be with his oldest daughter.
She is critical of men, saying they are “weak” and Hardy defends them on the basis

that they get “put into predicaments” where they “had no choice.” He cites his
own upbringing in the housing project, and not having a father. His daughter

answers that that is an excuse for a child but not later. Hardy explains that talking

to his psychologists made him understand how his upbringing affected him. It is

unclear whether Hardy is simply parroting back what the doctors and lawyers have
told him or whether he has actual insight.

      A number of Hardy’s comments are religious in nature, although again

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simplistic and concrete. He declares that “God’s got all power” and that “Satan

comes to destroy.” He claims to have asked God to “guide me true” and that his
goal is to “do right and get my life together.” Tellingly, he describes how he went

to church when he was younger but “didn’t understand it.” He says at the jail he

watched videos that “would break it down” to where he could understand it. Along
the same lines, he recalls his mother telling him that he had “too many irons in the

fire” and he did not understand what that meant either at the time. This is

consistent with Hardy’s difficulty with abstract concepts, a characteristic of mental
retardation.

          In a significant number of the conversations, Hardy largely listens while
others talk In that capacity, with a few very rare exceptions, he affirms what the

speaker is saying, acquiescing to their view, another characteristic of those who are
mildly retarded. On another occasion, he has a series of conversations with his son
who is furious that his car has not been properly repaired by apparently a friend of

Hardy’s. Hardy repeatedly tries to calm his son down, but is utterly ignored while
his son continues to rant and rage over the treatment. Hardy is unable to get him to

listen.

          On the other hand, Hardy is successful at directing whoever he has called to

hook in other phone numbers so he can talk to more people in the one call. He also

repeatedly requests that money be put into his jail account and that his children
bring him items, such as soap, creams and over the counter medicines. While he

asserts himself in these conversations, the goals are basic, concrete material needs.


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      At one point, Hardy shows very poor judgment in being highly critical of

one of the sergeants at the St. Bernard Parish Jail, calling her a liar and “a bitch”
when he had to know the conversation was recorded (at the beginning of each

phone conversation, an automatic voice advises both speakers that the conversation

is being recorded). He had already stated that his lawyer told him to not talk about
his case on the telephone, presumably because it is recorded, but he was unable to

abstract that advice to the lack of wisdom in criticizing one of his overseers. In

fact, in a later conversation with one of his attorneys, he again complains about the
same sergeant and his lawyer advises him, again, that they should not be having
this discussion on the telephone.

      Finally, it is worth noting with respect to Toni Van Buren, that she is

frequently the conduit for Hardy’s conversations with his children, handing the
phone to them after accepting the call. On one occasion when Hardy attempts to
talk with her, she cuts him off, clearly indicating that her relationship with him is

edgy at best. This is relevant to whether Van Buren can be considered biased or
unbiased in her view of his abilities.

      In summary, in these numerous conversations, Hardy’s “planning” consists

largely of simple requests for items to be brought to the jail. His “problem

solving” is likewise simplistic pieces of advice to his children. The phone

conversations deal with very little “decision making.” He does appear to have a
healthy relationship with most of his children, which indicates “social

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understanding” of familial relationships. Finally, his “judgment” is again

simplistic and unsophisticated and at times questionable, such as discussing
intimate sexual matters with his son’s girlfriend, and speaking derogatorily about

jail employees on the telephone, which he knows are recorded.

      Dr. Hayes testified that Hardy was able to stay on topic in the phone

conversations, as well as switch topics, that telling his daughter “don’t give your

power to no man” and other such expressions indicated a capacity to use idioms,
that he modulated his tone appropriately, could give directions, ask appropriate

questions, express concern, indicate he had learned from his mistakes and had

overall maintained relationships with his children and others even while
incarcerated.479 The Court concurs with Dr. Hayes that Hardy evidenced these

capacities, but well within the capabilities of persons with a higher IQ in the mild

mental retardation range. As the DSM-IV described, adults with mild mental
retardation “usually achieve social and vocational skills adequate for minimum
self-support, but may need supervision, guidance and assistance, especially when

under unusual social or economic stress. With appropriate supports, individuals
with Mild Mental Retardation can usually live successfully in the community,

either independently or in supervised settings.”480 Dr. Cunningham also testified

that “on a continuum” mildly mentally retarded people are capable of abstract

thinking, including understanding some idioms, can experience “at least superficial


      479
        Rec. Doc. 2128 at 1132-35, 1137-40.
      480
        DSM-IV-TR at 43.
                                                                                   159
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insight” and can feel empathy and establish emotional bonds.481

      The Court finds the telephone conversations from jail to be consistent with

the diagnosis of mild mental retardation.




      481
        Rec. Doc. 2124 at 233-36.
                                                                                160
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                                      APPENDIX E

    Dr. Hayes’ List of Additional Facts Relevant to Hardy’s Adaptive Behavior

      The following is a summary of various facts, not subsumed within the
Court’s discussion elsewhere, that Dr. Hayes cited in concluding that Hardy does

not have the required deficits in adaptive behavior.

      a.       Communication482

      A family friend testified during the penalty phase at Hardy’s trial that he had
no trouble speaking to her and seemed like a “normal kid”;

      Dr. Bianchini reported that Hardy had normal fluency, articulation,
animation and word formation;

      When questioned by the FBI, Hardy was able to understand their questions
and provide answers tending to exculpate himself or showing that a case could not
be made against him;

      Hardy has written letters on specific topics and completed telephone number
requests while in prison;

      b.       Self Care483

      Hardy wore fashionable clothes at the time he met Van Buren;

      Hardy wore clothing appropriate to the weather;



      482
            Govt. Exh. 1 at 111–16.
      483
            Id. at 116–18.
                                                                                    161
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      If Hardy saw someone shaving, he could do it as well;

      Hardy has purchased grooming items while in prison, some of which he

keeps in his cell;

      In October 1994, the FBI noted that Hardy stopped at a business called

Family Dentistry for an hour;

      c.       Home Living484

      Hardy ironed his brother’s clothes for him;

      Hardy’s chores around the family home were limited to possibly cleaning up

the mess in the backyard caused by his family’s dogs;

      Although never for long periods of time, Hardy helped a friend sew his

Mardi Gras Indian outfits after the friend showed him how to do it;

      Hardy could use or was at least aware of the proper use of Ajax, Comet,

Windex, Pine Oil/Pine Sol, and Raid;

      If he saw someone hammer a nail, Hardy could do the same;

      Hardy occasionally cooked for Cooper, liked a clean home, and would help
with cleaning;

      During the clinical evaluation, Hardy indicated how to heat a canned meal,

heat and test baby formula, and change a diaper;

      He was able to measure units of cocaine;


      484
            Id. at 118–25.
                                                                                  162
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      Hardy knew to keep meats in the freezer and milk in the “icebox”;

      He knew that, if one smells smoke or suspects fire, one should leave the

house and call 911;

      Believed ADT installed an alarm system at his home;

      He had difficulty assembling items that came with instructions and

connecting audiovisual equipment;

      d.       Social/Interpersonal Skills485

      Hardy and his family regularly attended church;

      Hardy would, according to a social history prepared by Dr. Cunningham,

video tape the frequent outings on which he took his children for them to have fun;

      He would not open doors for Van Buren even when her hands were full, but

would do so for an elderly person;

      Hardy attended to an elderly friend with cancer, going so far as to giving her

a ride and sitting with her at the clinic;

      He was not a sore loser;

      He was erratic in his behavior with Van Buren, but typically followed

through on promises if he made them;

      Hardy bought Mother’s Day cards while in prison and was generally

thoughtful and considerate of others;


      485
            Id. at 125–30.
                                                                                 163
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       He was good with children, as attested to by a number of different people;

       A woman would usually travel with Hardy to maintain possession of his

gun;

       e.       Use of Community Resources486

       Hardy purchased guns, insurance, and a Sam’s Club membership;

       He was registered to vote and has a driver’s license;

       Hardy kept current on several charge accounts and made deposits at a bank;

       He reportedly bought a house for his brother and put it in the brother’s name,
bought another house with an acquaintance, and owned yet another;

       Len Davis needed to remind Hardy to press the “End” button after
concluding a cell phone call;

       Hardy was able to use a beeper with some of the contacts using codes
instead of their names;

       He was observed driving distances of up to 30 miles;

       It was not certain whether Hardy knew his zip code; Van Buren thought he

did not, yet several gun license applications in his name listed the correct zip code;

       He provided for his children;

       Hardy made a warranty claim after ear buds he bought with an audio device

while in prison broke;


       486
             Id. at 130–39.
                                                                                   164
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       f.       Self Direction487

       Hardy was allowed to get food stamps for his mother at a time when Lionel

and Wayne Hardy were also living at home;

       He took an active leadership part, with apparent understanding of the fact, in

the crimes for which he was convicted (along with others), and he was a careful
drug dealer;

       None of Hardy’s defense attorneys have argued that he is incompetent to
stand trial;

       Hardy was able to find his brother’s gravesite without directions;

       Van Buren thought Hardy was impulsive, but Dr. Bianchini did not;

       g.       Functional Academic Skills488

                          (All substantially summarized elsewhere)

       h.       Work489

       In exchange for quarters with which to play, Hardy helped a family friend
out at her game room after school for several years;

       Dr. Tetlow was of the opinion that Hardy could run an organization;

       He held a number of odd jobs for short periods or time or performed them



       487
             Id. at 139–51.
       488
             Id. at 151–56.
       489
             Id. at 156–61.
                                                                                   165
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intermittently, with his longest employment being as a porter/busboy/kitchen

helper at a restaurant in New Orleans;

      Hardy applied for several jobs for which he was not hired, but knew his date

of birth, social security number, telephone number, and address;

      He learned to play Three Card Monte to take people’s money;

      Hardy stretches allotted time limits in prison;

      He was usually able to support himself except for a few “lean times” when

Van Buren supported them;

      Hardy had a safe in his home for part of the time that he lived with Van

Buren, and he kept money in it instead of a bank;

      i.       Leisure490

      Hardy eluded “the feds” by jumping out of a car and playing football in the
projects;

      Hardy went to a gun range with Van Buren once and visited another
shooting range on a number of occasions;

      He played Pac Man, but not Nintendo;

      Jail deputies have observed Hardy playing spades, rummy, poker, and
“down the river,” in addition to playing checkers and dominoes;

      He communicated with another inmate by passing notes through a window


      490
            Id. at 161–66.
                                                                                 166
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when they were playing basketball;

       Hardy had a half-priced hotel card, church membership card, Blockbuster

video card;

       He apparently listens to music;

       j.       Healthy & Safety491

       After he was stabbed, Hardy went to “Toro [sic] Hospital”;

       Hardy was able to follow hospital discharge instructions for himself and his

children;

       The reason Hardy carried guns was to protect himself, which, in addition to

protecting his children, was also the reason he bought a guard dog;

       He has sought medical care for himself while in prison, including filling out

forms;

       Hardy was in several motor vehicle accidents within a short span of time in

the mid-1980s, which led to a number of follow-up appointments for his injuries
that included head trauma;

       He has long-standing ear and sinus troubles;

       When treated for a rash, he reported that he had been putting Calamine

lotion on it;

       Hardy has had dental work;


       491
             Id. at 166–75.
                                                                                   167
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       He has survived five attempts to kill him;

       He has not been adjudged mentally defective or committed to a mental

institution;

       In 1989, Hardy required stitches to his head after getting into fights;

       Hardy has sought treatment for a number of minor ailments and has filled

prescriptions for himself before.




                                                                                  168
